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         EXHIBIT 23
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                                                         [logo:] Qatar Charity
      QATAR CHARITY

             qcharity.org




   Annual Financial Report


   for 2014
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                                                                                                   Introduction


    Statement of the Chief Executive Officer


            To the Esteemed / Chairman and Members of the Board of Directors

            Peace be upon you and Allah’s mercy and blessings…


        On behalf of myself and everyone who works at Qatar Charity, I am pleased to offer your sincere gratitude
    and appreciation for your support and guidance, which had the greatest impact, after the assistance of Almighty
    Allah, on raising the level of work at all directive, supervisory and executive levels as well as the level of the
    projects, programs, activities and services that Qatar Charity provides. This was abundantly clear in the
    Organization’s performance during 2013 and the results it achieved on both the local and international level,
    which led to raising its status, enhancing and achieving the aspirations of its members, and earning the trust of all
    those dealing with it, including government agencies in Qatar, particularly the Ministry of Social Affairs and the
    Qatari Ministry of Foreign Affairs, as well as donors, and local and international partners.

        Accordingly, we are pleased to submit to you the summary annual report on the Organization’s performance,
    as well as its financial statements and its business results for the fiscal year ended 31 December 2014.

        We have attempted to ensure that the report is brief, focused, and comprised of two main parts:

    1- The part related to the performance of the Organization and its various departments.

    2- The part related to the Organization’s financial statements and business results.

        The unprecedented accomplishments achieved in 2014 would not have been possible without success from
    Almighty Allah first and then determination and effort by all Qatar Charity employees, on both the local and
    international levels, whom we consider the essential element in supporting the wheel of progress and prosperity.

        In conclusion, I am pleased, on behalf of all Qatar Charity employees, to express our deepest
    gratitude and appreciation to His Highness Sheikh / Tamim bin Hamad bin Khalifa Al Thani, the Emir
    of Qatar - may Allah protect him. We also extend our most sincere gratitude and appreciation to His
    Excellency Mr. / Abdullah bin Saleh Al-Khalifi, the Minister of Labor and Social Affairs and to all
    employees at the Ministry of Social Affairs. In addition, Qatar Charity’s management appreciates all of
    the sincere efforts by the government agencies in the State of Qatar, which have helped and supported
    Qatar Charity, whose objectives prioritize achieving the Qatar National Vision 2030, and whose targeted
    purpose stipulates the implementation of development and humanitarian initiatives in order to achieve
    global security and provide aid.

         Moreover, we thank all executives, employees, collaborators and volunteers for their continuous and loyal
    efforts and giving to achieve the goals of Qatar Charity, their protection of its gains and interests, and for
    increasing its prestige and competitiveness. We ask Almighty Allah to bless these efforts, and look forward to
    Qatar Charity continuing to develop its performance and enhance its capabilities to support the social
    development system. We also ask Almighty Allah to make 2015 even better than previous years.



                                                                              Yousef bin Ahmed Al-Kuwari

                                                                                   Chief Executive Officer




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                                                                                            Introduction


    Qatar Charity in Brief
                                A dream that has become a reality
    Qatar Charity
        Qatar Charity is a non-governmental organization, founded in 1992 for the development of Qatari
    society and other needy communities. It works in the fields of sustainable development, reducing
    poverty, and disaster relief and emergency response. Qatar Charity endeavors to serve all needy people
    and communities regardless of their color, sex, religion, race or nationality. It has been in a consultative
    status with the United Nations Economic and Social Council (ECOSOC) since 1997. It is also a member
    of the General Founding Conference of the Arab Network for Non-Governmental Organizations in Cairo
    since 1999. Qatar Charity is considered one of the largest charitable organizations in the Gulf.

    Its Vision
       A leading development and humanitarian organization that draws on various optimal human
    experiences to achieve the strongest impact for the greatest impact.

    Its Message
       Support the capabilities of the neediest groups to achieve human dignity and social justice in
    cooperation with development and humanitarian work partners.
    Its Motto

                                       Together for a decent life
    Its Values
        Qatar Charity considers the principle of humanitarianism a well-established principle in its work. It
    also respects the values of independence, impartiality, and non-discrimination, as the Organization
    provides its development and humanitarian services to beneficiaries on the basis of need and without
    regard to any racial, ethnic, religious, political or other discriminatory considerations. To strengthen
    these humanitarian principles, in 2009 Qatar Charity signed the Code of Conduct Code of Conduct for
    the International Federation of the Red Cross and the Red Crescent and Non-Governmental
    Humanitarian Organizations. The Organization also constantly works to strengthen its capabilities to
    implement the highest professional standards in the humanitarian field such as those set forth in the
    Sphere Project for example.
       Qatar Charity’s values are summarized in:

             Independence                                        Humanity

             Non-discrimination                                  Impartiality

             Professionalism                                     Transparency

             Affiliation                                         Cooperation


    Its Purposes and Objectives
    According to its bylaws, the Organization works to achieve the following objectives and purposes:

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    1. Supporting and advancing charitable, development and humanitarian work.
    2. Establishing charitable work and supporting the values of citizenship and human rights in society.
    3. Providing financial, in-kind and emotional support to needy groups.
    4. Providing humanitarian, social, health, cultural and educational services to all communities.
    5. Establishing charitable projects of all kinds.

    Its Fields and Activities
        Qatar Charity works locally and internationally in the fields of development and humanitarian work
    alike. In the field of development, Qatar Charity prioritizes education, health, safe drinking water and
    sanitation, economic empowerment, social care, infrastructure in rural areas, improvement of social
    housing, and cultural development. Qatar Charity is focused on ensuring that its development
    interventions are consistent with the strategic and sectoral development plans of the countries in which
    it operates. It is equally focused on ensuring that these interventions are consistent with the
    considerations that govern development issues raised at the regional and international levels, as is the
    case, for example, regarding the Millennium Goals, etc.
        In the humanitarian field, Qatar Charity focuses its efforts on preparing for and responding to
    disasters and crises by providing food and non-food assistance, providing shelter services, providing
    beneficiaries with safe drinking water and sanitation services, reinforcing primary health services, and
    supporting peace-building efforts in conflict areas. In addition to development and humanitarian work,
    Qatar Charity also focuses on building the capacities of local civil society organizations as the
    Organization’s contribution to strengthening the role of this important sector in development in needy
    countries.

    Its most important fields and activities are as follows:
    1. Receiving, accepting and collecting all kinds of donations in accordance with the law.
    2. Providing funds, aid, relief, and as well as cash and in-kind loans to the needy.
    3. Helping needy groups to get them out of the cycle of poverty and destitution and into the cycle of
       sufficiency and productivity, and creating sources for their livelihood through various projects.
    4. Establishing various funds for charitable and humanitarian projects.
    5. Urging and involving all segments of society to volunteer and engage in charitable, development
       and humanitarian work.
    6. Building schools, health centers, hospitals, mosques and various education centers.
    7. Holding various seminars, conferences, workshops and lectures related to charitable and
       development work.
    8. Investing and managing the Organization’s funds to develop its resources and fund its charitable
       and development activities.
    9. Holding and participating in charitable fairs and markets.
    10. Becoming a member of the international charitable and civil organizations working to serve and
        develop human societies.


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  11. Cooperating with all charitable and humanitarian institutions and civil society institutions to advance
      charitable work and achieve its desired goals, and establishing partnerships with various charitable
      and development sectors.

  12. Sponsoring orphans.

  13. Encouraging education by combating illiteracy and early stoppage of education.

  14. Strengthening the relationship with the country’s various ministries, institutions and bodies, and
      urging them to provide material and emotional support for charitable development projects.

  15. Conducting awareness campaigns to preserve the noble values in society.

  16. Helping remedy the wrong phenomena, habits and behaviors in society.

  Qatar Charity’s Strategic Plan
     Qatar Charity is working to achieve the following strategic plan:

  1. Achieve sustainable social care.

  2. Strengthen economic empowerment efforts and decent livelihoods.

  3. Support education efforts for the benefit of societies in order to achieve development.

  4. Maximize the use of technology in development and humanitarian work.

  5. Contribute to achieving social harmony and coexistence.

  6. Strengthen the role of Qatari society in interacting with development and humanitarian issues
     locally and internationally.

  7. Building the capabilities of local partners.

  8. Strengthening Qatar Charity’s institutional structure as an international non-governmental
     organization.

  Qatar Charity’s General Objectives
     To achieve its strategic objectives, Qatar Charity seeks to achieve the following general objectives:

  1. Develop sustainable social safety nets that effectively meet the basic needs of the most vulnerable
     social groups in the areas of health, education, and social care, etc.

  2. Strengthen economic empowerment efforts and improve decent livelihoods for the able-bodied poor
     through financial and non-financial services.

  3. Enable the children of poor families in underserved areas to benefit from high quality education
     services.

  4. Strengthen the ability of local communities to make maximum use of appropriate technologies, thus
     contributing to improving their quality of life and reducing the technological gap between northern
     and southern communities.

  5. Support peace-building efforts, achieve social harmony, and instill a culture of coexistence as

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     necessary foundations for achieving development and prosperity in the communities wherein and
     for whose benefit Qatar Charity works.

  6. Build the capabilities of local civil society organizations, and support them to perform the roles
     assigned to them in society effectively, including the roles of promoting social harmony.
  7. Provide humanitarian assistance to communities affected by disasters and crises, and help them
     prevent, prepare for and recover from their effects.
  8. Strengthen the culture of charitable work in Qatari society, and link it to development and
     humanitarian issues.
  9. Respond to high priority social and cultural needs for the benefit of Qatari society.
  10. Complete building of Qatar Charity’s capabilities, and finish preparing the various systems, policies,
      procedures and tools.




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                                                 Summary Management Report




                                                     Summary
                                                     Management
                                                     Report

                                                     Qatar Charity’s Harvest
                                                     for 2014




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                       The Most Important Accomplishments During 2014
  Qualitative and Technical Accomplishments:
  1. Qatar Charity received the Excellence Award in the area of orphan care in the GCC Countries (KAFEL) for
     2014.

  2. Qatar Charity ranked first in the world among non-governmental humanitarian organizations in the field of
     relief for the Syrian people, according to the report issued in 2014 by the United Nations’ Office for the
     Coordination of Humanitarian Affairs (OCHA).

  3. The number of sponsees increased to 76,093 in 34 countries around the world, a 22% increase as compared
     to 2013 where the number of sponsees was 62,416. During 2014, Qatar Charity spent QAR 152,929,640 on
     the orphan sponsorship program. Orphan sponsorship helps improve the living conditions of sponsored
     children by enabling them to enjoy their basic rights to food, clothing, education, medical treatment, and
     adequate shelter.

  4. Increasing the spread throughout the country at all levels (branches, sites, exhibitions, markets, point-of-sale
     boxes, containers, etc.), and reaching greater segments in Qatari society. Indeed, there were 20 collection
     branches for males and females, 61 collection sites, 6 points for disbursing in-kind donations, and 1,280
     collection boxes throughout the country.

  5. Achieving an unprecedented world record. Indeed, Qatar Charity set a world record for the largest amount of
     in-kind donations collected during a specific period of time, collecting over 30 tons of clothing within 24
     hours.

  6. In the relief field, 133 relief projects were implemented in 2014, for a total sum of QAR 119 million,
     benefiting about 2.25 million people in 16 countries, with the participation of 31 humanitarian organizations
     and six field offices.

  7. In the field of local aid within Qatar, a sum of QAR 23,760,822 in aid was distributed, a 35% increase as
     compared to QAR 17.6 million in 2013, benefiting 802 individuals. Aid to Qatari males and females
     accounted for 63% of the total aid amount. In addition, individuals from 32 countries benefited from this aid,
     and diverse groups benefited from the aid, including widows, orphans, divorced women, debtors, the sick,
     the elderly, people with special needs, prisoners and others.

  8. In the foreign (international) field, during 2014 Qatar Charity’s programs, projects and activities were
     distributed among 72 countries in Africa, Asia, Europe, America and Australia.

  9. A new coordinating office was opened in Turkey to serve Syrian refugees, and two new offices are being
     established in Jordan and Chad.

  10. During 2014, Qatar Charity implemented projects, programs and activities totaling about QAR 619,211,685,
      a 44% increase as compared to the previous year (QAR 428,810,003). These projects encompassed 72
      countries, and covered various development and humanitarian sectors in education, health, water and
      sanitation, social care, cultural development, economic empowerment, and social housing.

  11. During 2014, Qatar Charity implemented 81 projects in European and Western countries for a sum of QAR
      91,428,667, a 21% increase as compared to 2013 wherein they totaled QAR 75,401,102. These projects
      ranged from Islamic centers to cultural centers, mosques, and educational centers, etc.

  12. During 2014, more than 10 international and local strategic partnerships were signed. This is in addition to
      the existing partnerships. The value of these partnerships exceeded QAR 75 million. The most important
      partnerships that the Organization entered into were with the Qatar Fund for Development, the Foundation
      for Human Rights, Freedoms and Humanitarian Relief/Turkey (IHH), the Qatar Red Crescent Society,
      Silatech, the Education Above All Foundation, the Islamic World Educational, Scientific and Cultural
      Organization (ISESCO), the International Medical Corps (IMC), the Food and Agriculture Organization, the
      United Nations Children's Fund, and the Islamic Development Bank.

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  Internal administrative accomplishments:
  1. During 2014, revenues from donations grew by 43% as compared to 2013. Indeed, in 2014 they totaled QAR
     920 million as compared to QAR 645 million in 2013.

  2. Payments for projects and sponsorships grew by 51% as compared to 2013. Indeed, in 2014 they totaled QAR
     799 million as compared to QAR 529 million in 2013.

  3. Administrative expenses comprised 4.59% of total receipts in 2014 as compared to 5.3% in However,
     administrative expenses increased by 24% from 2013 to 2014 as a result of expanding the marketing,
     collection and outlets departments to improve the level of performance of the management of donations
     received, and implement projects efficiently and effectively.

  4. Real estate and financial assets grew by 21% as compared to 2013, whereby assets totaled QAR 762,929,352
     in 2014.

  5. Investment income increased by 13% in 2014 as compared to 2013, totaling QAR 55,552,374 in 2014.

  6. Investment-related general and operating expenses decreased by -7% as compared to 2013, totaling QAR
     13,887,320 in 2014.

  7. Cash donations collected from the collection branches and outlets throughout Qatar grew by 49% in 2014 as
     compared to 2013. In-kind donations also grew by 15% in 2014 as compared to 2013.

  8. Training, qualifying and raising the efficiency of employees through continuous training programs internally
     and externally during 2014: Indeed, over 300 employees benefited from many diverse training programs in
     many fields and specializations.

  9. Reliance on many competent Qatari staff members: Indeed, by the end of 2014 the number of Qatari
     employees was (53) employees, a 20% increase as compared to 2013 when the number of Qatari employees
     was (44) employees.

  10. Issuance of many regulations, policies and organizational guides for the Organization and its field offices,
      with the aim of organizing, developing and keeping pace with international standards in accordance with
      modern quality standards and administrative systems: 74 regulations, policies and work guides were issued,
      42 of which are for the headquarters and 32 are for the field offices.

  11. Starting the restructuring of all of the Organization’s departments in line with the significant development
      Qatar Charity is experiencing, both on the local and international levels.

  12. Restructuring of all of Qatar Charity’s field offices around the world.

  13. The projects, programs and activities that Qatar Charity implemented in Qatar during 2014 totaled QAR
      68,249,011, a 40% increase as compared to the previous year (QAR 48,692,022), covering various
      development and humanitarian sectors in education, health, water and sanitation, social care, and cultural
      development.




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                                 Continuous growth

  Growth in donations:

                                                                                    920,600,757

                             581,794,068                  645,531,012
           350,083,373


             2011              2012                         2013                       2014



  Growth in sponsorships:

              152,909,640                      34                                 76093
              127,582,366                                                         62416
              109,295,196                      34                                 57199
               85 259 9
                     Paid                  Number of countries          Number of sponsorships

                             • 2011 M 2012 M 2013 M 2014



  Growth in partnership amounts

                                                                                     75,535,000
                                                           66,614,077




             2011
                              29,608,610


                               2012
                                                       ih                               2014


  Growth in number of field offices abroad:

                                  17                             18                       19



              2011              2012                         2013                       2014




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                                           Constant development
  1- Human Resources:
      The human element is one of the most important pillars at Qatar Charity. Indeed, the human element is the
  real pillar on which modern systems and real management are based to achieve their goals. Thus, the task of
  human resources management has become to recruit distinguished human elements and work to develop these
  elements through continuous training to create technical and administrative executives according to international
  standards through a work environment and competitive advantages in keeping with Qatar Charity’s strategy.
  Accordingly, we focused on the following in 2014:

     Improving the efficiency of employees through continuous training programs.

     Seeking the assistance of a number of qualified professionals in all fields, and placing them in upper and
      middle management as a first phase within the framework of restructuring the Organization. Indeed, by the
      end of 2014 there were 53 Qatari employees, a 20% increase over 2013 where there were 44 Qatari
      employees.




                                                                                            210
                                                         193
                       116


                                                                                            422
                                                          351



                                                    MM'                                      53

                      2012                               2013                              2014
                                            ■ Qataris     Resid    Offices
                                                          ents     abroad


     Increasing the number of employees at the headquarters and the offices abroad to keep up with the continuous
      development and spread required in accordance with Qatar Charity’s strategic plan as well as to achieve the
      desired goals. Indeed, there were 685 employees, an approximately 16% increase as compared to the previous
      year.

     Amendments were made to the human resource regulations, which aim to continue, develop and enhance the
      appropriate work environment that helps motivate employees, improve and increase productive efficiency,
      and open the path to more creativity. Qatar Charity also continued to focus on Qatarization as a national
      strategy, and to find a highly qualified, trained, competent and effective Qatari workforce.

     In addition, a set of eleven human resource regulations and policies were issued for the headquarters and
      twelve for the field offices as part of the 2014 plan.




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  2- Financial and Administrative Systems and Policies
  1. Developing, preparing and implementing financial and administrative policies and internal oversight systems
     in all of Qatar Charity’s sectors. This was done through the Financial System Examination and Development
     Committee, which had, as of 31 December 2014, finalized, approved
     and issued 42 regulations and policies as indicated in the table below.

  2. Developing, preparing and implementing financial and administrative policies and internal oversight systems
     for Qatar Charity’s field offices. As of 31 December 2014, 32 regulations and policies had been issued as
     indicated in the table below.

  3. Developing plans, strategies and development systems for financial management at the level of the
     headquarters and the field offices, using the existing competencies at the Organization, and developing
     collection systems to become electronic systems with the help of the specialized departments.

  4. Developing controls to activate the role of internal oversight, and protecting the Organization’s funds.

  5. Activating the role of the General Services Department so all procurement occurs in accordance with the
     internal controls.

  6. Insuring all of the Organizations assets, including buildings, vehicles, warehouses and collectors. All fixed
     boxes located at Islamic companies are also being insured under the Takaful cooperative system.

  7. Activating the role of communication between the Organization's departments in a manner that ensures
     improved performance.

  8. Conducting a periodic evaluation of the performance level of the Organization as well as local and field
     offices, and attempting to improve it in a manner that reflects on the Organization’s performance as a whole.

  9. Rationing spending in a manner that allows the volume of donations to be proportional to the operating and
     administrative expenses.

             Regulations, policies, guides and operating systems for headquarters and field offices


    No.                    Work                       Headquarters          Field offices            Total

     1     Identity and plans                                4                    0                    4

     2     Organizational structure                          2                    3                    5

     3     Financial                                        10                    8                    18

     4     Oversight                                         4                    2                    6

     5     Human resources                                  13                   12                    25

     6     Administrative                                    7                    5                    12

     7     Electronic systems                                1                    1                    2

           Approved international
     8                                                       1                    1                    2
           management systems

   Total                                                    42                   32                    74




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                   Regulations, policies, guides and operating systems issued for Qatar Charity

                                                                      25


                                              Is

                                                I
                                                                                                                   Approved
                         Organizational                              Human                       Electronic
      Identity - Plans                     Financial    Oversight               Administrative                   international
                           structure                                resources                     systems
                                                                                                              management systems

              Regulations, policies, guides and operating systems for headquarters and field offices




                                                                                            Headquarters:         Field offices




  3- Resource Development:
       Qatar Charity paid close attention to the process of collection and marketing, which are the main tools for
  attracting resources to the Organization. As a result, work was done on more than one level in this regard, as
  follows:
  1. Attracting major philanthropists, donors and businessmen in Qatar and communicating with them directly.
  2. Enhancing the confidence of government agencies in working with Qatar Charity.
  3. Increasing the spread throughout the country at all levels (branches, sites, boxes, containers, fairs, markets,
     points of sale) and reaching larger segments of Qatari society, through:

         Increasing the Organization’s collection branches. Indeed, by the end of 2014, it had 20 collection
          branches and 61 collection point locations throughout the country, for a total of 81 outlets.

         The total number of fixed collection boxes in 2014 was (1,280) boxes.

         There were 6 points for disbursing in-kind donations, 2 warehouses and 1 tent for the monthly charity
          market, as well as charity auctions for valuable in-kind donations.

         Spread and access to 142 containers for the collection of in-kind donations.

         Manufacturing 50,000 new piggy banks.



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          Manufacturing 500 new collection boxes.

  4. Launching electronic collection on automated coupon machines and collecting funds via the Internet and via
     SMS.
  5. Instituting new mechanisms to attract Zakat resources. Indeed, marketing plans were developed and
     relationships with major companies and philanthropists were strengthened.
  6. Establishing strong and effective partnerships with reputable institutions in Qatari society, recruiting VIPs to
     financially contribute to Qatar Charity projects, and attract young people to engage in volunteer work on the
     Organization’s activities and campaigns.


                   Sector Reports and Geographical Analysis of the Projects
  First: The geographic areas and countries wherein the Organization focuses its
  activities:
  Geographic Spread of Qatar Charity’s Work
      This list of countries wherein Qatar Charity worked during 2014 included the following:

                                                                                                   Europe and
                     Africa                        Arab countries               Asia
                                                                                                    America
                                                 Palestine
   Mali                  Senegal                                        Indonesia              Albania
                                                 (Ramallah + Gaza)
   Niger                 Chad                    Yemen                  Pakistan               Kosovo
   Burkina Faso          Gambia                  Sudan                  Bangladesh             Bosnia
   Benin                 Tanzania                Mauritania             India                  Georgia
   Togo                  Guinea                  Morocco                Sri Lanka              Turkey
   Ghana                 Central Africa          Tunisia                Myanmar                Spain
   Nigeria               Congo                   Jordan                 Kyrgyzstan             Italy
   Ethiopia              Burundi                 Lebanon                Iran                   France
   Eritrea               South Africa            Iraq                   Philippines            Germany
   Kenya                 Rwanda                  Somalia                Nepal                  Britain
   Togo                  Malawi                  Comoros                China                  Belgium
   Namibia               Cote d’Ivoire                                  Kashmir                Luxembourg
   Lesotho               Sierra Leone                                   East Timor             Switzerland
   Djibouti              Liberia                                                               Canada
   Africa                Botswana                                                              Holland
                                                                                               Sweden
                                                                                               Australia
                                                                                               United States
                  30 countries                       11 countries           13 countries           18 countries
     Qatar Charity was also keen to expand its field offices. Indeed, in 2014 the Organization opened a
      coordinating office in Turkey to strengthen the Organization’s ability to provide its services to countries that
      need aid and strengthen the role of development in society.

     Moreover, Qatar Charity opened new horizons for spreading Islam by building Islamic centers in European
      countries (Italy, Spain, Switzerland, Germany, France, Canada, Norway, Poland, Ireland, Luxembourg,
      Sweden, Belgium, and Holland). Indeed, during 2014 it spent nearly QAR 91 million on these projects.



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      Summary Management Report


  Second: The Organization’s main project and activity fields
  Payments for the Organization’s projects by main activity

                                                         Payments                           As a
             Main field                                                                 percentage of   Change
                                              2013                     2014                 total
   Social field                           151,368,850               173,506,770             25%          15%

   Advocacy field                         129,688,286               167,370,536             24%          29%

   Relief field                           64,493,501                119,627,236             17%          85%

   Seasonal fields                        32,955,358                38,103,931               6%          16%

   Family development field               31,136,377                44,486,988               6%          43%

   Educational field                      21,171,193                35,178,999               5%          66%

   Village and community
                                          17,538,726                44,339,527               6%         153%
   development field

   Water and sanitation field             16,104,056                29,506,984               4%          83%

   Health field                           10,624,546                29,870,273               4%         181%

   Other various fields                    2,421,131                 5,469,452               1%         126%

                  Total                   477,502,025               687,460,697            100%          44%

  Payments for the Organization’s projects by sector

                                           Payments                                            As a
            Sector                                                            Total         percentage Change
                                   2013                  2014                                 of total
   Inside the State of Qatar    48,692,022             68,249,011        116,941,033           10%      40%

   Outside the State of
                                428,810,003          619,211,685        1,048,021,688          90%      44%
   Qatar

   Total                        477,502,025          687,460,696        1,164,962,721         100%      44%




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                                              International Level:
      In addition to focusing on local within Qatar, the Organization also gave foreign work more importance.
  Indeed, during 2014 Qatar Charity’s programs, projects and activities expanded, encompassing 72 countries in
  Africa, Asia, Europe, America and Australia.

  Qatar Charity’s (Field) Offices Abroad
     The number of Qatar Charity’s field offices reached 19, with offices in Palestine, Pakistan, Yemen, Sudan,
  Somalia, Mauritania, Indonesia, Bangladesh, Niger, Burkina Faso, Comoros, Mali, Albania, Bosnia, Kosovo,
  Tunisia, London, and Turkey (coordinating office). This is in addition to Qatar Charity’s work in Qatar, and
  wherever best interest so requires, Qatar Charity has more than one office in a single country, as is the case for
  example with Sudan, Pakistan and Palestine.
     Qatar Charity gave special priority to countries wherein it has field offices for several reasons the most
  important of which are:
  1. Strengthening the capabilities of Qatar Charity’s field offices.
  2. Receiving carefully thought out project proposals.
  3. Following up on projects with precision.
  4. Controlling the specifications of implemented projects.
  5. The ability to mobilize local resources.

      As for countries in which the Organization has no offices, focus was placed on social projects, with
  the exception of Western Europe and Canada, given the nature of the projects that Qatar Charity has
  been implementing in these countries, which mainly pertain to Islamic cultural centers, as well as
  countries with which there were previous dealings when these dealings did not result in implementation
  problems.
  Partnerships and Agreements
      In light of Qatar Charity’s excellent reputation worldwide in the field of humanitarian and Islamic
  development, many local and international organizations and agencies, local and international ministries,
  companies and individuals placed their trust in it by tasking it with completing many projects around the world.
  This is due to Qatar Charity’s experience and expertise through its offices around the world as well as its executive
  partners. The most important partnerships that the Organization entered into during 2014 included:

     Signing a cooperation agreement with the Qatar Fund for Development within the framework of a three-year
      project aiming to provide drinking water in South Darfur State, Sudan, for a total value of QAR 10,950,000.

     Signing a strategic cooperation agreement with the Foundation for Human Rights, Freedoms and
      Humanitarian Relief/Turkey (IHH). During 2014, the cooperation with IHH totaled QAR 24,565,000.

     Signing a strategic cooperation agreement with the Qatar Red Crescent Society.

     Signing a cooperation agreement with Silatech for a sum of QAR 1,825,000 to enhance employment
      opportunities for Arab youth in a group of Arab countries.

     Signing a cooperation agreement with the Education Above All Foundation to help provide educational
      opportunities for the children of poor families in needy countries.

     Signing project agreements with the Islamic World Educational, Scientific and Cultural Organization
      (ICESCO) for a total of QAR 27,000,000, encompassing seven different projects in the fields of education
      and culture.


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     Signing a strategic cooperation agreement with International Medical Corps (IMC). During 2014, the
      cooperation with IMC totaled about QAR 8,395,000, including a project to combat polio and measles for
      Syrian children, a relief project for victims of the humanitarian crisis in the Central African Republic, and a
      project to combat Ebola in Sierra Leone.

     The partnership with the Food and Agricultural Program in Niger to support food security efforts. Indeed, the
      cooperation between both parties totaled QAR 1,000,000.

     The partnership with the United Nations Children's Fund to support access to sanitation services in Pakistan
      totaled QAR 1,800,000.

     The partnership with the Islamic Development Bank in a set of projects to reconstruct the Gaza Strip a result
      of the repeated aggression against the Gaza Strip by Israel, as well as projects for the Syrian people.

     The current partnership with the Qatari Ministry of Foreign Affairs, which tasked it with implementing
      development projects in the Darfur region in the Republic of Sudan, as well as reconstruction projects in
      Tunisia.

     The current partnership with the Global Bill Gates Foundation, which tasked it with implementing health
      projects for a sum of QAR 11 million.

     The cooperation with the United Nations Office for the Coordination of Humanitarian Affairs (UNOCHA)
      and the Humanitarian Forum/Britain to organize a series of national and regional consultation workshops to
      prepare for the Humanitarian Summit to be held in Istanbul in 2016. Qatar Charity sponsored the organization
      of the following workshops: The Qatar workshop, the two Palestine workshops in the West Bank and the
      Gaza Strip, the Balkan countries workshop held in Macedonia, and the Syrian organizations workshop held
      in the city of Gaziantep, Turkey.

                                        Local Level (Inside Qatar)
       Based upon the strategic plan for local development at Qatar Charity, and its three social, economic and
  cultural pillars, which are compatible with Qatar Vision 2030, and out of the belief in the importance of helping
  to find programs that serve different segments of society, work has been done to ensure the selection of programs
  and activities to be implemented in keeping with the national vision to address five challenges:

  1. The modernization and preservation of customs and traditions.

  2. The needs of the current generation and the needs of future generations.

  3. Targeted growth.

  4. The path of development in Qatar.

  5. Economic and social development as well as environmental protection and development.

      Accordingly, there was significant expansion in the programs and activities within Qatar. Indeed, cultural and
  educational projects were implemented, including (the National Program for Strengthening Values (I am Snafi
  Wahba Rih) - the value program, which embraced 68 diverse schools between the primary, middle and secondary
  school levels - the (Adamha for the Development of Productive Families) program - the Zawaj [Marriage]
  Program - the (Taqat) program for the training and employment of people with special needs - the (Tahiya Lil-
  Omal [Greetings to Workers]) program with Msheireb Real Estate - the Musafir Ma’a Al-Quran Al-Kareem
  [Traveling with the Noble Quran] project - the project for cooperation with communities within Qatar - the
  (Khuthu Zeinatakom [Take Your Adornment]) program - the Future Male and Female Leaders Program for Qatar
  Orphans - the seasonable programs during the blessed month of Ramadan, Eid Ul-Fitr and Eid Ul-Adha).

      In addition, a project was established with the angels in different mosques in the city of Al-Khor, the region


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  of Al-Aziziyah and the city of Al-Wakra, under the supervision of Qatari imams and well-known guests from
  abroad. Moreover, the events of Al-Baraha, the Ramadan public program (Al-Baraha), were held at The Pearl-
  Qatar, and two mosques, The Pearl and Katara, were activated. Indeed, a group of well-known Quran readers and
  lecturers were recruited to come to the mosques as well as the main Al-Baraha events. Moreover, a miniature
  version of Al-Baraha was reproduced in the city of Al-Khor and Al-Shahaniya for the third year in a row.

      In addition, there were various other projects that the community responded to. Indeed, the number of
  followers of Qatar Charity’s Al-Khyr Instagram account as well as that of the Saqy Al-Ommal [Water for
  Workers] project tripled. Moreover, water and juice were distributed to workers during the period from morning
  to noon in several separate areas from Al-Khor to Al-Wakra.

      The Ramadan radio program, Taraweeh, experienced a qualitative shift this year. Indeed, revenues jumped
  from QAR 15 million to QAR 27 million by introducing the community to Qatar Charity’s projects in a different
  way.

      The month of Ramadan of the year 1435 A.H. [2014 A.D.] witnessed a variety of projects, in addition to an
  increase in the number of tables to 20 and a reduction in their costs to make it easier to find donors. There were
  also other projects that touched the community, such as Saqy Al-Musaleen [Water for Worshipers], Iftar Al-Jawal
  [Mobile Iftars], and Fih Al-Aafiya [Wellness].

      This year, Qatar entered the second phase of the "Challenge for Life" project in cooperation with Barwa Bank
  in order to enhance the role of community participation through the Qatari team's climb to the Aconcagua summit
  in Argentina so as to draw attention to the suffering of Yemeni children, and to work on promoting and supporting
  open-heart surgeries for Yemeni children with heart conditions. Subsequent phases of this campaign will
  including climbing to the summit of Denali in Alaska and Everest in Nepal, etc.

  Community Development Centers
      Qatar Charity owns a set of social centers in various parts of Qatar. These centers experienced qualitative and
  quantitative development. Indeed, the number of centers increased from 8 to 10. The centers specialize in
  providing various activities, programs and events for the benefit of all segments of society, and developing the
  community within the region wherein they are located. They also reinforce and promote good values and morals,
  rehabilitate and develop capabilities, and activate energies and skills of individuals. During 2014, the cost of these
  centers, activities, programs and events that it provided was QAR 22,277,162, a 65% increase as compared to
  2013 when it was QAR 13,512,374.

       The centers also experienced fruitful interaction with the community through a set of national events and
  celebrations, such as National Day, and the Eid Ul-Adha Festival, with sponsorships and revenues covering 68%
  of its cost.

      There are (7) community centers in Qatar, and these centers aim to strengthen the values of Qatari youth and
  develop the various groups in society. This is in addition to the expansion plan which resulted in (10) centers at
  the end of 2014, thus distributing our centers throughout Qatar.

              2014                         2015                          2016                         2011

           10 centers                    7 centers                    6 centers                     5 centers




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  Social Care and Sponsorships
      Qatar Charity received the Excellence Award in the area of orphan care in the GCC Countries (KAFEL) for
  2014. It received this award due to its focus on sponsorships of all kinds worldwide. Orphan sponsorship helps
  improve the living conditions of sponsored children by enabling them to enjoy their basic rights of food, clothing,
  education, medical treatment, and adequate shelter. The number of sponsees increased to 76,093 in 34 countries
  around the world, a 22% increase as compared to 2013 where the number of sponsees was 62,416. During 2014,
  Qatar Charity spent QAR 152,929,640 on the orphan sponsorship program and the social care programs, a 19.85%
  increase as compared to 2013 when the amount spent was QAR 127,852,366. Below are statistics comparing four
  years, classified by number of sponsorships and countries:

            2014                  2013                    2012                   2011                   Years
                                                                                                      Number of
           76093                  62416                  57199                   40333
                                                                                                     sponsorships
             34                     34                     34                      32            Number of countries
         152,909,640           127,582,366            109,295,196             86,269,869                 Paid

  Local and International Partners:
       In order to optimize its efforts and ensure coordination and integration with the rest of the other actors, Qatar
  Charity is keen to cooperate and partner with various stakeholders, be that in the development field or in the
  humanitarian field at the local and international levels, for this purpose. Qatar Charity has been keen to cooperate
  with international bodies and enhance confidence in the Organization’s image. The Organization also cooperates
  in managing its programs and projects and providing its services with a wide range of about 500 partners. The
  list of the Organization’s partners includes the United Nation’s most important and specialized organizations. In
  addition, Qatar Charity cooperates with local civil society organizations, international non-governmental
  organizations, banks and development agencies, as well as the relevant ministries and technical departments in
  the countries in which the Organization operates. During 2014, Qatar Charity attached special importance to
  signing strategic cooperation agreements with partners from within Qatar such as the Education Above All
  Foundation (EAA), Educate A Child (EAC), and the Qatar Red Crescent Society. It was also keen to strengthen
  relations and open channels of communication with many local and international partners, the most important of
  which were with:

                                                     Local Partners
   1.      Ministry of Labor and Social Affairs                  2.     Qatar Cancer Society
   3.      Ministry of Interior                                  4.     Hamad Medical Corporation
   5.      Ministry of Endowments and Islamic Affairs            6.     Vodafone Telecom Company
   7.      Ministry of Environment                               8.     Ooredoo Telecom Company
                                                                 10.    Qatar Foundation for Combating Human
   9.      Ministry of Communications                                   Trafficking
   11.     Olympic Sports Committee                              12.    Qatar Foundation for Shelter
   13.     Social Development Center                             14.    Childhood Cultural Center
   15.     Qatar Foundation for Education, Science and
           Community Development                                 16.    Shafallah Center
   17.     Qatar University                                      18.    Owain Center
   19.     Qatar Society For Rehabilitation of Special Needs 20.        Barwa Bank
   21.     Qatar Career Fair                                     22.    Al Emadi Enterprises




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                                                International Partners

           1.    United Nations High Commissioner for Refugees (UNHCR)

           2.    Food and Agriculture Organization (FAO)

           3.    United Nations Children's Fund (UNICEF)

           4.    World Food Program (WFP)

           5.    United Nations Relief and Works Agency for Palestine Refugees (UNRWA)

           6.    United Nations Development Program (UNDP)

           7.    United Nations Office for the Coordination of Humanitarian Affairs (UNOCHA)

           8.    Islamic Development Bank (IDB)

           9.    Islamic World Educational, Scientific and Cultural Organization (ISESCO)

           10.   The Global Bill Gates Foundation

           11.   Muslim Aid Australia Organization

  Projects and Programs Abroad:
      Among the most important projects, programs and initiatives that Qatar Charity completed abroad in 2014
      are:

     During 2014, the Organization completed approximately 76 service complexes in 26 countries for a total sum
      of QAR 34,500,000. Each complex provides the target community with integrated services that include
      education, health and potable water.

     Participation in the implementation of the State of Qatar’s initiative to develop Darfur. Indeed, Qatar Charity
      is implementing the initiative project in the states of Central Darfur and South Darfur for a total sum of QAR
      22,374,500. The year 2014 witnessed the completion of building and equipping the service complex in the
      Bulbul Timbasco area in the State of South Darfur, where the complex was inaugurated on 15/06/2014, and
      it began offering its various services, such as education, health, and drinking water, etc.

     Implementation of an ambitious program to contribute to development efforts in Tunisia for a sum of QAR
      54,750,000. It consists of a grant from the Qatar Friendship Fund. This program consists of six main projects:
      1. Building five rural schools. 2. Building ten rural clinics. 3. Paving of 23 km of rural roads in farming
      areas. 4. Digging of 100 artesian wells that run on solar energy in rural areas. 5. Helping 250 poor families
      build or rehabilitate their homes. 6. Supporting 500 new or existing farming cooperatives.

     Implementing a pilot project in the field of food security in Niger with the cooperation and funding of the
      Food and Agriculture Organization, for a total sum of about QAR 2,000,000. The project, which is an
      extension of a project started three years ago, provides improved seeds, agricultural guidance, production
      inputs, and helps female business owners access the necessary financial resources.

     Qatar Charity implemented a broad program for relief for the Syrian people internally [i.e. in Syria] and in
      neighboring countries. Indeed, the program provided health services, food, water and sanitation, shelter,
      heating, and non-food aid to those affected by the crisis. This aid amounted to about QAR 78,267,447 in
      2014, and more than one million displaced Syrians and refugees inside Syria and in the four neighboring
      countries of Turkey, Jordan, Lebanon and Iraq benefited from it. This was done with cooperation from about
      20 local organizations in these countries to provide humanitarian services.


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       Qatar Charity paid special attention to Muslim youth in European countries. The Organization works in
        cooperation with a group of European organizations and municipal boards in a group of European countries
        to enable the Muslim community to benefit from a set of cultural and educational services to protect their
        Muslim identity, while at the same time helping them contribute in a positive and civilized way to the
        European communities wherein they live. To that end, this year Qatar Charity spent about QAR 91 million,
        benefiting 81 cultural and educational projects in a group of European countries such as Spain, Germany, the
        United Kingdom, Norway, Italy, Switzerland, France and Belgium.

  Relief Projects and Programs:
      In the relief field, 133 relief projects were implemented in 2014 for a sum of QAR 119 million, benefiting
  about 2.25 million people in 16 countries, with the participation of 31 humanitarian organizations and six field
  offices.

                                                Beneficiary        Number of
        Years      Number of beneficiaries                                                   Total value
                                                 countries          projects
        2014              2,245,650                  13                133                   119,584,589
        2013               668,106                   17                 72                   64,493,500
      Percentage            236%                   -24%                85%                       85%
       change

        In-kind relief

       During the month of January 2014, in-kind donations were sent to Syria, consisting of 19 tons of clothing,
        blankets and heaters valued at about QAR 500,000 in cooperation with the Qatar Red Crescent.

       In-kind donations valued at QAR 650,000 were sent to the Philippines in cooperation with the Qatar Red
        Crescent.

       In-kind donations were sent to Burkina Faso through the Lu Waba [phonetic] Islamic Charitable Society.

                   The Organization has a distinguished presence and active participation

  Events
       The National Program for Strengthening Values (I am Snafi Wahba Rih)

       The (Adamha for the Development of Productive Families) program

       The Zawaj [Marriage] Program

       The (Taqat) program for the training and employment of people with special needs

       The (Tahiya Lil-Omal [Greetings to Workers]) program

       The Musafir Ma’a Al-Quran Al-Kareem [Traveling with the Noble Quran] project

       The (Taraweeh) Ramadan radio program

       The (Al-Baraha) Ramadan public program

       The (Khuthu Zeinatakom [Take Your Adornment]) program


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     The (Sas Al-Khyr) ceremony honoring orphans

  Marketing campaigns, initiatives and competitions
      Qatar Charity (“Organization”) conducted a number of campaigns during 2014. The relief campaigns for the
  Syrian and Palestinian people were among the most important of these campaigns, which actually embodied,
  albeit in a small way, the suffering of both of these peoples, and which achieved a great impact by positively
  contributing to the volume of aid that has been provided to the Syrian and Palestinian people. During 2014, the
  most important campaigns, initiatives and competitions were as follows:

     The 2 Contestants Competition: A project to collect donations for Syrian refugees in Jordan - Al-Zaatari
      Camp, through local community stars and personalities. Indeed, the largest possible number of donations
      were collected for the relief of the affected and the needy, with donations totaling QAR 11,875,041.

     The One Heart Program: A television program to collect donations through teams, groups and personalities,
      to help the victims of the Island of Socotra in Yemen. It generated QAR 6,654,535, and an agreement was
      concluded with Barwa Bank to prepare the “One Heart” program.

     Rufaqa [Companions] Initiative: The Organization launched a unique humanitarian initiative under the name
      (Rufaqa), focusing on orphans’ issues to care for and sponsor children and orphans worldwide by preparing
      and managing programs and channels that contribute to solving their problems. This initiative was sponsored
      by Sheikh Aaidh Al-Qarni. During 2014, 26,000 orphans were sponsored around the world for a sum of QAR
      39,951,878.

     Baseera [Vision] Quran: Creation of a “Braille” Quran for the blind to enable them to read the Noble Quran.
      QAR 1,697,995.

     Shita Bihajm Mu’anatihom [A Winter As Large As Their Suffering] campaign: Donations of QAR
      10,386,011 were collected.

     Ramadan 1435 A.H./2014 A.D.: Donations totaled QAR 274,964,393.

     Qabl An Yatajamad [Before He Freezes] campaign: Donations totaled QAR 20,622,222.

     Social Responsibility: An agreement was concluded with the following campaigns to join the Qatar Charity
      umbrella: The Layan Campaign - ‘Idad [Preparation] Education Center - Ruwwad [Pioneers] Education
      Center.

     An agreement was concluded with the Qatar Stars League, for QAR 1,000,000, to hold public events and to
      place collection boxes and points in stadiums and gymnasiums in Qatar.

  Organizational and Administrative Fields
      During 2014, the Organization conducted several reorganizations, developed the organizational structure, laid
  the foundations for institutional building, developed tools and work mechanisms, and applied modern programs
  and technologies, the most important of which were the following:

  1. Assisting in the design and implementation of the electronic exchange system at the headquarters and field
     offices, and in the direct linkage with the accounting software, which increased the efficacy of the role of
     internal oversight over all financial transactions.

  2. Implementing the direct bank transfer system by setting up a work mechanism for financial signatures in
     accordance with the Organization’s bylaws, thus enabling rapid execution of internal financial transactions
     and external transfers and facilitating the execution of transactions.

  3. Issuing Qatar Charity’s financial statements for 2013 on 30 January 2014, which is record time and indicates

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      the speed, accuracy and efficiency of the Finance Department.

  4. Activating using of the accounting software to prepare the financial budget control reports.

  5. Activating and implementing the latest versions of the International Financial Reporting Standards (IFRS) so
     the methods for recording financial transactions always mimic the locally and internationally recognized
     international standards.

  6. Developing a plan to restructure the Finance Department in line with the increase in the volume of donations
     and transfers for the projects so the work is carried out at the quality customary at the Finance Department.

  7. Developing the accounts guide to comply with the financial and administrative requirements of senior
     management.

  8. Always working through a clear methodology to implement management’s strategic vision in line with the
     Organization’s strategy of modernizing and developing financial systems and internal oversight systems.

  9. Preparing the Finance Department’s action plan for 2015.

  10. Developing plans, strategies and development systems for the Finance Department at the headquarters and
      field office levels, using the existing competencies at the Organization, and developing the collection systems
      so as to become electronic systems with the help of the departments specialized in this area.

  11. Preparing financial budgets in a different way this year so they become performance budgets that are tracked
      every quarter to measure the level of planning and to help management made decisions in a timely manner.

  12. Designing and implementing the latest electronic systems through the Organization’s Information
      Technology Department, thus increasing the efficacy of the internal oversight systems by automating all
      transactions that take place at the Organization until 31 December 2014. The following programs have been
      completed:

         The internal disbursement system.

         The external disbursement system.

         The clock-in/clock-out system and integration with the current systems (MenaMe).

         The new electronic collection system.

         The bank clearing system.

         Updates to the electronic donation site and addition of the donor portal.

         Updates to the remittances system and integration with the Ministry of Social Affairs.

         The online supplier registration system.

         The Zhukhr aid disbursement system.

         The archive system.

         Integration with the accounting system (Microsoft Dynamics GP).

         Updates to the Rufaqa [Companions] site.

  13. Developing a system for receiving disbursement orders at the Organization by setting up systems to create a
      clear mechanism that facilitates the procedures for all required services as soon as possible according to the
      priority of the requests, without prejudice to the rest of the requests.

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  14. Applying and activating the procurement policies and procedures manual.

  15. Dividing all Qatar Charity departments through the Maintenance Section, thus granting the Organization
      direct savings of about QAR 500,000.

  16. Redesigning all internal branches and performing comprehensive maintenance on each branch.

  17. Dividing and creating a second floor in the small hall in front of the Al-Dabbagh Hall.

  18. Providing effective assistance as well as service and logistical support during all of Qatar Charity’s media
      and marketing events, the most important of which are the Ramadan projects (close to 13 quality projects,
      such as One Heart - Safari Al-Khyr - Mobile Iftar - Baraha-The Pearl).

  19. Providing all of the procurement needed by the departments and providing office supplies and hospitality
      throughout the year.

  20. Managing 20 Ramadan tents and providing everything required by the Meals for Fasting Individuals project.

  21. Providing about QAR 360,000 worth of Ramadan meals through direct negotiation with the restaurants that
      supply the Iftar meals.

  22. Developing a plan to restructure the General Services Department in line with the increase in the volume of
      requests and services for the projects so as to operate with the requisite quality and transparency.

  23. Create a warehouse and logistical support unit to protect the Organization’s assets and property.

                        Investments and Management of Real Estate Assets

  First: Shares Listed on the Doha Securities Market:
       A portfolio of strategic stocks was built in a professional manner, the results of which will appear in the future
  for the benefit of the Organization. The portfolio’s investment profits totaled QAR 7.5 million, divided into QAR
  4.5 million from revaluation and QAR 3 million in cash dividends, a 10.7% increase as compared to the previous
  year when profits totaled QAR 2.7 million.

  Second: Unlisted Shares
      There was a clear and tangible development in the profits received, particularly at Qatar First Investment
  Bank and Al-Dar Exchange Company. Indeed, profits were QAR 400,000 higher than the previous year, a 23%
  increase.

  Third: Islamic Sukook at Al-Rayyan Bank
      A QAR 10 million investment was made in Sukook, as per the approval from the Investment Committee. The
  target return was 3.5% per year while the actual return was 9% per year. A sum of QAR 450,000 was realized in
  six months, a 5.5% increase.

  Fourth: Real Estate Assets
  1. Real estate assets increased by one property worth QAR 55 million, and the value of the assets grew by 21.5%
     as compared to 2013, as a result of the growth in the value of buildings and vacant land.

  2. Realized revenues increased by 8.3% as compared to 2013.

  3. Moreover, general and operating expenses decreased by -7% as compared to 2013.

  4. A sum of close to QAR 744,500 was collected on bad debts from previous years through negotiation and

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      rescheduling to revive these debts. This sum comprised 26% of the total bad debts. Work is currently
      underway to collect a comparable sum during 2015 based upon the scheduling set up for defaulting debtors,
      as agreed upon with them.


                         Auditing Information and Tracking Transactions
  1. There was an audit of the forms pertaining to all categories of new sponsorships (orphans, families, students,
     etc.), totaling 27,052 forms.

  2. There was an audit of the reports on all categories of sponsees (orphans, families, students, etc.), totaling
     77,507 reports.

  3. There was an audit of the reports on all categories of projects (water wells, mosques, income generators, etc.),
     totaling 29,739 reports.


                                       Communication with Donors
  1. There was communication with donors to address payment of unpaid sponsorships. Indeed, 34,071
     sponsorships were addressed by either having the donors pay the overdue donation or by obtaining the donors’
     permission to make the sponsorship available again due to the donors’ inability to pay the overdue sums.

  2. With respect to exchanging and cancelling sponsorships, there was communication with the donors via
     available means (mail, email, text messages, mobile telephone), and 5,067 sponsorships were exchanged.

  3. With respect to communicating with donors and providing them with reports via means pre-specified by the
     donors, 85,538 reports were sent regarding sponsorships and projects. This is in addition to the reports that
     there is no way to communicate to donors.

  4. With respect to collection and fundraising, we made calls, tracked on-going campaigns, received calls about
     these campaigns, and verified the collection [of the funds]. Indeed, QAR 24,412,000 were collected through
     the Call and Customer Service Center.




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                                               Financial System:
      The financial system applied at Qatar Charity consists of an integrated set of financial procedures
  and policies governing the management of financial and accounting activities. These systems were
  prepared in accordance with international accounting standards, the generally accepted accounting
  principles, as well as the laws and regulations instituted by the government agencies in Qatar. Moreover,
  the reports issued by this system, particularly the financial reports for the final accounts, are issued in
  accordance with International Financial Reporting Standards.

  Financial Policy:
      There are many financial policies applied at Qatar Charity. We summarize the most significant policies
      below:

  1. Application of the accrual basis, which achieves the principle of independence of financial periods.

  2. Policies related to investments.

  3. Policies related to property, equipment and machinery.

  4. Policies related to the realization of revenues.

  5. Policies related to cash and cash equivalents.

  6. Policies related to inventory.

     This is in addition to the many other accounting policies detailed in the Organization’s auditors’
  report.

  Financial Objectives:
  1. Building an advanced financial system in accordance with the advanced international standards and practices,
     and formulating financial and administrative policies that achieve the objectives of the existence of the
     Organization's internal oversight.

  2. Developing the level of performance by developing the organizational structure, so that the tasks and
     responsibilities are clear, in order to provide support and assistance to all of the Organization’s departments,
     and working to provide services as efficiently and quickly as possible.

  3. Developing the level of performance of the financial reports submitted, provided that they are submitted the
     Organization’s management regularly and accurately.

  4. Using the best global applications in the field of information technology related to financial and analytical
     management systems.

  5. Strengthening and developing the capabilities and competency of employees by using the best training
     programs in the field of international accounting standards.

  6. Preparation of the oversight and budget department will have the greatest impact in supporting oversight on
     a regular basis.

  7. Exercising financial and administrative control in offices abroad in cooperation with the International
     Development Executive Department.




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  First: The Organization’s Balance Sheet:
     The financial statements were prepared in accordance with the International Financial Reporting Standards
      and audited by the (Grant Thornton - Aleid & Co.) office. The auditor's report revealed that the Organization
      maintains regular accounting records consistent with the financial statements, and the auditor’s report was
      issued without any reservations.

      Below are comments about the Organization’s balance sheet:

  Assets:

                  Year                                   QAR                              Growth rate
                  2014                                1,144,321,189                           18%
                  2013                                970,731,911                             22%
                  2012                                798,573,831                              8%
                  2011                                741,150,986

     From the preceding table, it is clear that total assets increased by 18% from 2013 to 2014 and by 22% from
      2012 to 2013.


                                                                                             1,144,321,189
                                        798,573,831                   970,731,911
             741,150,986


               2011                       2012                          2013                    2014

      Assets consist of the following items:

      (Property, machinery and equipment - real estate investments - available-for-sale investments - held-for-
  trading investments - investments in subsidiaries - cash and cash equivalents - inventory - cash at offices abroad
  - notes receivable - other receivables).

      Accordingly, an analysis of the most significant assets reveals the following:

      1- Property, machinery and equipment:

              Year                                     QAR                                  Growth rate
              2014                                74,900,128                                   0.2%
              2013                                74,777,390                                   471%
              2012                                13,099,229                                    -2%
              2011                                13,379,592

     The net value of the property, machinery and equipment at the Organization increased slightly to QAR
      74,900,128 in 2015 [sic], a growth rate of 0.2%. The actual increase for 2013 is due to the valuation of
      headquarters’ balances and their consolidation with the book [values].




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                                                                   74.777,390                  74,900,1211




              13,379,592                 13,099,229

                2011.                      2012                       2013                       2014

      2- Investments:

      There was a 21% increase in the size of the real estate and financial investments portfolio as compared to the
      previous year as indicated in the table:

            Description                    2014               2013                 2012                 2011
   Value of real estate portfolio      637,187,693         524,406,421          483,425,173         465,666,571
   Value of held-for-trading
                                        70,298,867         65,587,569           40,905,804          35,054,224
   stock portfolio
   Value of available-for-sale          55,442,792         39,452,408           32,679,498          33,041,627
   stock portfolio
                Total                  762,929,352         629,446,398          557,010,475         532,762422
            Growth rate                    21%                  13%                 4%

      1/2    Real estate investments:

              Year                             Amount in QAR                                 Growth rate

              2014                                637,187,693                                  21.5%

              2013                                524,406,421                                    8%

              2012                                483,425,173                                    4%

              2011                                465,666,571

     During 2014, the Organization purchased a new property at a cost of QAR 52 million. In addition, a property
      worth QAR 3.26 million was received as a gift. This is in addition to the policy adopted in 2013 and applied
      retroactively to 2011, calculating the fair value of over QAR 57 million and adding it to the value of the
      property during 2014.




                                        483,425,173               524,406,421                 637,187,693


               2011                       2012                        2013                      2014




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      1/1/ 2:    Rate of return on real estate investments:

                             Real estate investment revenues
                                                                             Book value of real
      Year                            Revaluation                                                      Rate of return
                   Revenues                                  Total                estate
                                        profits
      2014         44,564,435         57,474,990        102,039,425              637,187,693                 16.0%
      2013         41,156,718         41,178,000        82,334,718               524,406,421                 15.7%
      2012         40,297,186         18,000,000        58,297,186               483,425,173                 12.1%
      2011         38,527,917         123,420,004       161,947,921              465,666,571                 34.8%

     The return on real estate investments totaled QAR 102,039,425 in 2014, a 16% increase as compared to 2013.
      The major increase in 2011 is attributable to the change in the accounting policy for real estate investments
      (calculation of the fair value reserve) with retroactive effect to 2011.


                                                                                 15.9%
      ■ 2014
      ■2013
      ■ 2012                              34.8% Ii             0I                    _
      ■2011                                                                              15.7%

                                                                               12.1%


      2 / 2 Available-for-sale investments
                                          Value of available-for-sale stock
                   Year                                                                          Growth rate
                                                      portfolio
                   2014                              55,442,792                                    40.5%
                   2013                              39,452,408                                     21%
                   2012                              32,679,498                                     -1%
                   2011                              33,041,627

     Available-for-sale investments at the Organization increased as a result of the Organization’s USD 1.75
      million investment in developing the fisheries sector in the Comoros and the investment of QAR 10 million
      in Islamic Sukook at Al-Rayyan Bank, thus leading to a 40.5% increase in available-for-sale investments.



                                                                                                   55,442,791.63

                                                                     39,452,408.00
             33,041,627.00              32,679,498.00




                2011                       2012                         2013                          2014




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       2/1/ 2:     Rate of return on available-for-sale investments:
                                                                  Value of available-for-
                 Year                    Revenues                                                   Growth rate
                                                                   sale stock portfolio
                 2014                    2,223,064                      55,442,792                      4.0%
                 2013                    1,724,053                      39,452,408                      4.4%
                 2012                    1,598,530                      32,679,498                      4.9%
                 2011                    1,241,356                      33,041,627                      3.8%

      The rate of return on these investments is low compared to investments in shares listed on the stock exchange
       and held for trading. We also note that there has been no significant discrepancy in the income received from
       these investments during the past four years.


                                             3.8% ----.....„44            „            4.0%
      • 2014
      • 2013                                                           Ili
      M 2012
                                                                                          4.4%
      • 2011
                                                 4.9%



       3 / 2 Listed share investments:

                                           Value of held-for-trading stock
                    Year                                                                         Growth rate
                                                      portfolio
                    2014                                 70,298,867                                 7.2%
                    2013                                 65,587,569                                 60%
                    2012                                 40,905,804                                 17%
                    2011                                 35,054,224

      The increase in the value of the portfolio as a result of trading transactions is QAR 4.7 million.




                                                                       65,587,569.00               70,298,86730

             35,054,224.00               40,905,804.00


                  2011                      2012                          2013                        2014




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        3/1/ 2:      Rate of return on investments in listed shares:

                          Revenues from held-for-trading investments                Value of held-for-
      Year                                                                           trading stock     Rate of return
                  Revenues received Revaluation profits            Total                portfolio
       2014            2,999,756           4,537,494             7,537,250             70,298,867           10.7%
       2013            2,093,910           2,679,769             4,773,679             65,587,569           7.3%
       2012            1,785,285           1,446,855             3,232,140             40,905,804           7 9%
       2011            1,477,236           2,713,459             4,190,695             35,054,224           12.0%

       The return on held-for-trading investments was QAR 7,537,250, a growth rate of 10.7%.


                                           12.0%


      a 201,1

      ■ 2013

      ■ 2012
      ▪ 2011

                                        7.9% —




        3- Cash and cash equivalents:

                       Year                          Amount in QAR                            Growth rate

                       2014                              208,144,481                                21%

                       2013                              171,976,114                                1%

                       2012                              170,394,884                                31%

                       2011                              130,321,436

       There was a 21% increase in cash and cash equivalents due to the growth of revenues as compared to the
        previous year.




                                                                                                 208,144,481
                                           170,394,884                 171,976414
                  130,321,436


                    2011                     2012                        2013                        2014




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      4- Inventory:

                  Year                      Net book value of inventory                   Growth rate

                  2014                                 2,053,939                              -16%

                  2013                                 2,443,519                              -39%

                  2012                                 3,997,180                               33%

                  2011                                 3,013,851

     There was a -16% decrease in strategic inventory due to distribution of the entire inventory of meals for
      fasting individuals.




                                         3,997,180

                                                                     2,443,519
                                                                                               2,053,939



              7011                        2012                        2013                       2014



      5- Balances at field offices:

      The book balance of Qatar Charity’s field offices abroad

                  Year                               Amount in QAR                        Growth rate

                  2014                                 65,584,191                             10.2%

                  2013                                 59,511,034                              96%

                  2012                                 30,426,438

     There was a 10% increase as compared to last year, which is a reasonable rate as a result of an increase in the
      size of projects to be implemented in the field, taking into account the policy of diligence and caution in
      following up on balances outside Qatar.



                                                                                           73,785,404
                                                        59,511,034
                  30/126,438

                    2012                                  2013                               2014




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      6- Other receivables:

                   Year                             Amount in QAR                             Growth rate

                   2014                                 27,438,846                                -6.5%

                   2013                                 29,342,228                                 35%

                   2012                                 21,728,091                                 10%

                   2011                                 19,670,174

     Other receivables declined by -6.5% as compared to the previous year. The factor influencing this decline is
      the decrease in accrued revenues as a result of the Organization’s management’s focus on collecting its dues
      regularly from local partners, chief among them Ooredoo Telecom, which owes the Organization about QAR
      4.7 million.



                                                                       29,342,228                  27,438,846
             19,670,174                   21,728,091


                 2011                       2012                         2013                        2014


  Liabilities:

                   Year                             Amount in QAR                         Percentage change

                   2014                                1,144,321,189                               18%

                   2013                                970,731,911                                 22%

                   2012                                798,573,831                                 8%

                   2011                                741,150,986

     The preceding table shows that total liabilities increased by 18% from 2013 to 2014 and by 22% from 2012
      to 2013.

      Liabilities consist of the following items:

      (Capital employed - real estate revaluation reserve - non-current liabilities - current liabilities).

      Thus, from analyzing the most significant liabilities, the following is clear:

      Capital employed:

      It means the accumulated savings at the end of the year




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              Year                              Capital employed                              Growth rate

              2014                                  289,224,000                                       25%

              2013                                  231,860,394                                       33%

              2012                                  173,754,635                                    -12%

              2011                                  196,815,692                                        0

     There was a 25% increase in capital employed as compared to the previous year, as a result of the purchase
      of new real estate in the amount of QAR 52 million.



                                                                                                288,224,000
                                                                     231,860,3'34


                  2011                      2012                         2013                         2014


      Real estate investment revaluation reserve:

      It means the profits resulting from calculation of the fair value of real estate investments.

           Year                            Fair value of real estate                             Growth rate
           2014                                    240,072,995                                         31%
           2013                                    182,598,005                                         29%
           2012                                    141,420,004                                         15%
           2011                                    123,420,004                                             0


     There was a 31% increase in the real estate revaluation reserve as compared to the previous year.



                                                                                                 240,0 72,99 5
                                                                       182,598,005
              123,420,004                 141,420,004


                  2011                      2012                         2013                         2014




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      Non-current liabilities:

                    Year                          Amount in QAR                           Growth rate
                    2014                              182,504,004                               5%
                    2013                              191,293,635                              40%
                    2012                              137,109,157                              -8%
                    2011                              148,524,641

     Non-current liabilities declined by 5% as compared to the previous year. This was a result of a QAR 12
      million decrease in financing through long-term Murabaha, while taking into account the increase in retained
      earnings as a result of the acquisition of a new property worth QAR 3 million as a gift.




                                                                    191,213,635               182,504,0O4
                                       137,109,157




               Jr   7                     2012                        2013                       2014


  Current liabilities:

              Year                             Current liabilities                           Growth rate
              2014                                   432,520,192                                 19%
              2013                                   364,979,876                                  5%
              2012                                   346,748,212                                 27%
              2011                                   272,390,649                                   0

     There was a 19% increase in current liabilities as compared to the previous year, as a result of the additional
      change in net temporary liabilities for specific purposes.



                                                                                               432,520,192
                                       345,748,212                    _    Jo




              2011                        2012                        2013                       2014




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  Second: Results of the Organization’s Activities:
                                                                                                                Percentage
       Description                      2011               2012                      2013           2014      change for 2014
                                                                                                               2012     2013
   Receipts                     350,083,373           581,794,068            645,531,012        920,600,757   58%           43%
   Payments for main,
   secondary and                304,931,175           482,167,537            529,938,496        799,651,876   66%           51%
   operating activities
   Administrative
                                 27,129,209            31,154,371             34,129,920        42,229,915    36%           24%
   expenses
   Total payments,
   excluding                    332,060,384           513,321,908            564,068,387        841,881,791   64%           49%
   depreciation
       Net liabilities           18,022,989            68,472,160             81,462,625        78,718,966    15%           -3%

      From the previous table it is clear that:

     Receipts increased by 43% from 2013 to 2014 as compared to the 58% growth rate in 2012, which was an
      unprecedented rate over the course of Qatar Charity’s lifetime. In 2014, receipts totaled QAR 920 million as
      compared to QAR 645 in 2013.

     Payments for main, secondary and operating activities grew by 51% from 2013 to 2014, as compared to the
      66% growth rate in 2012. Indeed, they totaled QAR 799 million as compared to QAR 529 million in 2013.
      This is because of the addition of an investment real estate purchase worth QAR 52 million to the payments
      for main and secondary activities to address donations designated for that.

     In 2014, administrative expenses totaled 4.6% of total receipts as compared to 5.3% of total receipts in 2013.
      Moreover, expenses grew by 24% from 2013 to 2014 as a result of the indirect expenses resulting from the
      increase in the magnitude of activities and programs. The Organization follows the policy of allocating costs
      according to cost centers.




                                                                                                                1,000,000
                                                                                                                             Thousands




                                                                                                                SCO.00O


                                               Payments for projects, sponsorships
              Administrative expenses                                                           Receipts
                                                                                                                             Thousands




                                                        and operations
                                                 N2011 M2012 ■ 2013 M2014




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  Receipts:

                                                                                                           Percentage
                                                            Receipts                            As a       change for
   No.           Activity                                                                    percentage       2014
                                                                                               of total
                                       2011          2012              2013       2014                    2012   2013

    1 Charitable projects           58,583,223    86,726,525     146,054,869   257,404,523      28%       197%   76%

         Social and advocacy
    2                               92,059,302    112,968,527    125,731,856   153,969,954      17%       36%    22%
         sponsorships

         Charitable projects -
    3                               23,816,805    82,343,860     59,999,014    105,538,060      11%       28%    76%
         Europe

    4 Relief projects               49,977,698    110,866,952    91,414,812    93,744,687       10%       -15%    3%

    5 Zakat                         30,650,085    40,020,869     40,001,523    56,516,678       6%        41%    41%

    6 Investment revenue            47,248,486    50,234,898     49,052,368    55,552,374       6%        11%    13%

    7 Endowment deductions           5,021,300     4,483,248      2,928,519    52,910,075       6%        1080% 1707%

         Charitable projects -
    8                                    -        29,608,610     66,614,077    46,252,906       5%        56%    -31%
         grants

    9 Needy families in Qatar        5,018,814    11,512,095     11,441,837    25,554,658       3%        122%   123%

         Meals for fasting
    10                               8,862,276    13,980,747     11,885,040    16,689,481       2%        19%    40%
         individuals

    11 Sadaqa                        5,278,029     7,565,552      9,707767     16,065,862       2%        112%   65%

    12 Sacrificial animals          10,394,637    10,691,243     10,187,438    12,263,603       1%        15%    20%

    13 Charity spectrum                  -         9,221,543      8,462,436     9,766,030       1%         6%    15%

    14 Hajj and Umrah projects           -         391,800        2,156,488     4,061,775      0.44%      937%   88%

         Penances, vows, and
    15                               2,072,794     2,147,974      2,438,829     3,080,503      0.33%      43%    26%
         ‘aqiqah

    16 Zakat Ul-Fitr                 1,876,092     2,129,587      1,715,282     2,855,426      0.31%      34%    66%

    17 Religious publications        1,721,966     1,743,108      1,478,743     2,040,603      0.22%      17%    38%

         Cultural and educational
    18                               528,821       396,303        1,646,967     1,955,599      0.21%      393%   19%
         activities

    19 Medical treatment             3,316,803     1,994,208      1,118,365     1,735,674      0.19%      -13%   55%

         Quran memorization
    20                                49,685       854,485         512,324      1,207,111      0.13%      41%    136%
         centers

    21 Clearing shares - other       3,284,558     1,911,933       344,468      1,152,056      0.13%      -40%   234%
         Eid clothing and school
    22                               322,000           -           637,989      283,119        0.03%       0%    -56%
         bags
                Total               350,083,374   581,794,067    645,531,011   920,600,757     100%       100%   58%



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     From the preceding table, we find that the highest percentage consisted of the charitable projects item, which
      amounted to 28% of the total receipts in 2014, followed by the (sponsorships - Europe projects - relief - Zakat
      - investment income - endowment share) items, which amounted to 16.7%, 11.5%, 10.2%, 6.1%, 6%, and
      5.7%, respectively, with the lowest percentage consisting of Eid clothing and [school] bags at 0.03%.

     From the preceding table, we find that the highest percentage of growth in receipts in 2014 as compared to
      2013 was in endowment shares, which grew by 1,707%, and the “other” item (clearing shares and other) at
      234%. In contrast, there was a decline in Eid clothing, [school] bags, and grant charitable projects, which
      declined by 56% and 31%, respectively.




                  II IIII1111111111
                               III                                                                    Qurans and religious



                                                                                                                             educational activities
                                         Quran memorization




                                                                                                                                                                                        Penances, vows, and




                                                                                                                                                                                                                                                       Sacrificial animals
                                                                                 Medical treatment




                                                                                                                                                                                                                                                                             Needy families in
                                                                                                                                                                                                                           Charity spectrum




                                                                                                                                                                                                                                                                                                 Meals for fasting
                     Clearing shares -




                                                              Eid clothing and




                                                                                                                                                                       Hajj and Umrah
                                                                                                                                                      Zakat Ul-Fitr
                                                                                                                             Cultural and
                                                                                                      publications




                                                                                                                                                                                                              Endowment
                                                              school bags




                                                                                                                                                                                                                                                                                                 individuals
                                                                                                                                                                                                              deductions
                                                                                                                                                                                        ‘ aqiqah
                                                                                                                                                                       projects




                                                                                                                                                                                                                                              Sadaqa
                                         centers




                                                                                                                                                                                                                                                                                                                     Zakat
                                                                                                                                                                                                                                                                             Qatar
                     other




                                                                                                     ■2011 ■2012 le 2013 ■ 2014


      We will shed some light on the analysis of some of the donations as follows:

  1- Local and international partnerships:
      In light of Qatar Charity’s excellent reputation worldwide in the field of humanitarian and Islamic
  development, many local and international organizations and agencies, local and international ministries,
  companies and individuals placed their trust in it by tasking it with completing many projects around the world.
  This is due to Qatar Charity’s experience and expertise through its offices around the world as well as its executive
  partners. During 2014, the sums received through these partnerships amounted to QAR 75.5 million, a 13.4%
  increase as compared to the fiscal year of 2013, during which the donations received amounted to QAR 66.6
  million.

  2- Revenues from the sale of in-kind donations:

                  Year                                                                                                       Amount in QAR                                                                                                                               Growth rate
                  2014                                                                                                                        9,766,030                                                                                                                              15%
                  2013                                                                                                                        8,462,436                                                                                                                               -8%
                  2012                                                                                                                        9,221,543                                                                                                                                 0%
                  2011                                                                                                                                           -

      The in-kind donations project is considered one of the projects that has great resonance within Qatar in terms
  of receiving in-kind donations, which has greatly contributed to lifting the burden of needy families’ living
  expenses. During 2014, in-kind donation revenues totaled QAR 9,766,030, a 15% increase as compared to 2013.




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                                          9,121,543                                                9,766,030
                                                                     8,462,436



                2011                       2012                       2013                          2014


  3- Investment income:

                Year                            Amount in QAR                                   Growth rate
                2014                                  55,552,374                                   13%
                2013                                  49,052,368                                   -2%
                2012                                  50,234,898                                    6%
                2011                                  47,248,485

      Qatar Charity manages the gifted funds in investment real estate and in a diversified investment portfolio
       through experts specialized in real estate investment as well as investments in listed or unlisted securities,
       which generate a return that contributes significantly to expanding the scope of aid and disbursement in
       various charitable areas, out of its belief in the application of the principle of financial continuity.


      ■ 20:4                           47,242,485                                55,552,374

      El 20:3
      M2012
       :20:1                        50,234,898 -          11601L                   49,052,368




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  Payments for main, secondary and operating activities:

                                                                                                    Percentage
                                                   Payments                             As a
                                                                                                  change for 2014
   No.        Activity                                                               percentage
                                                                                       of total
                                2011          2012          2013          2014                     2012     2013

    1 Charitable projects    101,643,379   152,773,136   210,785,631   316,749,775     42.4%      107.3%   50.3%

      Social and
    2 advocacy               86,269,869    109,295,196   127,582,366   152,909,640     20.5%      39.9%    19.9%
      sponsorships

    3 Relief projects        30,335,583    98,882,205    64,493,501    119,584,589     16.0%      20.9%    85.4%

         Needy families in
    4                         6,460,935    20,740,531    17,614,934    20,733,643      2.8%        0.0%    17.7%
         Qatar

         Meals for fasting
    5                         9,021,950    14,085,864    15,983,986    18,946,457      2.5%       34.5%    18.5%
         individuals

    6 Investments            17,973,747    17,425,708    14,909,449    13,887,320      1.9%       -20.3%   -6.9%

    7 Sacrificial animals    13,112,141     9,807,786    12,139,439    12,698,591      1.7%       29.5%    4.6%

      Cultural and
    8 educational             3,448,848     5,169,147    16,897,095    24,862,053      3.3%       381.0%   47.1%
      activities

    9 Charity spectrum           0          7,467,515     4,036,047     5,468,263      0.7%       -26.8%   35.5%

       Quran
    10 memorization           1,718,752     2,168,519     3,411,131     3,824,825      0.5%        764%    12.1%
       centers

    11 Zakat Ul-Fitr          2,072,635     2,353,216     2,897,758     2,577,217      0.3%        9.5%    -11.1%

    12 Medical treatment      2,756,770     5,743,752     2,861,899     2,843,308      0.4%       -50.5%   -0.6%

         Hajj and Umrah
    13                           0          348,000       1,872,000     3,881,666      0.5%       1015%    107.4%
         project

    14 Other                  329,950       288,001       1,419,955     461,661        0.1%       60.3%    -67.5%

       Qurans and
    15 religious               10,896       1,277,883     1,088,060     1,097,292      0.1%       -14.1%   0.8%
       publications

    16 Sadaqa                 196,368       239,382       577,283       815,377        0.1%       240.6%   41.2%

         Penances, vows,
    17                           0          133,733        31,500         224          0.0%       -99.8%   -99.3%
         and ‘aqiqah

    18 Eid clothing              0             0           30,675         6,115        0.0%       #DIV/0! -80.1%

         Operating
    19                       29,579,351    33,968,041    31,305,787    46,043,860      6.2%       35.6%    47.1%
         expenses

             Total           304,931,174   482,167,615   529,938,496   747,391,876     100%        55%      41%



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      The implementation of activities and operations increased by 41% from 2013 to 2014 and 55% from 2012 to
  2014, which enhanced the implementation of activities and projects, and the arrival of aid and sponsorships to
  those who deserve them as soon as possible, thus enhancing donors’ confident in Qatar Charity.

           The preceding table indicates the following:

          The highest actual percentage of payments during 2014 consisted of the charitable projects time, which
           accounted for 39.6% of total payments, followed by the social and advocacy sponsorships item at 19.1% The
           lowest percentage was for the Eid clothing item at 0.001%. We note that the deficit in seasonal projects is
           covered by penances, vows and ‘aqiqah.

          By comparing the payments in 2014 with 2013, it is clear that the Hajj and Umrah project had the highest
           percentage of payments, which amounted to 107% of payments, and that the lowest percentage of payments
           was for Eid clothing, which amounted to -80%. [sic]

  Relief

       The activity of relief and urgent aid to countries represents one of the most important axes for Qatar Charity,
  due to the speed of relief to afflicted peoples and the [need] to keep pace with any event that occurs around the
  world. During 2014, Qatar Charity provided relief totaling QAR 119.5 million, of which 65.4% was for the benefit
  of the Syrian people, 13.5% was for relief for the people of Somalia and the Philippines, 8.5% was for the people
  of Palestine, and 5.8% was for the people of Yemen.

                                                                                                   As a percentage of
                                                 Relief payments
                                                                                        Total             total
   No.          Country
                                                                                      payments
                                 2011           2012         2013         2014                       2014     Total

      1 Syria                  1,797,500     48,970,833   36,998,647   78,267,447    166,034,427    65.4%     53.0%

      2 Yemen                  4,575,501     14,131,501   7,060,923     6,944,291     32,712,216     5.8%     10.4%

      3 Somalia                9,813,870     7,272,655    7,927,383    10,412,071     35,425,979     8.7%     11.3%

      4 Philippines                -             -        2,802,010      92,467       2,894,477      0.1%     0.9%

            Somalia and the
      5                                          -            -         5,555,641     5,555,641      4.6%     1.8%
            Philippines

      6 Palestine                  -         19,040,645    36,527      10,209,265     29,286,437     8.5%     9.3%

      7 Pakistan               9,572,172     1,120,596     829,777       469,213      11,991,758     0.4%     3.8%

      8 Myanmar                    -         1,423,661    7,341,214     1,123,243     9,888,118      0.9%     3.2%

      9 Turkey                     -         6,071,174        -             -         6,071,174      0.0%     1.9%

      10                       3,215,831         -            -             -         3,215,831      0.0%     1.0%

      11 Morocco                   -             -            -          699,714       699,714       0.6%     0.2%

      12 Iraq                      -             -            -          639,843       639,843       0.5%     0.2%

      13 Sudan                     -          28,170       736,060       866,140      1,630,370      0.7%     0.5%

      14 Central Africa            -             -            -         2,633,718     2,633,718      2.2%     0.8%

      15 Various countries     1,360,710      822,970      760,959      1,671,537     4,616,176      1.4%     1.5%

               Total          30,335,584     98,882,205   64,493,500   119,584,589   313,295,878    100%      100%

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  Aid within Qatar:

                  Year                              Paid in QAR                       Growth rate

                  2014                              20,733,643                            18%

                  2013                              17,614,934                            -15%

                  2012                              20,740,531                            221%

                  2011                               6,460,935

      In 2014, aid to families totaled QAR 20.7 million, 60% of which was disbursed to Qatari citizens
  and 40% was disbursed to residents, according to an integrated research team and a professional
  electronic system for organizing work starting with the submission of applications and until the aid is
  approved. All of this occurs through a committee formed at the highest level in accordance with the
  rules and controls for the disbursement of aid, thus confirming the extent of the great focus on Qatari
  groups that live in this great nation and on helping and contributing to Qatar Vision 2030 for social
  development. The “Thukher Committee’s” help to needy Qatari families has contributed to addressing
  their financial problems, whether through direct financial support or indirect in-kind support such as
  opportunities for education, training, and medical treatment, etc., by cooperating with state institutions
  and bodies to fulfill the needs of the needy, and assisting debtors and those with difficult financial issues.




                                                                                     .1
                                       20,740,531                                          20,733,643
                                                                  17,614,934




               2011                      2012                      2013                     201,1




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  Third: Outgoing remittances during 2014:

  1- Outgoing remittances by country:
                                                                                                               90.00
                                                                                                               80.00
                                                                                                               70.00
                                                                                                               60.00
                                                                                                               50.00
                                                                                                               10.00
                                                                                                               10.00
                                                                                                               20.00
                                                                                                               10.00
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    the Philippines
    Central Africa




    Burkina Faso
    Luxembourg
    Sierra Leone




    Somalia and
    Switzerland




    Bangladesh
    Kyrgyzstan
    Philippines




    Mauritania
    Sri Lanka
    Myanmar




    Indonesia



    Kingdom
    Germany



    Comoros
    Morocco




    Palestine
    Lebanon




    Belgium
    Ethiopia




    Pakistan




    Somalia
    Ukraine




    Holland




    Norway
    Bahrain




    Sweden




    Senegal




    Albania
    Kosovo
    Canada




    Nigeria




    Tunisia




    Yemen
    Ireland




    Bosnia




    United
    France
    Jordan
    Kenya




    Ghana
    Africa




    Sudan
    Benin
    China




    Niger
    Spain
    Qatar
    Chad




    Togo




    India




    Mali




    Italy
    Iran




    Iraq
       Qatar Charity sent remittances to the countries of the world, particularly to countries where Qatar Charity has
  field offices. Syria was the largest recipient of remittances worldwide, accounting for 13.8% of total remittances,
  followed by Yemen, Palestine, and Somalia, accounting for 12.6%, 8.6%, and 6.3%, respectively, with Thailand
  and Brazil receiving the lowest percentage at 0.004%.

  2- Outgoing remittances by activity and project:
      Charitable and Islamic projects received the largest percentage of remittances, accounting for 50% of
  outgoing remittances during 2014, while sponsorships accounted for 26%, followed by relief projects at 19%, and
  then seasonal projects at 5%.

                                                  5%



         Charitable projects       197_

         Sponsorships

         Relief

         Seasonal projects




  3- Outgoing remittances by continent:

      Remittances to Asia amounted to 51% of the value of outgoing remittances during 2014, while remittances
  to Africa amounted to 28% followed by Europe and foreign countries at 21%.




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                                                                                              300.00




                                                                                                       Millions
                                                                                              250.00

                                                                                              200.00

                                                                                              150.00

                                                                                              100.00

                                                                                              50.00



                  Europe and foreign
                                              Africa                   Asia
                      countries



  4- Outgoing remittances by implementing entity:

     Remittances to Qatar Charity’s field offices amounted 55% of the value of outgoing remittances in 2014, and
  remittances to partner organizations amounted to 45%.


                                 55%
                                                                                        45%
     ■ Partner organizations
     • Field offices




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  Recommendations
  •   Update the accounting software used.

  •   Combine all software used into one software.

  •   Complete the rest of the financial and administrative regulations, systems and policies at the
      Organization.

  •   Strengthen strengths and address weaknesses.

  •   Improve the efficiency of spending and marginal utility of expenditures, and the principle of costs
      versus benefits.

  •   Develop the financial system throughout the Organization.

  •   Develop the financial and administrative control, as well as the internal oversight systems.

  •   Create an internal audit and control department.

  Ambition and Challenges
  1. Qatar Charity will continue to implement its current strategy of supporting the capabilities of the
     neediest groups so as to achieve human dignity and social justice, and to enhance its vision in the
     model of a pioneering and distinguished Islamic organization that combines integrity, creativity, and
     professionalism in the field of development and humanitarian aid.

  2. Complete the preparation of the remaining policies and mechanisms and institute systems for
     continuous monitoring and follow-up.

  3. Open (9) new collection branches and (24) collection outlets. We hope to increase the number of
     fixed boxes from (1,100) boxes to (2,000) boxes by the end of 2014.

  4. Launch the unified electronic accounting program in 2014 for all disbursement operations that will
     take place throughout all field offices and oversee it through the headquarters in Doha.

  5. Work will be done to launch Qatar Charity centers, with a new identity, to enhance the standing it
     has attained and attract the largest possible number of young people of both sexes to benefit from
     its distinguished and modern cultural and entertainment programs.




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                                                     For the Year Ended
                                                     31 December 2014




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  Independent Auditors’ Report to:


      The Esteemed / Chairman and Members of the Board of Directors of

      Qatar Charity

      A Qatari civil voluntary charitable organization

      Doha - Qatar


  Report about the Financial Statements
      We audited the accompanying financial statements of “Qatar Charity” (Organization), which include
  the balance sheet as of 31 December 2014, the statement of comprehensive income and the statement of
  cash flows for the year then ended, a summary of the most significant accounting policies, and the other
  supplemental notes.

  Management’s Responsibility for the Financial Statements
      Management's responsibility is to prepare and present the financial statements in accordance with
  International Financial Reporting Standards. This responsibility also includes the internal oversight that
  management deems necessary to assist it in preparing financial statements that are free from material
  misstatement, whether due to fraud or error.

  The Independent Auditors’ Responsibility
     Our responsibility is to express an opinion about the financial statements based upon our audit. We
  conducted our audit in accordance with the International Standards on Auditing, which require that we
  comply with the requirements of professional ethics and that we plan and perform the audit in order to
  obtain reasonable assurance that the financial statements are free from material misstatement.

      The audit involves performing procedures to obtain audit evidence about the amounts and disclosures in the
  financial statements. These procedures are selected based upon our judgment, including an assessment of the risks
  of material misstatement of the financial statements, whether due to fraud or error. When conducting a risk
  assessment, we consider the internal control and oversight systems related to the Organization’s preparation of
  the financial statements and their presentation in a fair manner, for the purpose of preparing appropriate audit
  procedures, and not for the purpose of expressing our opinion about the efficacy of the Organization's internal
  control and oversight systems. The audit also entails evaluating the appropriateness of the accounting policies
  used and the reasonableness of the accounting estimates prepared by management, as well as evaluating the
  overall presentation of the financial statements. We believe that the evidence we obtained during the audit is
  sufficient to provide a reasonable basis for our opinion.




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  Opinion
      In our opinion, the financial statements present fairly, in all material respects, the balance sheet of “Qatar
  Charity” (Organization) as of 31 December 2014, as well as its financial performance and cash flows for the year
  then ended, in accordance with the “International Financial Reporting Standards.”

  Report on the Other Legal and Regulatory Requirements
       In our opinion, the financial statements contain everything that must be included therein as per the provisions
  of the Organization's bylaws, and the Organization maintains regular accounting records that are consistent with
  the financial statements. We also obtained all the information and clarifications that we deemed necessary for the
  purposes of our audit. Within the limits of the information available to us, during the fiscal year there were no
  violations of the provisions of the Organization’s bylaws that would materially affect the Organization’s activity
  or financial position.


                                                                     For Grant Thornton - Grant Thornton - Aleid &
                                                                     Co.



                                                                               Rustom Mustafa Shadid

                                                                            (Auditor License No. 67)



                                                                          Doha on 20 March 2015




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     Notes                                                             31 December             31 December
                                                                           2014                    2013
                                                                          QAR                      QAR

                      Assets
                      Non-current assets
         5            Property, machinery and equipment            74,900,128                 74,777,390
         6            Real estate investments                      613,912,990                504,178,000
                      Real estate investments - provided as a
         7                                                         23,274,703                 20,228,421
                      gift
         8            Usufruct - land                              1                          1
         9            Investments in subsidiaries                  200,000                    200,000
      10              Available-for-sale investments               55,442,792                 39,452,408
                      Total non-current assets                     767,730,614                638,836,220

                      Current assets

      11              Cash and cash equivalents                    208,144,481                171,976,114
      12              Other receivables                            27,438,847                 29,342,228
      13              Notes receivable                             2,354,172                  2,738,264
      14              Held-for-trading investments                 70,298,867                 65,587,569
      15              Inventory                                    2,053,938                  2,443,519
      16              Sums owed by related parties                 716,079                    296,963
      17              Trusts at offices abroad                     65,584,191                 59,511,034
                      Total current assets                         376,590,575                331,895,691
                      Total assets                                 1,144,321,189              970,731,911




             Accompanying notes 1 through 36 constitute an integral part of these financial statements.




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     Notes                                                           31 December               31 December
                                                                         2014                      2013
                                                                         QAR                       QAR

                   Capital employed - liabilities
                   Capital employed
   18              Combined savings                                289,224,000                231,860,395
                   Savings in real estate investment revaluation
   19
                   reserve                                         240,072,994                182,598,004
                   Total capital employed                          529,296,994                414,458,399
                   Non-current assets
   20              End-of-service benefit provision                7,709,746                  6,643,896
                   Liabilities under an Islamic financing          90,630,837                 103,532,600
   21
                   contract (Ijara)
   22              Deferred earnings                               84,163,421                 81,117,139
                   Total non-current liabilities                   182,504,004                191,293,635
                   Current liabilities
   23              Other payables                                  4,165,281                  4,714,735
                   Liabilities under an Islamic financing          12,901,763                 12,467,400
   21
                   contract (Ijara)
   24              Notes payable - short-term                      8,121,650                  6,556,394
   25              Project trusts                                  6,711,834                  6,995,384
   26              Government grant trusts                         7,138,748                  7,138,748
   27              Accrued expenses                                59,434,479                 62,558,484
   28              Temporary liabilities for specific purposes     334,046,436                264,548,732
                   Total current liabilities                       432,520,191                364,979,877
                   Total capital employed and liabilities          1,144,321,189              970,731,911


          Issuance of these financial statements was approved on ………… Signed by:



                                                    Executive Director of Support             Chief Financial
             Chief Executive Officer
                                                               Affairs                           Officer
        Yousef bin Ahmed Al-Kuwari
                                                  Mohammed Abdullah Al-Yazidi                 Hussein Adam


             Accompanying notes 1 through 36 constitute an integral part of these financial statements.




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       Notes                                                                   2014                   2013
                                                                               QAR                    QAR

                    Receipts

                    Receipts for main, secondary and operating
   29
                    activities                                            876,779,968            613,199,024
   30               Deductions for administrative expenses                43,820,788             32,331,988
                    Total receipts                                        920,600,756            645,531,012
                    Payments:
                    Payments for main, secondary and operating            747,391,876            529,938,496
   31
                    activities
                    Depreciation of property, machinery and               4,117,656              3,713,024
   5
                    equipment
   32               Administrative expenses                               42,229,915             34,129,920
                    Total payments                                        793,739,447            567,781,440

                    Surplus of receipts as compared to payments           126,861,309            77,749,572
   6                Change in the fair value of real estate investments   57,474,990             41,178,000
                    Surplus during the year                               184,336,299            118,927,572
                    Other comprehensive income items                             --                     --
                    Total comprehensive income during the year            184,336,299            118,927,572

   * The surplus was distributed during the year as follows:

            Transferred to temporary liabilities for specific purposes    69,497,704             77,749,572
            Transferred to real estate revaluation reserve                57,474,990             41,178,000
            Transferred to accumulated savings                            57,363,605                    --
            Total                                                         184,336,299            118,927,572




                Accompanying notes 1 through 36 constitute an integral part of these financial statements.




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                                                                          2014                   2013
                                                                          QAR                    QAR
    Operating activities

       Operations
       Surplus during the year                                      184,336,299            118,927,572
       Obligations that do not require cash flows:
        Depreciation of property, machinery and equipment           4,117,655              3,713,024
       Change in the fair value of real estate investments          (57,474,990)           (41,178,000)
       End-of-service provision                                     1,418,982              260,209
       Unrealized (profits) from revaluation of held-for-trading
       investments                                                  (4,537,494)            (2,843,612)
        (Profits) losses from disposal of property, machinery and
                                                                              --
        equipment                                                                          (37,500)
     Total from operations                                          127,860,452            78,841,693
       Change in current assets and liabilities
        Other receivables and payables                              1,353,927              (6,047,840)
        Accrued expenses                                            (3,124,005)            (819,204)
        Inventory                                                   389,581                1,553,661
        Notes payable                                               1,565,256              648,834
        Notes receivable                                            384,092                (2,291,914)
        Trusts at offices abroad                                    (6,073,157)            (28,604,097)
        Sums owed by related parties                                (419,116)              951,900
        Construction project trusts                                 (283,550)              (3,120,333)
       Cash from operating activities                               121,653,480            41,112,700
       End-of-service benefit paid to employees                     (353,132)              (186,036)
       Net cash from operating activities                           121,300,348            40,926,664




            Accompanying notes 1 through 36 constitute an integral part of these financial statements.




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                                                                           2014                   2013
                                                                           QAR                    QAR
                                                             Note
     Investment activities
         Purchase of real estate investments                          (52,260,000)                   --
         Net change in held-for-trading investments - purchase        (173,804)             (2,838,153)
         Purchase of property, machinery and equipment                (4,240,393)           (4,543,993)
         Funds recovered from available-for-sale investments          397,116               527,090
         Proceeds from sale of property and equipment                           --          37,500
         Purchase of available-for-sale investments                   (16,387,500)          (7,300,000)
    Net cash (used in) investment activities                          (72,664,581)          (33,117,556)
     Financing activities
         Paid under an Islamic financing contract (Ijara)             (12,467,400)          (6,227,878)
     Net cash (used) in financing activities                          (12,467,400)          (6,227,878)
         Increase in cash and cash equivalents                        36,168,367            1,581,230
         Cash and cash equivalents at the beginning of the year       171,976,114           170,394,884
         Cash and cash equivalents at the end of the year             208,144,481           171,976,114




             Accompanying notes 1 through 36 constitute an integral part of these financial statements.




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  1- The Organization’s Establishment and Activity:
       Qatar Charity, a “civil voluntary charitable organization,” was established on April 1, 1992, pursuant to the
  articles of incorporation signed by the founders and approved by the Minister of Labor, Social Affairs and
  Housing in Ministerial Resolution No. (5) of 1992 in accordance with the provisions of Law No. (2) of 1974
  establishing private organizations and institutions, as amended by Law No. (17) of 1989 and Law No. (8) of 1998.
  It is registered with the Ministry of Labor and Social Affairs under No. (6) pursuant to the provisions of Law No.
  (8) of 1998.

      The Organization’s headquarters are located in Doha - Qatar - P.O. Box (1224).

      The Organization aims to sponsor orphans, care for widows, provide health care to those affected by disasters,
  droughts and famines, sponsor families, as well as engage in charitable work including building schools, mosques
  and Quran memorization centers.

  2- Principles for Preparing and Applying the New Amended International
     Financial Reporting Standards
  ‫أ‬. Compliance Statement
      The financial statements were prepared in accordance with the International Financial Reporting Standards
  and the requirements of the Organization’s bylaws.

  ‫ب‬. Bases of Measurement
      The financial statements were prepared from the Organization’s accounting records in accordance with the
  principle of historical cost, except for held-for-trading investments, real estate investments and certain property,
  machinery and equipment (land), which are stated at fair value.

  ‫ج‬. Presentation Currency
      The financial statements were presented in Qatari riyals, which is the functional currency of the Organization,
  and all amounts and values were rounded to the nearest Qatari riyal.

  ‫د‬. Use of Estimates and Judgments
       Information about the significant estimates and judgments that are necessary to apply accounting policies and
  that have a significant impact on the amounts recognized in the financial statements is set forth in Note No. (4).

  ‫و‬. Standards, Interpretations and Amendments to Existing Standards Not Yet
  Adopted by the Organization and Not Yet in Effect.
     Some standards, amendments and interpretations of existing standards have been announced but have not yet
  gone into effect and have not been adopted early by the Organization.

     Amendments to International Accounting Standard No. 19 - Limited Benefit Plans (Employee Contributions)
      (1 July 2014).

     Annual improvements to the International Financial Reporting Standards’ 2010-2013 Cycle and 2011-2014
      Cycle (1 July 2014).

     Amendments to International Accounting Standard No. 16 and International Accounting Standard No. 38,
      Clarification of Acceptable Methods of Depreciation and Amortization. (1 January 2016)



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     Amendments to International Accounting Standard No. 16 and International Accounting Standard No. 41:
      Agriculture: Bearer Plants (1 January 2016).

     Amendments to International Accounting Standard No. 27 - Equity Method in Separate Financial Statements
      (1 January 2016).

     * Annual improvements to the International Financial Reporting Standards cycle for the years 2013-2014
      (1 January 2016)

     Amendments to International Financial Reporting Standard No. 10 and International Accounting Standard
      No. 28 - Sale or Contribution of Assets between an Investor and its Associates or Joint Ventures (1 January
      2016).

     Amendments to International Financial Reporting Standard No. 11 Joint Arrangements - Accounting for
      Equity Acquisitions (1 January 2016).

     Amendments to International Financial Reporting Standard No. 14 Regulatory Deferral Accounts (1 January
      2016).

     International Financial Reporting Standard No. 9 - (Financial Instruments). (1 January 2018).

     International Financial Reporting Standard No. 15 - Revenue from Contracts with Customers. (1 January
      2017).

     Management does not expect that the aforementioned standards will have a material impact on the
      Organization’s financial position or the results of its operations.

  3- Significant Accounting Policies:
  A. Property, Machinery and Equipment
      Property, machinery and equipment are recorded at cost less accumulated depreciation and any impairment
  in their value on the financial reporting date. Depreciation is calculated using the straight-line method, and
  calculated on the basis of the expected useful life, using the following annual rates:

                Buildings                                                                              5-20%
                Machinery and equipment                                                                  20%
                Wooden rooms                                                                             20%
                Vehicles                                                                                 20%
                Furniture and furnishings                                                                20%
                Project development                                                                      25%
                Computers, software and equipment                                                     33.33%
      Depreciation methods, useful lives and residual values are reviewed at each reporting date.
  B. Recognition of Revenues
      The Organization recognizes revenues (receipts) from activities, projects and investments as follows:

     Revenues from cash donations and annual government support are recognized when received.

     Revenues from non-cash donations are recognized on a regular basis over the useful life of the asset.

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     Revenues from subscriptions and deposits are recognized when the cash is received.

     Revenues from rent are recognized on an accrual basis.

     Revenues from the sale of investments, property and equipment are recognized when ownership is transferred
      to the buyer.

  C. Real Estate Investments
      Real estate investments represent investments in land and other properties that have been acquired to obtain
  income through leasing or to increase their capital value. Real estate investments are initially recognized at cost,
  which includes the transaction costs.

       After initial recognition, real estate investments are measured at fair value. Any change in the fair value of
  real estate investments is recognized in the statement of comprehensive income for the period wherein the change
  occurs.

       Real estate investments are derecognized when the property is withdrawn from use and no economic benefit
  is expected from disposal thereof.

     The difference between the disposal proceeds and the book value is recognized in the statement of
  comprehensive income.

  D. Available-for-Sale Investments
      Investments that are classified as “available-for-sale” are revaluated after initial recognition at fair value. Any
  unrealized gains and losses upon revaluation at fair value are recognized under capital employed until the
  investment is sold, collected, or considered to have permanently declined in value. In the event of a sale or a
  permanent decline in value, the cumulative gain or loss previously recognized under capital employed is
  transferred to the statement of comprehensive income for the year.

      In light of the nature of the cash flows generated from the Organization’s investments not listed in the capital
  markets, the fair value of the investments cannot be reasonably determined, and thus these investments appear at
  cost after deducting any provision for decline in their value, if any.

  E. Held-for-trading investments
      Investments classified as “held-for-trading” are revaluated after initial recognition at fair value, and any
  unrealized gains or losses are recorded when revaluation at fair value in the statement of comprehensive income.
  Investments are classified as held-for-trading when they are purchased for the purpose of sale in the near future.

  F. Financial assets:
      Financial assets are divided into the following categories:

  a. Accounts receivable and loans

  b. Financial assets recognized at fair value through the statement of comprehensive income.

  c. Financial assets available for sale.

  d. Investments held to maturity.




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      Financial assets are classified into the aforementioned categories during the initial recognition stage based
  upon the characteristics and objectives of the financial instruments. The class of financial instruments is consistent
  with their method of measurement, if there are any revenues or expenses recognized in the statement of
  comprehensive income or recorded directly under capital employed. See Note No. 2-34, which provides a
  complete summary of the various classifications of the Organization’s financial assets.

       The Organization initially recognizes advances, accounts receivable and deposits on the date they arise. All
  other financial assets, including those recognized at fair value through profit or loss, are recognized on the trading
  date, which is the date on which the Organization becomes a party to the contractual terms of the financial
  instrument.

   Advances and Other Receivables

      Advances and other receivables are fixed payments or can be determined.

      The Organization’s management considers impairment in significant receivables on an individual basis when
  there is objective evidence of the impairment as a result of past events or when payments are overdue as of the
  financial reporting date.

   Cash and Cash Equivalents

       For cash flows purposes, cash and cash equivalents include cash balances, demand deposits with maturities
  of three months or less, and bank balances.

   Financial Assets Recognized at Fair Value in the Statement of Comprehensive Income

      Financial assets recognized at fair value through the statement of comprehensive income are financial assets
  that are held for trading and that are recognized on the basis of fair value through statement of comprehensive
  income at the time of initial recognition.

      Available-for-sale financial assets are non-derivative financial assets and are not classified as available-for-
  sale in any of the aforementioned categories of financial assets. The set of available-for-sale financial assets
  include financial assets that are not listed on the market.

      All available-for-sale financial assets are valuated on the basis of fair value, and the change in their value is
  recorded under capital employed.

      Gains and losses resulting from financial instruments that are classified in the statement of comprehensive
  income are recognized when they are sold or when the value of the investment is impaired.

      Any profit or loss resulting from financial derivatives is based on changes in fair value, which are determined
  based upon effective market transactions or, when no effective market exists, using valuation techniques.

      The Organization does not keep any other classes of financial assets.

  G. Impairment in Asset Values
      Property, machinery and equipment are reviewed to determine whether there are any indicators of an
  impairment in the value of the assets. If such indicators exist, the recoverable amount is estimated in order to
  determine the value of the impairment in the value of these assets, if any. If the recognized value of these assets
  exceeds the recoverable amount, the amount of the impairment is considered an expense during the same period
  and recognized in the statement of comprehensive income. The recoverable amount is the net sale price or the
  present usage value, whichever is higher.

      The net sale price is the price obtained from commercial sales, while the usage value is the present value of
  the expected future cash flow from continued use of the asset and its scrap value at the end of its useful life.

      Financial assets are valuated on each balance sheet date to determine whether there is actual evidence that

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  there has been permanent impairment in the value of some financial assets. If there is such evidence, the
  impairment in the value of the assets is recognized in the statement of comprehensive income, and the impairment
  in value is determined as follows:

      For financial assets recognized at fair value, the impairment is the difference between cost and fair value less
  any impairment in value previously recognized in the statement of comprehensive income.

      For financial assets recognized at cost, the impairment is the difference between book value and the present
  value of the future cash flows discounted at the rate of market return for comparable financial assets.

      For financial assets recognized at amortized cost, the impairment is the difference between the book value
  and the present value of the future cash flows discounted at the original interest rate.

  H. Foreign Currencies
      The Organization’s financial statements are prepared in Qatari riyals (functional currency). Transactions
  denominated in foreign currencies are converted into Qatari riyals according to the exchange rates prevailing at
  the time of the transaction. Moreover, balances of financial assets and financial liabilities recorded in foreign
  currencies on the balance sheet date are converted into Qatari riyals at the exchange rates prevailing at the end of
  the year. All differences are recorded in the statement of comprehensive income and transactions involving non-
  financial assets and liabilities are converted on the transaction date.

  I. Inventory
      Inventories are recorded at cost or realizable value, whichever is lower.

  J. Employee Benefits
  End-of-Service Benefits:

      An end-of-service benefits provision is formed for all of the Organization’s employees according to their
  employment contracts and consistent with the Qatari Labor Law. The benefit usually accrues based upon the
  employee’s last base salary in accordance with the Human Resources Regulations approved by Qatar Charity, the
  cumulative length of service for each employee and completion of a minimum service period. The expected costs
  of the end-of-service benefits are recorded over the period of service and this provision is recorded under “non-
  current liabilities.”

  Retirement Income:

       The Organization contributes to a government retirement fund for employees who are citizens of Qatar and
  GCC countries that is managed by the State, according to the Retirement Law. The Organization’s contribution
  is recorded under administrative expenses in the statement of comprehensive income, and it is calculated as a
  percentage of the employees’ salary. The Organization’s obligation is limited to these contributions, and they are
  paid to the fund on their due date.

  K. Payables and Accrued Expenses
     Accounts payable and accrued expenses related to received purchases or performed services are recorded
  upon receipt, regardless of whether or not the invoices associated therewith are received.

  L. Subsidiaries
      Subsidiaries are companies that the Organization controls.

  M. Liabilities Under Islamic Financing Contracts (Ijara)
      Liabilities under the Islamic finance contract (Ijara) are recognized when the amounts are withdrawn from

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  the Islamic financing. The financing costs are recorded on an accrual basis using the effective interest rate and
  included under liabilities.

  N. Provisions
      Provisions are formed when the Organization has a (legal or judicial) obligation arising from previous events,
  and when it is likely that the costs of this obligation will be paid in amounts that can be reliably estimated.

  4- Significant Accounting Estimates and Judgments
       Preparation of these financial statements requires management to use judgments, estimates and assumptions
  that affect the application of accounting policies and the values of assets, liabilities, revenues and expenses. The
  actual values may differ than these estimated values.
      Key estimates and assumptions are reviewed periodically. Adjustments to accounting estimates are
  recognized during the period in which these estimates are adjusted and in the subsequent periods affected by
  them.
       Below is an explanation of the information related to significant areas of uncertainty in the estimation and
  application of accounting policy provisions that have a significant effect on the amount recognized in the financial
  statements.

  Impairment in the Value of Inventory
      Inventory is recorded at cost or realizable value, whichever is lower. When the merchandise becomes old or
  unusable, its net realizable value is estimated. This estimate is made on an individual basis for significant
  individual merchandise. For individual merchandise that is not significant but is old or unusable, its value is
  estimated collectively and a provision is formed for it according to the inventory type and the degree of
  obsolescence or unusability, based up on historical sale prices.

  Impairment in the Value of the Investment
      The Organization treats available-for-sale investments and held-for-trading investments as impaired
  investments when there is a significant or continuous impairment in fair value below cost or when there is other
  objective evidence of the impairment. Determining “significant” or “continuous” requires a great deal of decision
  making. “Significant” is assessed against the original cost of the investment and “continuous” is assessed against
  the period in which the fair value has been below its original cost. In addition, the Organization evaluates other
  factors, including fluctuations in traded stock prices, future cash flows, and discount factors for non-traded stocks.

  Useful Lives of Property, Machinery and Equipment
      The Organization determines the estimated useful lives of property, machinery and equipment for the purpose
  of calculating depreciation. An estimate is made after considering the expected usage of the asset, normal wear
  and tear, and technical or commercial obsolescence.

  Fair Value of Real Estate Investments
      In order to estimate the fair value of real estate investments, in order to apply the fair value method as
  permitted under International Accounting Standard No. (40), the Organization appointed a specialized
  independent appraiser to assess the fair value of real estate investments as of 31 December 2014 and 2013,
  respectively. For real estate investments, the appraiser uses information about the state of the market, the
  estimated return, the expected future cash flows, and recent real estate transactions involving real estate having
  similar characteristics and locations to appraise the real estate investments.

  Principle of Continuity
      Management evaluated the Organization’s ability to continue its operations and was convinced that
  the Organization has resources that enable it able to continue its future operations. In addition, the

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  Organization's management is not aware of any matters that cast doubt on the Organization's ability to
  continue its activities. Based thereupon, management prepares the financial statements on the basis of
  the principle of continuity.




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    6) Real Estate Investments
       This item consists of the following:


                                                                           2014                    2013
                                                                           QAR                     QAR
      Real estate investments                                          613,912,990              504,178,000
      Balance as of 31 December                                        613,912,990              504,178,000
          The change in real estate investments was as follows:

                                                                           2014                    2013
                                                                           QAR                     QAR
      Balance as of 1 January
                                                                       504,178,000              463,000,000
      Additions to real estate property
                                                                        52,260,000                   --
      Increase in the fair value of real estate investments
      during the year                                                   57,474,990              41,178,000
      Balance as of 31 December                                        613,912,990              504,178,000



            Fair value is determined based upon the appraisal conducted by an independent and accredited external
             appraiser. All aforementioned real estate investments are located in the State of Qatar.

            Buildings have been erected on all land, except for the Lusail land, which is vacant land and had a fair
             value of QAR 62,508,600 and QAR 54,250,560 as of 31 December 2013 and 2014, respectively.

            All aforementioned real estate investments are registered in the Organization’s name, with the
             exception of an administrative building registered in the name of Qatar Islamic Bank pursuant to a
             lease-to-own contract for the benefit of the Organization - Note No. (20), whose fair value is QAR
             315,000,000 and QAR 290,000,000 as of 31 December 2014 and 2013, respectively.




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    7) Real estate investments - provided as a gift
       This item consists of the following:


                                                                         2014                     2013
                                                                         QAR                      QAR
      Real estate investments - provided as a gift                    23,274,703               20,228,421
      Balance as of 31 December                                       23,274,703               20,228,421
           The change in real estate investments - provided as a gift was as follows:

                                                                         2014                     2013
                                                                         QAR                      QAR
                                                                      20,228,421               20,425,173
      Real estate investments provided as a gift at fair value -
      Additions                                                        220-3,269                    --
      Less: Building depreciation                                      (222,938)                (196,752)
      Balance as of 31 December                                       23,274,702               20,228,421


            This item represents the fair value of the land and buildings provided as a gift to the Organization on
             the date they are recognized in the accounting records. Changes in fair value are not recognized on a
             regular basis.

    8) Usufruct - Land
       During 1993, the Organization leased a plot of land from the Ministry of Municipalities and Urban
       Planning, having an area of (8,500 m2) and located in the industrial zone, for a period of 20 years for a sum
       of QAR (4,250) per year, conditional upon completing the construction work within 12 months. The
       Organization completed the (warehouse) construction work, record all construction costs in the balance
       sheet under the property, machinery and equipment item for a book value, and record the usufruct on the
       land for a nominal sum of QAR 1.




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    9) Investments in subsidiaries

          Subsidiaries are companies that the Organization controls. The Organization’s financial statements do not
          include the subsidiaries’ assets, liabilities and business results.

                                       Country of         Contribution
           Name of company             incorporation      percentage            2014                2013
                                                                                QAR                 QAR
     Al-Mawarid Al-Jadida              Qatar              100%
     Investment Group                                                          200,000            200,000
                                                                               200,000            200,000

    10) Available-for-sale investments

           This item consists of the follow:


                                                                              2014                 2013
                                                                              QAR                  QAR
      Balance as of 1 January                                               39,452,408          32,679,498
      Additions during the year                                             16,387,500          7,300,000
      Less: Funds recovered from available-for-sale investments             (397,116)            (527,090)
      Balance as of 31 December                                             55,442,792          39,452,408


              This sum represents the available-for-sale investments in unlisted companies. The value of these
               investments was recorded at cost because it is not possible to anticipate the fair value.




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    11) Cash and cash equivalents
       This item consists of the following:


                                                                     2014                   2013
                                                                     QAR                    QAR
      Current and savings accounts                           197,681,653               161,793,746
      Bank deposits                                          10,000,000                10,000,000
      Cash at financial institutions *                       4,119                     177,923
      Cash on hand and sustainable trusts                    458,709                   4,445
      Balance as of 31 December                                208,144,481               171,976,114

       * This balance represents the remainder of the amount paid to brokerage firms for investment.

    12) Other receivables
       This item consists of the following:


                                                                     2014                   2013
                                                                     QAR                    QAR
      Accrued revenues                                       6,559,102                 12,471,533
      Prepaid expenses                                       8,464,588                 6,173,209
      Employee advances                                      1,168,866                 1,123,927
      Prepayments                                            4,929,067                 3,894,201
      Recovered deposits                                     289,898                   196,716
      Other                                                  6,027,326                 5,482,642
      Balance as of 31 December                              27,438,847                29,342,228
    13) Notes receivable
         The amount of the notes receivable represents the value of the checks donated to the
         Organization during the year and due in the coming years.


                                                                  2014                      2013
                                                             Balance as of 31               QAR
                                                               December
                                                                                          2,738,264
      Notes receivable                                           2,354,172
      Balance as of 31 December                                  2,354,172                2,738,264




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    14) Held-for-trading investments
          This item consists of the following:


                                                                     2014                      2013
                                                                     QAR                       QAR
                                                               65,587,569               40,905,804
    Balance as of 1 January
                                                                         --              20,000,000
    Plus: Increase in value of investment portfolio
                                                               173,804                   1,838,153
    Plus: Net change in investments during the year -
    unrealized investment revaluation profits                  4,537,494                 2,843,612
    Balance as of 31 December                                  70,298,867                65,587,569

          The fair value of traded shares was determined using the trading prices announced on the Qatar Stock
          Exchange on 31 December 2014.
    15) Inventory
          This item consists of the following:


                                                                     2014                      2013
                                                                     QAR                       QAR
      Relief supplies                                              2,053,939             2,053,939
      Plastic supplies                                                   --              354,050
      Other                                                            --                35,530
      Balance as of 31 December                                    2,053,939             2,442,519

          The inventory is held in trust in special warehouses at the World Food Program in the United Arab
          Emirates.

    16) Sums owed by third parties

          This item consists of the following:

                                                                     2014                      2013
    Total new resources for real estate and commercial               QAR                       QAR
    investment                                                 716,079                   296,963
    Balance as of 31 December                                  716,079                   296,963




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    17) Funds held at offices abroad
       This item consists of:

                                                                  2014        2013
                                                                  QAR         QAR
      Palestine offices (Ramallah office and Gaza office)   27,801,570    14,738,327
      Bosnia office                                          696,213      249,471
      Kosovo office                                          58,820       359,462
      Bangladesh office                                      3,557,302    1,473,303
      Pakistan office                                        5,448,264    7,247,865
      Indonesia office                                       4,896,911    3,432,069
      Sudan office                                           590,787      2,554,543
      Mauritania office                                      790,888      1,086,593
      Comoros office                                         1,662,877    1,779,872
      Burkina Faso office                                    818,145      2,431,011
      Somalia office                                         942,354      1,305,587
      Mali office                                            568,325      1,599,818
      Tunisia office                                         8,344,396    9,341,705
      London office                                                 --    626,356
      Albania office                                         454,967      974,648
      Yemen office                                           3,442,446    8,390,277
      Niger office                                           5,509,926    1,920,127
      Balance as of 31 December                              65,584,191   59,51,034




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    18) Accumulated Savings
          During the year ended 31 December 2014, the Organization’s management analyzed the accumulated
          savings from the items comprising them as follows:


                                                                      2014                2013
                                                                      QAR                QAR
      Trust for the various charitable causes                     11,016,864         60,953,259
      Trust for the sponsorship of orphans, families and
      disabled persons                                            47,351,606         47,351,606
      Trust for feeding fasting individuals                       7,870,147          7,696,422
      Trust for sacrificial animals                               5,569,969          5,489,529
      Trust for alms                                              52,155,736         46,382,138
      Trust for Sanabil Al-Khyr                                   35,015,753         34,533,395
      Trust for advocacy                                          12,283,131         12,225,173
      Trust for religious publications                            9,625,631          9,062,550
      Trust for loyalty                                           1,696,300          1,527,460
      Trust for Quran memorization                                3,943,670          3,943,670
      Trust for sadaqa                                            2,695,192          2,695,193
      Balance as of 31 December                                   289,224,000        231,860,395

   The change in accumulated savings during the year was as follows:


                                                                      2014                2013
                                                                      QAR                QAR
      Accumulated savings as of 1 January                         231,860,395        173,754,635
      Transferred from temporary liabilities for specific         57,363,605         56,483,863
      purposes
      Transferred from other receivables                                       --    1,621 ,897
      Accumulated savings as of 31 December                       289,224,000        231,860,395




    19) Savings in real estate investment revaluation reserve



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         The change in the fair value of real estate investments was as follows:


                                                                    2014                 2013
                                                                    QAR                 QAR
      Fair value as of 1 January                              182,598,004          141,420,004
      Increase in the fair value of real estate investments   57,474,990           41,178,000
      during the year
      Fair value as of 31 December                            240,072,994          182,598,004

    20) End-of-service provision
       This item consists of the following:


                                                                    2014                 2013
                                                                    QAR                 QAR
      Balance as of 1 January                                 6,643,896            6,569,723
      Plus: Provision during the year                         1,220,512            260,209
      Plus Provision during the year - offices abroad         198,470                            —
      Less: Paid end-of-service benefits                      (353,132)            (186,036)
      Balance as of 31 December                               7,709,746            6,643,896




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    21) Obligations under an Islamic financing contract (Ijara)
             During 2010, Qatar Charity received Islamic financing (real estate lease) to purchase a
              building for a sum of QAR 150,000,000 from Islamic International Bank. The interest on
              the Islamic financing ranges between 6.35% and 7.40%, and it is paid in semi-annual
              instalments ending on 28/12/2020, with collateral of registering the building in the bank’s
              name, completing a legal right transfer, and signing a new lease contract with Qatar First
              Investment Bank.
             During 2013, the Organization paid off the existing lease loan early as of 31 December
              2013 by entering into a new lease-to-own Islamic financing agreement (real estate lease)
              with Qatar Islamic Bank for a sum of QAR 116,000,000, to be paid in semi-annual
              instalments starting on 01/01/2014 and ending on 01/07/2021, with the collateral of
              registering the building in the name of Qatar Islamic Bank.

                                                                                  2014
                          QAR
                                                 Within a year      From 2-10 years            Total
   Remaining leasing contract                      17,073,820         102,442,920           119,516,740
   Less deferred leasing cost                     (4,172,057)         (11,812,083)          (15,984,140)

   Book value as of 31 December 2014               12,901,763          90,630,837           103,532,600

                                                                                  2013
                          QAR
                                                 Within a year      From 2-10 years            Total
   Total from new leasing contract                 17,073,821         119,516,740           136,590,561
   Less the cost of the deferred lease            (4,606,421)         (15,984,140)          (20,590,561)

   Book value as of 31 December 2013               12,467,400         103,532,600           116,000,000




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    22) Retained earnings
       This item consists of the following:


                                                                2014                 2013
                                                                QAR                  QAR
     Balance as of 1 January                                  81,117,139        20,425,173
     Plus: Retained earnings related to land and buildings    3,269,220         60,888,718
     *
     Less: Revenues recognized during the year                (222,938)         (196,752)
     Balance as of 31 December                                84,163,421        81,117,139

       Retained earnings were classified as follows:


                                                                2014                 2013
                                                                QAR                  QAR
     Retained earnings related to land                        80,590,202        77,470,982
     Retained earnings related to buildings                   4,531,500         4,381,500
     Total                                                    85,121,702        81,852,482
     Less: Amortization of retained earnings related to       (958,281)         (735,343)
     buildings
     Balance as of 31 December                                84,163,421        81,117,139

    23) Other payables
     This item consists of the following:

                                                                2014                 2013

                                                                QAR                  QAR
     Prepaid revenues                                        2,462,248     3,318,887
     Deposits from property lessees                          1,303,498     1,175,723
     Other payables                                          399,525       220,125
     Balance as of 31 December                               4,165,281     4,714,735




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    24) Notes payable
          The amount of the notes payable represents the value of checks for the rent on the branches’ properties
          leased by the Organization.

                                                                         2014                    2013
                                                                        QAR                      QAR
      Notes payable - short-term                                   8,121,650               6,556,394
      Balance as of 31 December                                    8,121,650               6,556,394

    25) Trusts for projects
          Based upon the decision issued by Qatar Charity’s board of directors on 25 January 2010, a sum of QAR
          57,531,758 was deducted from the accumulated savings balance appearing in the financial statements as
          of 31 December 2009 and transferred to the trust account (development and future programs and projects)
          because this balance is a liability. These liabilities were divided in the balance sheet into:

                                                                         2014                    2013

                                                                        QAR                      QAR
      Paid during the year                                         6,995,384               10,115,717
      Balance as of 1 January                                      (283,550)               (3,120,333)
      Balance as of 31 December                                    6,711,834               6,995,384

    26) Government grant trusts
          This sum represents the remaining balance of the remittances received from the government of the State
          of Qatar for the construction of two villages in East Sudan as well as the Kassala - Al-Laffa Road
          (Sudan - Eritrea) project under the management of Qatar Charity. These transfers totaled QAR
          62,894,900, of which a sum of QAR 55,756,152 had been spent on construction projects as of date of
          the fiscal year ended 31 December 2014.




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    27) Accrued expenses
           This sum represents the liabilities and expenses accrued in 2014 in connection with disabled families,
           orphan sponsorships, sacrificial animals, relief, cultural activities, advocacy, sadaqa, Zakat, projects,
           administrative and investment expenses, and other expenses that have not been disbursed yet.


                                                                         2014                      2013
                                                                   QAR                         QAR
      Accrued payments for activities and projects                 56,608,768                  57,072,252
      Accrued administrative and operating expenses                2,628,491                   4,614,256
      Accrued investment expenses                                  197,220                     871,976
      Balance as of 31 December                                    59,434,479                  62,558,484

    28) Temporary liabilities for specific purposes
   This item consists of the following:


                                                                         2014                      2013
                                                                   QAR                        QAR
      Balance as of 1 January                                      264,548,732                243,283,023
      Transferred to accumulated savings                                 --                   (56,483,863)
      Transferred to temporary obligations during the year         69,497,704                 77,749,572
      Balance as of 31 December                                    334,046,436                264,548,732


            The amount of the temporary liabilities represents the value of the donations received by Qatar
             Charity, with the aim of having Qatar Charity’s management donate them according to the purpose
             specified for them by the parties that paid them.




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   28) Temporary liabilities for specific purposes (Contd.)

          During the year ended 31 December 2014, the Organization’s management analyzed temporary
         liabilities for specific purposes and the components comprising them as follows:


                                                                          2014                2013
                                                                   QAR                   QAR
     Charitable construction projects                              238,576,727           163,425,442
     Relief projects                                               57,982,731            86,958,146
     Zakat                                                         1,586,385             3,391,982
     Share investments                                             1,171,130             3,120,834
     Real estate investments                                       7,272,309             1,473,267
     Alms                                                          2,090,656             2,313,227
     Qurans and religious publications                             1,030,531             406,895
     In-kind donations and fairs                                   4,227,684                   --
     Sponsorships for orphans, families and disabled individuals           --            711,219
     Sadaqa                                                        4,994,369             1,118,419
     Medical treatment                                             210,377               50,204
     Sacrificial animals                                           182,619                     --
     Sanabil Al-Khyr endowment                                     162,422               164,929
     Loyalty endowment                                             96,050                91,480
     Iftar meal endowment                                          187,625               173,725
     Sacrificial animal endowment                                  83,757                80,440
     Nation advancement endowment                                  178,729               162,570
     Penances, vows and ‘aqiqah                                    237,562               19,127
     Sponsorship of preachers, students and teachers                       --            62,805
     Advocacy endowment                                            49,885                57,958
     Meals for fasting individuals                                 112,500                     --
     Cultural and educational activities                                   --            110,542
     Share clearing                                                73,233                264
     Eid clothing                                                  810,500               516,274
     Food baskets                                                  1,125,900                   --
     Easing hardship                                               1,302,671                   --
     Other                                                         300,084               138,983
     Balance as of 31 December                                     334,046,426           264,548,732




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   28) Temporary liabilities for specific purposes (Contd.)
        Temporary liabilities for specific purposes were analyzed as follows:

                                                                           2014             2013
                                                                    QAR               QAR
    Receipts for activities and projects during the year            865,048,382       596,478,644
    Investment income during the year                               55,552,374        49,052,368
    Total revenues and receipts during the year                     92,600,756        645,531,012
    Total payments recognized in the statement of
    comprehensive income                                            (793,739,447)     (567,781,440)
    Receipts in excess of payments                                  126,861,309       77,749,572
    Transferred to accumulated savings                              (57,363,605)      (56,483,863)
    Transferred to temporary liabilities for specific purposes
    during the year                                                 69,497,704        21,265,709
    Balance of temporary liabilities for specific purposes at the   264,548,732       242,802,523
    beginning of the year
    Transferred from other receivables                                      --        480,500
    Temporary liabilities for specific purposes at the end of
    the year                                                        334,046,436       264,548,732

    29) Receipts for main, secondary and operating activities
        This item consists of the following:

                                                                          2014              2013
                                                                    QAR              QAR
    Receipts for sponsorship of orphans, families and disabled
    persons                                                         168,186,165      129,606,777
    Receipts for charitable construction projects                   409,195,488      272,667,960
    Receipts for Zakat                                              56,516,678       40,001,523
    Relief receipts                                                 93,744,687       91,414,812
    Sadaqa receipts                                                 18,106,465       10,826,132
    Receipts for meals for fasting individuals                      16,689,481       11,885,040
    Receipts for sacrificial animals                                12,263,603       10,187,438
    Receipts for endowments (donations)                             52,910,075       2,928,519
    Receipts for memorization centers                               283,119          512,324
    Receipts for Qurans and religious publications                  1,955,599        1,478,473
    Receipts for penances, aqiqah and vows                          3,080,503        2,438,8829
    Receipts for Zakat Ul-Fitr                                      2,855,425        1,715,282
    Receipts for sponsorship of advocacy, teachers and students     8,712,458        7,566,916
    Receipts for cultural and educational activities                1,207,111        1,646,967
    Receipts to support institutions and agencies                   11,350           12,800
    Receipts for Hajj and food for individuals performing Hajj      4,061,775        2,156,488
    and Umrah
    Receipts for clearing shares                                    1,110,706        205,668
    Receipts of revenue from fairs and in-kind donations            9,766,030        8,462,436
    Receipts for Eid clothing and school bags                       352,832          627,989
    Other receipts                                                  30,000           126,271
    Receipts for food baskets                                       1,282,842                --
    Receipts for easing hardship                                    2,624,990                --
    Investment income                                               55,552,374       49,052,368
    Less: Deduction for administrative expenses                     (43,820,788)     (32,331,988)
    Total                                                           876,779,968     613,199,024




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   29) Receipts for main, secondary and operating activities (Contd.)
          The investment revenue item consists of the following items:

                                                                           2014                     2013
                                                                     QAR                       QAR
      Rental income                                                  44,564,435                41,133,077
      Share revenues                                                 9,760,695                 6,451,100
      Profits from deposit accounts                                  1,227,244                 1,468,191
      Total                                                          55,552,374                49,052,368
    30) Deduction for administrative expenses
           A percentage ranging between zero and 12.50% is deducted from all receipts and revenues during the
           year, provided that the total percentage deducted does not exceed 10% of total receipts and revenues
           during the year, and it is divided as follows: 5% for administrative expenses, 3% for indirect operating
           expenses, and 2% for direct operating expenses:
           The deduction for administrative expenses consists of the following items:

                                                                           2014                     2013
                                                                     QAR                       QAR
      Social and advocacy sponsorships                               5,685,268                 5,454,766
      Charitable projects                                            15,889,027                12,040,247
      Relief receipts                                                5,624,681                 5,434,300
      Miscellaneous and seasonal receipts                            3,647,978                 2,520,326
      Zakat                                                          7,064,585                 5,000,190
      Deducted from investment revenues                              5,909,249                 1,882,159

      Total deduction for administrative expenses                    43,820,788                32,331,988
      Deduction for indirect operating expenses                      26,292,473                19,299,193
      Deduction for direct operating expenses                        17,528,316                12,922,796
      Total deducted during the year                                 87,641,577                64,662,977




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    31) Payments for main, secondary and operating activities:
        This item consists of the following:

                                                                       2014                2013
                                                                QAR                     QAR
      Payments for sponsorship of orphans, families and
      disabled individuals                                      162,845,196             136,656,943
      Payments for charitable construction projects             316,749,775             210,785,631
      Relief payments                                           119,584,589             64,493,501
      Sadaqa payments                                           3,658,685               3,469,827
      Payments for meals to feed fasting individuals            18,946,457              15,983,986
      Payments for sacrificial animals                          12,698,591              12,139,439
      Payments for easing hardship and for Eid clothing         222,115                               --
      Payments for penances, ‘aqiqah and vows                   224                     31,500
      Payment for memorization centers                          3,824,825               3,411,131
      Payments for Qurans and religious publications            1,097,291               1,088,060
      Payments for Zakat Ul-Fitr                                2,577,217               2,897,758
      Payments for sponsorship of advocacy, teachers and
      students                                                  10,582,087              8,540,357
      Payments for cultural and educational activities          24,862,054              16,897,095
      Payments for Hajj and food for individuals
      performing Hajj and Umrah                                 3,881,666               1,872,000
      Payments to support institutions and agencies             461,661                 1,419,955
      Payments for fairs and in-kind donations                  5,468,263               4,036,077
      Operating expenses *                                      46,043,860              31,305,787
      Real estate and other investment expenses **              13,887,320              14,909,449
      Total payments for activities and projects                747,391,876             529,938,496
        * The operating expenses item includes the following:

                                                                       2014                2013
                                                                 QAR                    QAR
      Employee wage, salary and benefit expenses of
      operating departments                                    26,923,404              17,453,940
      Operating expenses of offices abroad                     19,120,456              13,851,847
      Total operating expenses                                 46,043,860              31,305,787
       ** The real estate and other investment expenses item includes the following:

                                                                       2014                  2013
                                                                QAR                    QAR
      Depreciation of buildings - provided as a gift            222,938                196,752
      Financing cost expenses                                   4,638,764              5,773,142
      Investment real estate rental expenses                    4,644,000              4,644,000
      Real estate management and maintenance expenses           3,198,040              3,238,795
      Other expenses                                            1,183,578              1,056,759
      Total real estate and other investment expenses           12,887,320             14,909,449




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    32) Administrative expenses
           This item consists of the following:


                                                                          2014            2013
                                                                     QAR              QAR
          Employee wage, salary and benefit expenses                 24,542,836       2,733,991
          Employee bonus expenses                                    3,599,725        2,719,973
          Temporary employee expenses                                815,037          626,988
          Travel ticket expenses                                     872,374          651,158
          End-of-service benefit expenses                            1,220,512        260,209
          Rental expenses                                            1,846,935        1,320,607
          Mailing, telephone and fax expenses                        1,313,610        1,728,264
          Advertising expenses                                       520,362          21,400
          Office supply and printed material expenses                544,223          400,281
          Maintenance expenses                                       625,046          430,291
          Professional, legal and translation fee expenses           650,400          734,680
          Travel and mission expenses                                2,941,563        1,793,580
          Insurance expenses                                         9,292            43,595
          Retirement and pension expenses                            296,121          233,705
          Employee training and development                          576,649          250,426
          Hospitality                                                419,473          239,166
          Office supplies                                            201,147          210,106
          Cleaning                                                   1,101,973        640,089
          Fuel                                                       52,206           42,963
          Other expenses                                             70,431           48,448
          Total administrative expenses                              32,229,915       34,129,920




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  33- Contingent liabilities
       As of 31 December 2014, contingent liabilities totaled QAR 6,214.682 (2013: 10,449,000), and they consist
  of the postdated checks issued by the Organization for prepaid rents.
  34- Financial Risk Management
      The Organization’s activities are exposed to routine financial risks, which include the effects of client defaults
  and fluctuations in share prices and liquidity. The Organization’s management seeks to minimize the potential
  impacts on the Organization’s financial performance by taking the steps necessary to access specific areas of risk
  management, such as credit risks, interest rate risks, and liquidity management.
      The Organization’s financial assets include cash on hand, at the banks and at financial institutions,
  investments, accounts receivable, other receivables, notes receivable, and debtor related parties. Significant
  financial liabilities include accounts payable, notes payable, other payables and accrued expenses.
  34-1)     Fair Value of Financial Instruments
       The fair value of financial assets in regulated financial markets is determined using the market purchase prices
  at close of trading on the balance sheet date. In the event that the fair value of the financial assets and financial
  liabilities listed in the balance cannot be taken from active markets, an estimated fair value is determined using
  the current market value of other similar financial instruments, or using the expected cash flows from the assets
  or from internal pricing models. To the extent possible, the information for these pricing models is taken from
  markets that can be followed. However, in instances where this is not useful management needs to use estimates
  to determine fair value.
  34-2)     Liquidity Risks:
      It consists of the Organization’s inability to obtain adequate funding sources to cover its obligations. The
  Organization’s management monitors the cash liquidity position periodically to ensure the adequacy of funding
  sources to cover any future obligations. The Organization’s funding sources are diverse, and it limits its dealings
  to agreements with reputable financial institutions.
      In addition, the cash is sufficiently available to secure any future obligations.
  34-3)     Currency Risks
       Currency risk arises from the fluctuations arising from dealing in financial instruments due to the change in
  foreign exchange rates. However, the Organization is not exposed to significant foreign currency risks because
  its dealings in foreign currency during the year were not significant.
  34-4)     Other Price Risks
      The Organization is exposed to other price risks related to its investments in shares listed in the market.
  Securities price risk is the risk to the fair value of these securities as a result of changes in the number and value
  of shares. The impact on surplus funds in the event of a reasonable change in financial market indicators, while
  keeping the other variables constant, is as follows:




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                                                     Change in     Impact on   Change in           Impact on
                                                     share price surplus funds share price       surplus funds

                                                                2014                          3,102

                                                                         QAR                            QAR

              Doha Securities Market                  +/- 10%          7,029,887    +/- 10%           6,558,757


  35- Reclassification and adjustment of comparison figures
      The comparison figures were reclassified and adjusted to match the presentation used in the current year's
  financial statements.
      The reclassification had no impact on the statement of comprehensive income for the comparison period.
  36- Approval of the financial statements
      The financial statements were approved by management and the Chief Executive Officer on …………….




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                         5. Property, machinery and equipment
                                                                                    Machinery
                                                                                                                Computers and      Furniture and    Wooden




                                                                                                                            I
                                                                 Buildings             and        Vehicles                                                           Land             Total
                                                                                                                  equipment         furnishings       rooms
                                   Cost/fair value                                  equipment



                         Balance as of 1 January 2013         11,593,116        8,507,049       2,342,000      6,454,865          4,661,481        647,750             --        34,206,261

                             Additions                        694,729           1,329,715       600,043        1,268,823          547,183          3,500         60,888,718      65,432,711

                             Disposals                               --                --       (56,000)               --                --              --            --        (56,000)

                             Adjustments                             --         (41,526)                               --                --              --                      (41,526)

                         Balance as of 31 December 2013       12,287,845        9,795,238       2,886,043      7,823,688          5,208,664        65,250        60,888,718      99,541,446

                         Accumulated depreciation




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                         Balance as of 1 January 2013         6,730,307         3,648,384       1,567,669      4,883,801          3,629,121        647,750             --        21,107,032

                             Depreciation during the year     622,569           1,370,376       308,982        1,034,899          375,616          581                 --        3,712,024

                             Disposals                               --                --       (56,000)               --                --              --                      (56,000)


                         Balance as of 31 December 2013       7,352,876         5,018,760       1,820,652      5,1918,7000        4,004,737        648,331                       24,764,056
                                                                                                                                                                                                Financial Statements and Independent Auditor’s Report




                         Net book/fair value as of 31
                         December 2013                        4,934,969         4,776,478       1,065,391      1,904,988          1,203,927        2,919         60,888,718      74,777,390

                            During 2013, the Organization appraised the land on which its headquarters are erected, which was given as a gift from the State. Its value was determined by an
                             independent and accredited appraiser specialized in investment real estate at QAR 60,888,718, and it was classified under property, machinery and equipment as
                             the Organization built administrative offices on it.




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                                                                                                                                                                                                                                   Case 1:21-cv-05716-AMD-VMS Document 58-25 Filed 03/18/22 Page 89 of 187 PageID #:
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                                                                          Machinery
                                                                                                    Computers and   Furniture and    Wooden




                                                                                                               I
                                                             Buildings       and        Vehicles                                                  Land              Total
                                                                                                      equipment      furnishings      rooms
                                   Cost/fair value                        equipment



                         Balance as of 1 January 2014      12,287,845    9,795,238    2,886,043    7,823,688        5,208,664       651,250    60,888,718      99,541,446

                            Additions                      859,945       1,371,241                 989,074          950,033         70,100                  -- 4,240,393

                         Balance as of 31 December 2014    90/,13,147    1,166,479    2,886,043    8,812,762        6,158,697       721,350   60,888,718       103,781,829

                         Accumulated depreciation

                         Balance as of 1 January 2014      7,352,876     5,018,760    1,820,652    5,918,700        4,004,737       648,331                    24,764,056

                            Depreciation during the year   647,683       1,533,227    303,091      1,124,286        502,224         7,044                      4,117,655
                                                                                                                                                                                                                                                     756




                         Balance as of 31 December 2014    8,000,559     6,551,987    2,123,739    7,042,986        4,507,061       655,375                    28,881,711


                         Net book/fair value as of 31
                         December 2014                     5,147,231     4,614,492    762,300      1,769,776        1,651,636       65,975    60,888,718       74,900,128




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                                                                                                                                                                                                                Case 1:21-cv-05716-AMD-VMS Document 58-25 Filed 03/18/22 Page 90 of 187 PageID #:
                            34) Risk Management Policies (Contd.)
                         34-2) Liquidity Risks (Contd.)
                               The following table shows the maturity dates of the Organization’s financial assets and liabilities as of 31 December 2014.
                                       Total               More than a year            Less than a year        Demand deposits


                                                                                                                                                Financial assets
                         208,144,481                                            --                        -- 208,144,481                        Cash and cash equivalents
                         65,584,191                                             -- 65,584,191                                  --               Trusts at offices abroad
                         70,298,867                                             -- 70,298,867                                  --               Held-for-trading investments
                         2,354,172                                              -- 2,354,172                                   --               Notes receivable
                         27,438,847                                             -- 27,438,847                                  --               Other receivables
                         716,079                                                -- 716,079                                     --               Sums owed by related parties
                         55,442,792                                             -- 55,442,792                                  --               Available-for-sale investments

                         429,979,429                                            -- 221,834,948                 208,144,481                      Total financial assets




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                                                                                                                                                Financial liabilities
                                                                                                                                                                                                                                                                                  757




                         (8,121,650)                                            -- (8,121,650)                                 --               Notes payable
                         (7,709,746)                    (7,709,746)                                       --                   --               End-of-service benefits
                         (7,138,748)                                            -- (7,138,748)                                 --               Government grant trusts
                         (6,711,834)                                            -- (6,711,834)                                 --               Project trusts
                         (103,532,600)                  (90,620,827)                 (12,901,763)                              --               Liabilities under an Islamic financing contract (Ijara)
                         (334,046,436)                                          -- (334,046,436)                               --               Temporary liabilities for specific purposes
                                                                                                                                                                                                          Financial Statements and Independent Auditor’s Report




                         (59,434,479)                                           -- (59,434,479)                                --               Accrued expenses


                         (4,165,281)                                            -- (4,165,281)                                 --               Other payables
                         (520,860,774)                  (98,340,582)                 (432,520,191)                             --               Total financial liabilities
                         (100,881,345)                  (98,340,582)                 (210,685,243)             208,144,481                      Surplus or deficit

                              The sums above reflect the contracted cash flows, which may differ from the book value of the financial assets and liabilities on the reporting date.




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                                                                                                                                                                                                                                             Case 1:21-cv-05716-AMD-VMS Document 58-25 Filed 03/18/22 Page 91 of 187 PageID #:
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                            34) Risk Management Policies (Contd.)
                            34-2) Liquidity Risks (Contd.)
                               The following table shows the maturity dates of the Organization’s financial assets and liabilities as of 31 December 2014.
                                      Total                More than a year           Less than a year        Demand deposits


                                                                                                                                               Financial assets
                         171,976,114                                           --                        -- 171,976,114                        Cash and cash equivalents
                         59,511,034                                            -- 59,511,034                                  --               Trusts at offices abroad
                         65,587,569                                            -- 65,587,569                                  --               Held-for-trading investments
                         2,738,264                                             -- 2,738,264                                   --               Notes receivable
                         29,342,228                                            -- 29,342,228                                  --               Other receivables
                         296,963                                               -- 296,963                                     --               Sums owed by related parties
                         29,452,408                                            -- 39,452,408                                  --               Available-for-sale investments

                         368,904,580                                           -- 196,928,466                 171,976,114                      Total financial assets
                                                                                                                                               Financial liabilities
                                                                                                                                                                                                                                                                                 758




                         (6,556,394)                                           -- (6,556,394)                                 --               Notes payable
                         (6,643,896)                   (6,643,896)                                       --                   --               End-of-service benefit
                         (7,138,748)                                           -- (7,138,748)                                 --               Government grant trusts
                         (6,995,384)                                           -- (6,995,384)                                 --               Project trusts
                         (116,000,000)                 (103,532,600)                (12,467,400)                              --               Liabilities under an Islamic financing contract (Ijara)
                         (264,548,732)                                         -- (264,548,732)                               --               Temporary liabilities for specific purposes




Annual Report for 2014
                         (62,558,484)                                          -- (62,558,484)                                --               Accrued expenses
                         (4,714,735)                                           -- (4,714,735)                                 --               Other payables
                         (475,156,373)                 (110,176,496)                (364,979,877)                             --               Total financial liabilities
                         (106,251,793)                 (10,176,496)                 (168,051,411)             171,976,114                      Surplus or deficit

                              The sums above reflect the contracted cash flows, which may differ from the book value of the financial assets and liabilities on the reporting date.
                                                                                                                                                                                                         Financial Statements and Independent Auditor’s Report
                                                                                                                                                                                                                                            Case 1:21-cv-05716-AMD-VMS Document 58-25 Filed 03/18/22 Page 92 of 187 PageID #:
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 Title:          Senior Project Manager

 Date:           January 28, 2022




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                                   ‫التقرير المالي السنوي‬


                                                                  2014 ‫عام‬
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                        ‫الفهرس‬
                                                                  ‫• مقدمة‬

                                                  ‫• التقرير اإلداري المختصر‬

                                    ‫أهم اإلنجازات خالل عام ‪2014‬م‬
                       ‫التقارير القطاعية والتحليل الجغرافي للمشاريع‬
                              ‫الجمعية حضور متميز ومشاركات فعالة‬
                                       ‫المجاالت التنظيمية واإلدارية‬
                                 ‫االستثمارات وإدارة أصول المشاريع‬
                               ‫تدقيق المعلومات ومتابعة المعامالت‬
                                              ‫التواصل مع المتبرعين‬

                                            ‫• الملخص المالي لعام ‪2014‬م‬




                    ‫• البيانات المالية مع تقرير مراقبي الحسابات المستقلين‬

                           ‫تقرير مراقبي الحسابات المستقلين‬
                                              ‫بيان المركز المالي‬
                                              ‫بيان الدخل الشامل‬
                                          ‫بيان التدفقات النقدية‬
                                   ‫إيضاحات حول البيانات المالية‬
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    ‫مقدمة‬



                                                                                      ‫كلمة الرئيس التنفيذي‬


                                      ‫المحترمين‬         ‫		‬‫السادة األفاضل‪ /‬رئيس وأعضاء مجلس االدارة‬

                                                                         ‫السالم عليكم ورحمة الله وبركاته‪،،،‬‬



  ‫باألصالة عن نفسي وبالنيابة عن جميع العاملين بقطر الخيرية‪ ,‬يسرني أن أقدم لكم خالص الشكر واإلمتنان على‬
  ‫دعمكم وتوجيهاتكم‪ ,‬والتي كان لها أعظم األثر بعد عون الله تعالى لالرتقاء بمستوى العمل على كافة المستويات‬
  ‫التوجيهية واإلشرافية والتنفيذية ومستوى المشاريع والبرامج واألنشطة والخدمات التي تقدمها قطر الخيرية‪ ,‬ولقد‬
  ‫سواء على الصعيد المحلي أو الدولي‪ ,‬مما أدى‬
                                        ‫ً‬                                                       ‫ً‬
                                            ‫جليا في أداء الجمعية خالل عام ‪ 2014‬والنتائج التي حققتها‬ ‫ظهر هذا‬
  ‫سواء الجهات الحكومية‬
                   ‫ً‬   ‫إلى رفع مكانتها وتعزيز قدراتها وتحقيق تطلعات أعضائها‪ ,‬وكسب ثقة جميع المتعاملين معها‪,‬‬
        ‫في الدولة وخاصة وزارة العمل والشؤون االجتماعية‪ ،‬ووزارة الخارجية‪ ,‬والمتبرعين‪ ,‬والشركاء المحليين والدوليين‪.‬‬

  ‫لذا يسرنا أن نرفق لسيادتكم التقرير السنوي المختصر الخاص بأداء الجمعية وبياناتها المالية ونتائج أعمالها عن‬
                                                                     ‫السنة المالية المنتهية في ‪ 31‬ديسمبر ‪.2014‬‬

                                       ‫مشتمال على جزئيين أساسيين‪:‬‬
                                                            ‫ً‬      ‫ً‬
                                                                  ‫ومركزا‬  ‫ً‬
                                                                         ‫مختصرا‬ ‫لقد حاولنا أن يكون التقرير‬

                                                                 ‫‪ -1‬الجزء المتعلق بأداء الجمعية وإداراتها المختلفة‪.‬‬

                                                            ‫‪ -2‬الجزء المتعلق بالبيانات المالية ونتائج أعمال الجمعية‪.‬‬

  ‫أوال ثم بعزم‬
           ‫إن ما تحقق من إنجازات غير مسبوقة خالل عام ‪ 2014‬ما كان لها أن تتم لوال توفيق الله تعالى ً‬
  ‫وإرادة وجهد جميع العاملين بقطر الخيرية سواء على المستوى المحلى أو المستوى الدولي الذين نعتبرهم العنصر‬
                                                                         ‫األساسي في دعم عجلة التقدم واألزهار‪.‬‬

  ‫وفي الختام يسرني وبالنيابة عن جميع العاملين بقطر الخيرية أن نرفع أسمى آيات الشكر والتقدير إلى مقام‬
  ‫حضرة صاحب السمو الشيخ ‪ /‬تميم بن حمد بن خليفه آل ثاني أمير البالد المفدى حفظه الله‪ ,‬كما نقدم خالص‬
  ‫الشكر واالمتنان إلى سعادة السيد ‪ /‬عبدالله بن صالح الخليفي وزير العمل والشؤون االجتماعية وإلى كل العاملين‬
  ‫في وزارة العمل والشؤون االجتماعية‪ ،‬كما تثمن إدارة قطر الخيرية جميع الجهود المخلصة من الجهات الحكومية‬
  ‫لمساهمتها ومساندتها لقطر الخيرية لتحقيق أهدافها وقد كانت من أوليات هذه األهداف تحقيق رؤية دولة قطر‬
  ‫الوطنية لعام ‪ 2030‬والتي نصت في غاياتها المستهدفة «على القيام بمبادرات تنموية وإنسانية بغرض تحقيق األمن‬
                                                                                    ‫العالمي وتقديم المساعدات»‪.‬‬

  ‫كما نوجه الشكر لجميع المدراء التنفيذيين والمسؤولين العاملين والمتعاونين والمتطوعين على جهودهم‬
  ‫وعطائهم المتواصل والمخلص لتحقيق أهداف قطر الخيرية والحرص على مكتسباتها ومصالحها ورفع مكانتها وقدرتها‬
  ‫التنافسية‪ ،‬سائلين الله سبحانه وتعالى أن يبارك تلك الجهود‪ ،‬متطلعين إلى استمرار قطر الخيرية في تطوير أدائها‬
  ‫وتعزيز قدراتها لدعم منظومة التنمية االجتماعية‪ ،‬كما نسأله سبحانه وتعالى أن يكون عام ‪ 2015‬أفضل من سابقه‪.‬‬



                    ‫يوسف بن أحمد الكواري‬

                         ‫الرئيس التنفيذي‬



    ‫‪5‬‬                                                                                          ‫التقرير السنوي لعام ‪2014‬‬
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    ‫مقدمة‬



                                                                                   ‫قطر الخيرية في سطور‬

                                             ‫ً‬
                                             ‫واقعا‬      ‫ُح ً‬
                                                   ‫لما أصبح‬
                                                                                                    ‫قطر الخيرية‬
  ‫منظمة خيرية دولية غير حكومية تأسست في قطر عام ‪ 1992‬بموجب أحكام القانون الخاص بإنشاء الجمعيات‬
  ‫الخيرية والمؤسسات الخاصة لدولة قطر‪ ،‬من أجل تطوير المجتمع القطري والمجتمعات المعوزة األخرى‪ ،‬وتعمل في‬
  ‫مجاالت التنمية المستدامة ومحاربة الفقر وإغاثة المنكوبين في حاالت الطوارئ بغض النظر عن اللون أو الجنس أو‬
  ‫الدين أو العرق أو الجنسية‪ ،‬تتمتع قطر الخيرية بالعضوية االستشارية للمجلس االقتصادي واالجتماعي لألمم المتحدة‬
  ‫‪ ECOSOC‬منذ سنة ‪ ،1997‬كما نالت قطر الخيرية الصفة االستشارية لدى منظمة التعاون اإلسالمي‪ ،‬كما أن قطر‬
                                                                                 ‫ً‬
  ‫مؤسسا للشبكة العربية للمنظمات األهلية للتنمية في القاهرة منذ عام ‪ ،1999‬وعضو كذلك في‬    ‫ً‬
                                                                                        ‫عضوا‬ ‫الخيرية أيضا‬
  ‫مجموعة من شبكات ومنتديات المنظمات غير الحكومية اإلقليمية والدولية‪ ،‬وتعتبر واحدة من أكبر الهيئات الخيرية‬
                                                                                                         ‫في الخليج‪.‬‬

                                                                                                             ‫رؤيتها‬
        ‫منظمة تنموية وإنسانية رائدة تنهل من مختلف التجارب البشرية المثلى لتحقيق أقوى تأثير من أجل أبلغ أثر‪.‬‬

                                                                                                           ‫رسالتها‬
  ‫دعم قدرات الفئات االجتماعية األكثر احتياجا وفقا لمبادئ الكرامة اإلنسانية والعدالة االجتماعية‪ ،‬بالتعاون مع‬
                                                                                ‫شركاء التنمية والعمل اإلنساني‪.‬‬

                                                                                           ‫شعارها اللفظي‬

                                                         ‫ً‬
                                             ‫معا لحياة كريمة‬
                                                                                                             ‫قيمها‬
  ‫تعتبر جمعية قطر الخيرية مبدأ اإلنسانية مبدأ راسخا في عملها‪ ،‬كما أنها تحترم قيم االستقاللية‪ ،‬والحياد‪ ،‬وعدم‬
  ‫التمييز حيث تقدم الجمعية خدماتها التنموية واإلنسانية للمستفيدين على أساس الحاجة ودون االلتفات ألي اعتبارات‬
                                 ‫ً‬
  ‫وتعزيزا لهذه المبادئ اإلنسانية‪ ،‬وقعت‬ ‫عرقية أو إثنية أو دينية أو سياسية أو غيرها من االعتبارات التمييزية األخرى‪.‬‬
  ‫جمعية قطر الخيرية سنة ‪ 2009‬على مدونة السلوك ‪ Code of Conduct‬الخاصة باالتحاد الدولي لجمعيات الهالل‬
  ‫األحمر والصليب األحمر والمنظمات غير الحكومية اإلنسانية‪ ،‬كما تعمل الجمعية باستمرار على دعم قدراتها لتطبيق‬
  ‫أعلى المعايير المهنية في المجال اإلنساني كتلك المنصوص عليها في مشروع أسفير ‪ SPHERE‬على سبيل المثال‪.‬‬

                                                                               ‫تتلخص قيم قطر الخيرية في‪:‬‬

                                            ‫• االستقاللية‬                       ‫• اإلنسانية‬

                                            ‫• عدم التمييز‬                         ‫• الحيادية‬

                                                ‫• المهنية‬                       ‫• الشفافية‬

                                                ‫• االنتماء‬                        ‫• التعاون‬




    ‫‪7‬‬                                                                                          ‫التقرير السنوي لعام ‪2014‬‬
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                                                                        ‫مقدمة‬



                                                                                               ‫غرضها وأهدافها‬
                                                                                                         ‫ً‬
                              ‫وفقا لما ورد بالنظام األساسي‪ ،‬تعمل الجمعية على تحقيق األهداف واألغراض التالية‪:‬‬

                                                                ‫‪1.1‬دعم وتقديم العمل الخيري والتنموي واإلنساني‪.‬‬

                                         ‫‪2.2‬ترسيخ العمل الخيري وتدعيم قيم المواطنة وحقوق اإلنسان في المجتمع‪.‬‬

                                                    ‫‪3.3‬تقديم المساعدات المالية والعينية والمعنوية للفئات المحتاجة‪.‬‬

                               ‫‪4.4‬توفير الخدمات اإلنسانية واالجتماعية والصحية والثقافية والتعليمية لكافة المجتمعات‪.‬‬

                                                                            ‫‪5.5‬إقامة المشاريع الخيرية بكافة أنواعها‪.‬‬

                                                                                           ‫مجاالتها وأنشطتها‬
                                                                  ‫ً‬
  ‫ودوليا في مجالي التنمية والعمل اإلنساني على حد سواء‪ ،‬ففي مجال التنمية‬  ‫ً‬
                                                                        ‫محليا‬ ‫تعمل قطر الخيرية‬
  ‫تولي جمعية قطر الخيرية األولوية للتعليم‪ ،‬والصحة‪ ،‬والماء الصالح للشرب واإلصحاح‪ ،‬والتمكين االقتصادي‪ ،‬والرعاية‬
  ‫االجتماعية‪ ،‬والبنية التحية في المناطق الريفية‪ ،‬وترقية السكن االجتماعي‪ ،‬والتنمية الثقافية‪ ،‬وتحرص قطر الخيرية‬
  ‫على أن تنسجم تدخالتها التنموية مع الخطط االستراتيجية والقطاعية التنموية للدول التي تعمل فيها‪ ،‬كما تحرص‬
  ‫بنفس الدرجة على أن تنسجم هذه التدخالت أيضا مع االعتبارات التي تحكم القضايا التنموية المطروحة على‬
                                     ‫المستويات اإلقليمية والدولية كما هو الشأن مثال بالنسبة ألهداف األلفية وغيرها‪.‬‬

  ‫أما في المجال اإلنساني فتركز جمعية قطر الخيرية جهودها على التأهب واالستجابة للكوارث واألزمات من خالل‬
  ‫توفير المساعدات الغذائية وغير الغذائية‪ ،‬وتقديم خدمات المأوى‪ ،‬وتزويد المستفيدين بخدمات الماء الصالح للشرب‬
  ‫واإلصحاح‪ ،‬وتعزيز الخدمات الصحية األولية‪ ،‬ودعم جهود بناء السالم في مناطق النزاعات‪ .‬إضافة للتنمية والعمل‬
  ‫اإلنساني‪ ،‬تعنى جمعية قطر الخيرية أيضا ببناء قدرات منظمات المجتمع المدني المحلية إسهاما من الجمعية في‬
                                                         ‫تعزيز دور هذا القطاع المهم في التنمية في الدول المحتاجة‪.‬‬

                                                                     ‫ومن أهم مجاالتها وأنشطتها ما يلي‪:‬‬
                                                            ‫‪1.1‬تلقي وقبول وجمع جميع أنواع التبرعات وفق القانون‪.‬‬

                                           ‫‪2.2‬تقديم األموال واإلعانات واإلغاثات والقروض النقدية والعينية للمحتاجين‪.‬‬

  ‫‪3.3‬مساعدة الفئات المحتاجة إلخراجهم من دائرة الفقر والعوز الى دائرة االكتفاء واإلنتاجية‪ ،‬وخلق موارد رزق خاصة‬
                                                                                    ‫بهم عبر المشاريع المختلفة‪.‬‬

                                                               ‫‪4.4‬إنشاء صناديق متنوعة للمشاريع الخيرية واإلنسانية‪.‬‬

                             ‫‪5.5‬حث وإشراك جميع فئات المجتمع للتطوع واالنخراط بالعمل الخيري والتنموي واإلنساني‪.‬‬

                                  ‫‪6.6‬بناء المدارس والمراكز الصحية والمستشفيات والمساجد ومراكز التعليم المختلفة‪.‬‬

                ‫‪7.7‬إقامة الندوات والمؤتمرات وورش العمل والمحاضرات المختلفة المتعلقة بالعمل الخيري والتنموي‪.‬‬

                                  ‫‪8.8‬استثمار وإدارة أموال الجمعية لتنمية مواردها وتمويل أنشطتها الخيرية والتنموية‪.‬‬

                                                                ‫‪9.9‬إقامة المعارض واألسواق الخيرية والمشاركة فيها‪.‬‬

         ‫‪1010‬االنضمام لعضوية المنظمات العالمية الخيرية واألهلية العاملة في خدمة المجتمعات اإلنسانية وتنميتها‪.‬‬


  ‫التقرير السنوي لعام ‪2014‬‬                                                                                       ‫‪8‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-25 Filed 03/18/22 Page 104 of 187 PageID #:‬‬
                                     ‫‪770‬‬
    ‫مقدمة‬


  ‫‪1111‬التعاون مع جميع المؤسسات الخيرية واإلنسانية ومؤسسات المجتمع المدني لالرتقاء والنهوض بالعمل الخيري‬
                       ‫وتحقيق أهدافه المنشودة‪ ،‬وتأسيس شراكات مع مختلف القطاعات الخيرية والتنموية‪.‬‬

                                                                                          ‫‪1212‬كفالة األيتام‪.‬‬

                         ‫‪1313‬التشجيع على التعليم من خالل مكافحة ظاهرة األمية واالنقطاع المبكر عن التعليم‪.‬‬

  ‫‪1414‬ترسيخ العالقة مع مختلف وزارات ومؤسسات وهيئات الدولة وحثهم على تقديم الدعم المادي والمعنوي‬
                                                                              ‫للمشاريع الخيرية التنموية‪.‬‬

                                         ‫‪1515‬القيام بحمالت توعوية للمحافظة على القيم النبيلة في المجتمع‪.‬‬

                               ‫‪1616‬المساهمة في معالجة الظواهر والعادات والسلوكيات الخاطئة في المجتمع‪.‬‬


                                                                   ‫الخطة االستراتيجية لقطر الخيرية‬

                                           ‫تعمل جمعية قطر الخيرية على تحقيق الخطة االستراتيجية التالية‪:‬‬

                                                                    ‫‪1.1‬تحقيق الرعاية االجتماعية المستديمة‪.‬‬

                                                    ‫‪2.2‬تعزيز جهود التمكين االقتصادي وسبل العيش الكريم‪.‬‬

                                                              ‫ً‬
                                                     ‫تحقيقا تنموية‪.‬‬ ‫‪3.3‬دعم جهود التعليم لفائدة المجتمعات‬

                                         ‫‪4.4‬تعظيم االستفادة من التكنولوجيا في التنمية والعمل اإلنساني‪.‬‬

                                                ‫‪5.5‬اإلسهام في تحقيق الوئام االجتماعي والعيش المشترك‪.‬‬

                          ‫ً‬
                        ‫ودوليا‪.‬‬  ‫ً‬
                                ‫محليا‬ ‫‪6.6‬تعزيز دور المجتمع القطري في التفاعل مع القضايا التنموية واإلنسانية‬

                                                                           ‫‪7.7‬بناء قدرات الشركاء المحليين‪.‬‬

                                          ‫‪8.8‬تعزيز البناء المؤسسي لقطر الخيرية كمنظمة غير حكومية دولية‪.‬‬


                                                                       ‫األهداف العامة لقطر الخيرية‬

                          ‫تحقيقا للخطة االستراتيجية‪ ،‬تسعى قطر الخيرية إلى تحقيق األهداف العامة التالية‪:‬‬

  ‫‪1.1‬تطوير شبكات أمان اجتماعي مستديمة تلبي بشكل فعال االحتياجات األساسية للفئات االجتماعية األكثر‬
                                         ‫هشاشة في مجاالت الصحة‪ ،‬والتعليم‪ ،‬والرعاية االجتماعية وغيرها‪.‬‬

  ‫‪2.2‬تعزيز جهود التمكين االقتصادي وتحسين سبل العيش الكريم الموجهة للفقراء القادرين من خالل الخدمات‬
                                                                                    ‫المالية وغير المالية‪.‬‬

  ‫‪3.3‬تمكين أبناء األسر الفقيرة في المناطق المحرومة من حقهم في االستفادة من خدمات تعليم ذي جودة عالية‪.‬‬

  ‫‪4.4‬تعزيز قدرة المجتمعات المحلية على االستفادة القصوى من التكنولوجيات المالئمة بما يسهم في تحسين جودة‬
                                    ‫حياتهم ويقلص من الفجوة التكنولوجية بين مجتمعات الشمال والجنوب‪.‬‬

  ‫‪5.5‬دعم جهود بناء السالم‪ ،‬وتحقيق الوئام االجتماعي‪ ،‬وغرس ثقافة العيش المشترك كأسس ضرورية لتحقيق‬


    ‫‪9‬‬                                                                                   ‫التقرير السنوي لعام ‪2014‬‬
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                                     ‫‪771‬‬
                                                                        ‫مقدمة‬


                                         ‫التنمية والرخاء في المجتمعات التي تعمل معها ولفائدتها قطر الخيرية‪.‬‬

  ‫‪6.6‬بناء قدرات منظمات المجتمع المدني المحلية‪ ،‬ودعمها ألداء األدوار المنوطة بها في المجتمع بفعالية بما فيها‬
                                                                                 ‫أدوار تعزيز الوئام االجتماعي‪.‬‬

  ‫‪7.7‬تقديم المساعدة اإلنسانية للمجتمعات المتضررة من الكوارث واألزمات ومساعدتها على الوقاية منها‪ ،‬والتأهب‬
                                                                                     ‫لها‪ ،‬والتعافي من آثارها‪.‬‬

                             ‫‪8.8‬تعزيز ثقافة العمل الخيري في المجتمع القطري وربطها بالقضايا التنموية واإلنسانية‪.‬‬

                                 ‫‪9.9‬االستجابة لالحتياجات االجتماعية والثقافية ذات األولوية لفائدة المجتمع القطري‪.‬‬

        ‫‪1010‬استكمال بناء قدرات قطر الخيرية واالنتهاء من إعداد مختلف األنظمة‪ ،‬والسياسات‪ ،‬واإلجراءات‪ ،‬واألدوات‪.‬‬




  ‫التقرير السنوي لعام ‪2014‬‬                                                                                       ‫‪10‬‬
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                                     ‫‪772‬‬
    ‫التقرير اإلداري المختصر‬




          ‫التقرير اإلداري‬
                ‫المختصر‬

   ‫حصاد قطر الخيرية لعام‬
                  ‫‪2014‬م‬




   ‫‪11‬‬                                                             ‫التقرير السنوي لعام ‪2014‬‬
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                                     ‫‪773‬‬
                                                           ‫التقرير اإلداري المختصر‬




  ‫التقرير السنوي لعام ‪2014‬‬                                                   ‫‪12‬‬
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                                     ‫‪774‬‬
    ‫التقرير اإلداري المختصر‬



                                   ‫أهم اإلنجازات خالل عام ‪2014‬م‪.‬‬

                                                                               ‫اإلنجازات النوعية والفنية‪:‬‬

  ‫‪1.1‬حصلت قطر الخيرية على جائزة التميز في مجال رعاية األيتام بدول مجلس التعاون الخليجي (كافل) لعام ‪2014‬م‪.‬‬

  ‫‪2.2‬احتلت قطر الخيرية المركز األول عالميا على مستوى المنظمات اإلنسانية غير الحكومية في مجال إغاثة الشعب‬
  ‫السوري‪ ،‬وذلك وفق التقرير الصادر في عام ‪2014‬م‪ ،‬بحسب تقرير صادر عن مكتب تنسيق الشؤون اإلنسانية‬
                                                                             ‫التابع لألمم المتحدة «أوتشا»‪.‬‬

  ‫مكفوال في ‪ 34‬دولة على مستوى العالم بزيادة قدرها ‪ % 22‬عن عام ‪2013‬‬
                                                             ‫ً‬     ‫‪3.3‬زاد عدد المكفولين إلى ‪76093‬‬
  ‫مكفوال‪ ،‬وقد أنفقت قطر الخيرية على برنامج كفالة األيتام خالل سنة‬
                                                            ‫ً‬     ‫والتي كان عدد المكفولين خاللها ‪62416‬‬
  ‫‪ 2014‬ما قيمته ‪ 152.929.640‬ر‪.‬ق‪ .‬وتسهم كفالة األيتام في تحسين ظروف عيش األطفال المكفولين من‬
               ‫خالل تمكينهم من حقوقهم األساسية في التغذية والكساء‪ ،‬والتعليم‪ ،‬والعالج‪ ،‬والمأوى الالئق‪.‬‬

  ‫‪4.4‬زيادة االنتشار في أنحاء الدولة على كافة المستويات (فروع‪ ،‬مواقع‪ ،‬معارض‪ ،‬أسواق‪ ،‬صناديق نقاط بيع‪ ،‬حاويات‪)...‬‬
  ‫والوصول لشرائح أكبر بالمجتمع القطري‪ ،‬حيث بلغت عدد فروع التحصيل ‪ 20‬فرع رجال نساء وعدد مواقع التحصيل‬
                   ‫ً‬
  ‫‪1.280‬صندوقا منتشرة في جميع‬    ‫‪ 61‬موقع‪ ،‬وعدد نقاط تصريف التبرعات العينية ‪ 6‬نقاط‪ ،‬وعدد صناديق التحصيل‬
                                                                                                ‫أنحاء البالد‪.‬‬

  ‫‪5.5‬تحقيق رقم قياسي غير مسبوق‪ ،‬حيث تم تسجيل رقم قياسي عالمي باسم قطر الخيرية ألكبر كمية تبرعات‬
                 ‫عينية تم تجميعها في خالل زمن محدد‪ ،‬حيث تم تجميع أكثر من ‪30‬طن مالبس خالل ‪ 24‬ساعة‪.‬‬

                          ‫ً‬
  ‫مشروعا‪ ،‬بلغت قيمتها اإلجمالية‬ ‫‪6.6‬في مجال اإلغاثة بلغت عدد المشاريع اإلغاثية المنفذة خالل عام ‪ 2014‬عدد ‪133‬‬
  ‫‪ 119‬مليون ريال قطري‪ ،‬استفاد منها حوالي ‪ 2‚25‬مليون شخص في ‪ 16‬دولة وبمشاركة ‪ 31‬منظمة إنسانية‬
                                                                                     ‫وستة مكاتب ميدانية‪.‬‬

  ‫‪7.7‬في مجال المساعدات المحلية داخل الدولة تم توزيع مساعدات بلغت قيمتها‪ 23.760.822‬ريال قطري بزيادة‬
  ‫نسبتها ‪ 35%‬عن عام ‪ 2013‬حيث كانت ‪ 17‚6‬مليون ريال‪ ،‬وقد استفاد منها ‪ 802‬فرد وبلغت نسبة المساعدات‬
  ‫للقطريين ذكورا واناثا ‪ % 63‬من إجمالي قيمة المساعدات‪ ،‬كما بلغت عدد الجنسيات التي استفادت من هذه‬
  ‫المساعدات ‪ 32‬جنسية‪ ،‬وتنوعت الفئات المستفيدة من المساعدات بين األرامل واأليتام والمطلقات والغارمين‬
                                    ‫والمرضى والعجزة والمسنين وذوي االحتياجات الخاصة والسجناء وغيرهم‪.‬‬

   ‫ً‬
  ‫بلدا‬ ‫‪8.8‬في المجال الخارجي (الدولي) توزعت برامج ومشاريع وأنشطة قطر الخيرية خالل سنة ‪ 2014‬فشملت ‪72‬‬
                                                        ‫في كل من إفريقيا وآسيا‪ ،‬وأوربا‪ ،‬وأمريكا‪ ،‬وأستراليا‪.‬‬

  ‫‪9.9‬تم فتح مكتب تنسيقي جديد في تركيا لخدمة الالجئين السوريين‪ ،‬وجاري تأسيس مكتبين جديدين في كل من‬
                                                                                             ‫األردن وتشاد‪.‬‬

  ‫‪1010‬بلغ إجمالي المشروعات والبرامج واألنشطة التي نفذتها قطر الخيرية خارج دولة قطر خالل سنة ‪ 2014‬حوالي‬
  ‫‪ 619.211.685‬ر‪.‬ق بزيادة قدرها ‪ 44%‬مقارنة بالسنة الماضية (‪ 428.810.003‬ر‪.‬ق)‪ ،‬وقد شملت هذه المشروعات‬
  ‫‪ 72‬دولة‪ ،‬وغطت قطاعات تنموية وإنسانية مختلفة في التعليم‪ ،‬والصحة‪ ،‬والمياه واإلصحاح‪ ،‬والرعاية االجتماعية‪،‬‬
                                                ‫والتنمية الثقافية‪ ،‬والتمكين االقتصادي‪ ،‬والسكن االجتماعي‪.‬‬

         ‫ً‬
  ‫مشروعا بقيمة‬                                                  ‫ً‬
               ‫عددا من المشروعات في الدول االوربية والغربية بلغت ‪81‬‬ ‫‪1111‬نفذت قطر الخيرية خالل عام ‪2014‬‬
  ‫‪ 91.428.667‬ر‪.‬ق بزيادة نسبتها ‪ 21%‬عن عام ‪2013‬م والتي كانت ‪ 75.401.102‬ر‪.‬ق‪ ،‬وتتنوع هذه المشاريع بين‬
                                               ‫مراكز اسالمية ومراكز ثقافية ومساجد ومراكز تعليمية وغيرها‪.‬‬

   ‫‪13‬‬                                                                                      ‫التقرير السنوي لعام ‪2014‬‬
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                                     ‫‪775‬‬
                                                           ‫التقرير اإلداري المختصر‬


  ‫‪1212‬تم خالل عام ‪ 2014‬توقيع أكثر من ‪ 10‬شراكات استراتيجية دولية ومحلية بخالف الشراكات القائمة‪ ،‬وتجاوزت قيمة‬
  ‫هذه الشراكات ‪ 75‬مليون ريال قطري‪ ،‬وكان من أهم الشراكات التي عقدتها الجمعية مع؛ صندوق قطر للتنمية‪،‬‬
  ‫ومؤسسة حقوق اإلنسان والحريات واإلغاثة اإلنسانية ‪ /‬تركيا (‪ ،)IHH‬وجمعية الهالل األحمر القطري‪ ،‬ومؤسسة‬
  ‫صلتك‪ ،‬مؤسسة التعليم فوق الجميع‪ ،‬والمنظمة اإلسالمية للتربية والعلوم والثقافة (األيسيسكو)‪ ،‬والهيئة‬
   ‫الطبية الدولية ‪ ،IMC‬ومنظمة التغذية والزراعة‪ ،‬وصندوق األمم المتحدة للطفولة‪ ،‬والبنك اإلسالمي للتنمية‪.‬‬

                                                                              ‫اإلنجازات اإلدارية الداخلية‪:‬‬

  ‫‪1.1‬زيادة نمو اإليرادات من التبرعات خالل عام ‪ 2014‬بنسبة نمو قدرها ‪ % 43‬بالمقارنة بعام ‪ ،2013‬حيث بلغت في‬
              ‫عام ‪ 2014‬مبلغ ‪ 920‬مليون ريال قطري في حين بلغت في عام ‪ 2013‬مبلغ ‪ 645‬مليون ريال قطري‪.‬‬

  ‫‪2.2‬زيادة نمو المدفوعات على المشاريع والكفاالت بنسبة نمو قدرها ‪ 51%‬بالمقارنة بعام ‪ ،2013‬حيث بلغت في‬
              ‫عام ‪ 2014‬مبلغ ‪ 799‬مليون ريال قطري في حين بلغت في عام ‪ 2013‬مبلغ ‪ 529‬مليون ريال قطري‪.‬‬

  ‫‪3.3‬بلغت نسبة المصروفات اإلدارية إلجمالي المقبوضات في عام ‪ 2014‬نسبة ‪ ،4%‚59‬بينما كانت نسبة المصروفات‬
  ‫اإلدارية ألجمالي المقبوضات في عام ‪ 2013‬نسبة ‪ % 5.3‬بينما الزيادة في المصروفات اإلدارية من عام ‪2013‬‬
  ‫الى عام ‪ 2014‬بلغت ‪ 24%‬وذلك ناتج عن التوسع في إدارتي التسويق والتحصيل والمنافذ ولرفع مستوى أداء‬
                                                ‫إدارة التبرعات المستلمة وتنفيذ المشروعات بكفاءة وفعالية‪.‬‬

  ‫‪4.4‬زيادة حجم األصول العقارية والمالية بمعدل نمو في قيمة األصول بنسبة ‪ 21%‬عن عام ‪ ،2013‬حيث بلغت قيمة‬
                                                                ‫األصول ‪ 762,929,352‬ر‪.‬ق في عام ‪2014‬م‪.‬‬

  ‫‪5.5‬زيادة حجم إيرادات االستثمارات بنسبة ‪ 13%‬في عام ‪2014‬م عن عام ‪2013‬م‪ ،‬حيث بلغت ‪ 55،552،374‬ريال‬
                                                                                   ‫قطري في عام ‪2014‬م‪.‬‬

  ‫‪6.6‬انخفاض قيمة المصاريف العامة والتشغيلية الخاصة باالستثمارات بنسبة ‪ %-7‬عن عام ‪2013‬م‪ ،‬حيث بلغت‬
                                                                 ‫‪ 13،887،320‬ريال قطري في عام ‪2014‬م‪.‬‬

  ‫‪7.7‬نمو التبرعات النقدية المحصلة من فروع ومنافذ التحصيل المنتشرة بالدولة في عام ‪ 2014‬بنسبة ‪ 49%‬عن عام‬
                                  ‫‪ ،2013‬كما نمت التبرعات العينية في عام ‪ 2014‬بنسبة ‪ 15%‬عن عام ‪.2013‬‬

  ‫‪8.8‬تدريب وتأهيل ورفع كفاءة الموظفين من خالل برامج التدريب المستمرة داخليا وخارجيا خالل عام ‪ ،2014‬حيث‬
  ‫بلغ عدد المستفيدين ما يزيد عن ‪ 300‬موظف من خالل العديد من البرامج التدريبية المتنوعة في العديد من‬
                                                                                     ‫المجاالت والتخصصات‪.‬‬

  ‫‪9.9‬االستعانة بالعديد من الكوادر الكفؤة من القطريين‪ ،‬حيث بلغ عدد الموظفين القطريين بنهاية عام ‪)53( 2014‬‬
               ‫ً‬
             ‫موظفا‪.‬‬                                                                             ‫ً‬
                       ‫موظفا بزيادة قدرها ‪ 20%‬بالمقارنة بعام ‪ 2013‬حيث كان عدد الموظفين القطريين (‪)44‬‬

  ‫‪1010‬اصدار العديد من اللوائح والسياسات واألدلة التنظيمية الخاصة بالجمعية والمكاتب الميدانية التابعة لها‪ ،‬بهدف‬
  ‫تنظيم العمل وتطويره ومواكبته للمعايير الدولية ووفق معايير الجودة والنظم اإلدارية الحديثة‪ ،‬حيث تم إصدار‬
                                                                                                ‫ً‬
                         ‫إصدارا للوائح وسياسات وأدلة عمل منها ‪ 42‬للمقر الرئيس و‪ 32‬للمكاتب الميدانية‪.‬‬ ‫‪74‬‬

  ‫‪1111‬البدء في اعادة الهيكلة لجميع إدارات الجمعية بما يواكب التطور الكبير التي تشهده قطر الخيرية سواء على‬
                                                                              ‫المستوى المحلي أو الخارجي‪.‬‬

                               ‫‪1212‬إعادة الهيكلة لجميع المكاتب الميدانية التابعة لقطر الخيرية على مستوى العالم‪.‬‬

  ‫‪1313‬بلغ إجمالي المشروعات والبرامج واألنشطة التي نفذتها قطر الخيرية داخل دولة قطر خالل سنة ‪ 2014‬حوالي‬


  ‫التقرير السنوي لعام ‪2014‬‬                                                                                 ‫‪14‬‬
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                                     ‫‪776‬‬
    ‫التقرير اإلداري المختصر‬


  ‫‪ 68.249.011‬ريال قطري بزيادة قدرها ‪ 40%‬مقارنة بالسنة الماضية (‪ 48.692.022‬ريال قطري)‪ ،‬وقد غطت‬
  ‫قطاعات تنموية وإنسانية مختلفة في التعليم‪ ،‬والصحة‪ ،‬والمياه واإلصحاح‪ ،‬والرعاية االجتماعية‪ ،‬والتنمية الثقافية‪.‬‬


                                                     ‫نمو متواصل‬
                                                                                                ‫نمو التبرعات‪:‬‬


                                                                                           ‫‪920,600,757‬‬

                                       ‫‪581,794,068‬‬                ‫‪645,531,012‬‬
             ‫‪350,083,373‬‬


               ‫‪2011‬‬                      ‫‪2012‬‬                       ‫‪2013‬‬                     ‫‪2014‬‬



                                                                                                ‫نمو الكفاالت‪:‬‬

                ‫‪152,909,640‬‬                              ‫‪34‬‬                             ‫‪76093‬‬
                ‫‪127,582,366‬‬                              ‫‪34‬‬
                ‫‪109,295,196‬‬                              ‫‪34‬‬                             ‫‪57199‬‬
                                                         ‫‪32‬‬
                                                        ‫‪Js‬‬

                                         ‫‪2011 ■ 2012 ■ 2013 ■ 2014‬‬



                                                                                       ‫نمو مبالغ الشراكات‪:‬‬


                                                                                            ‫‪75,535,000‬‬
                                                                  ‫‪66,614,077‬‬



                                        ‫‪29,608,610‬‬


               ‫‪2011‬‬                      ‫‪2012‬‬                       ‫‪2013‬‬                      ‫‪2014‬‬



                                                                    ‫نمو عدد المكاتب الميدانية الخارجية‪:‬‬


                                           ‫‪17‬‬                         ‫‪18‬‬                        ‫‪19‬‬
                 ‫‪14‬‬


               ‫‪2011‬‬                      ‫‪2012‬‬                       ‫‪2013‬‬                      ‫‪2014‬‬




   ‫‪15‬‬                                                                                        ‫التقرير السنوي لعام ‪2014‬‬
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                                     ‫‪777‬‬
                                                           ‫التقرير اإلداري المختصر‬



                                               ‫تطور مستمر‬

                                                                                       ‫‪ -1‬الموارد البشرية‪:‬‬

  ‫فالعنصر البشري هو الدعامة الحقيقة التي تستند إليها‬
                                             ‫ُ‬       ‫إن العنصر البشري يعد من أهم ركائز قطر الخيرية‪،‬‬
  ‫األنظمة الحديثة واإلدارة الحقيقة لتحقيق أهدافها‪ ،‬لذا أصبحت مهمة ادارة الموارد البشرية هي استقطاب العناصر‬
   ‫ً‬
  ‫طبقا‬ ‫البشرية المتميزة والعمل على تنمية هذه العناصر عن طريق التدريب المستمر لخلق كوادر فنية وإدارية‬
  ‫للمستويات العالمية من خالل مناخ عمل ومزايا منافسة بما يتناسب مع استراتيجية قطر الخيرية‪ ،‬لذا حرصنا خالل عام‬
                                                                                             ‫‪ 2014‬على ما يلي‪:‬‬

                                                    ‫•رفع كفاءة الموظفين من خالل برامج التدريب المستمرة‪.‬‬

  ‫•االستعانة بالعديد من الكوادر الكفؤة من القطريين وجذب أكبر عدد من المتميزين في شتى المجاالت‬
  ‫وتسكينهم في اإلدارة العليا واإلدارة الوسطى كمرحلة أولى في إطار أعادة هيكلة الجمعية‪ ،‬حيث بلغ عدد‬
                                                    ‫ً‬
  ‫موظفا بزيادة قدرها ‪ 20%‬بالمقارنة بعام ‪ 2013‬حيث كان عدد‬ ‫الموظفين القطريين بنهاية عام ‪)53( 2014‬‬
                                                                              ‫ً‬
                                                                            ‫موظفا‪.‬‬ ‫الموظفين القطريين (‪)44‬‬




                                                                                       ‫‪210‬‬
                                                       ‫‪193‬‬
                             ‫‪186‬‬


                                                                                       ‫‪422‬‬
                                                       ‫‪351‬‬
                             ‫‪311‬‬


                              ‫‪I--‬‬                                                       ‫‪53‬‬
                             ‫‪2012‬‬                    ‫‪2013‬‬                             ‫‪2014‬‬
                                         ‫ﻣﻜﺎﺗﺐ ﺧﺎﺭﺟﻴﺔ • ﻣﻘﻴﻤﻮﻥ • ﻗﻄﺮﻳﻮﻥ •‬


  ‫•زيادة عدد الموظفين بالمقر الرئيسي والمكاتب الخارجية لتواكب التطور المستمر واالنتشار المطلوب وفق‬
  ‫الخطة االستراتيجية لقطر الخيرية وكذلك لتحقيق األهداف المنشودة حيث بلغ اجمالي عدد الموظفين ‪685‬‬
                                                               ‫بزيادة تقدر بنسبة قرابة ‪ 16%‬عن العام السابق‪.‬‬

  ‫•تم إدخال تعديالت على الئحة الموارد البشرية والتي تهدف إلى استمرار وتطوير وتعزيز بيئة العمل المناسبة‬
  ‫التي تساعد على تحفيز الموظفين وتحسين ورفع كفاءة اإلنتاجية‪ ،‬وتفتح المجال للمزيد من اإلبداع‪ ،‬واستمرت‬
  ‫قطر الخيرية في إيالء توطين الوظائف العناية واالهتمام كتوجه وطني استراتيجي‪ ،‬وإيجاد قوى عاملة وطنية‬
                                                         ‫مؤهلة ومدربة على درجة عالية من الكفاءة والفعالية‪.‬‬

  ‫•كما تم إصدار مجموعة من اللوائح والسياسات الخاصة بالموارد البشرية احد عشر اصدار منها للمقر الرئيسي و‬
                                                          ‫اثنا عشر للمكاتب الميدانية ضمن خطة عام ‪2014‬م‪.‬‬




  ‫التقرير السنوي لعام ‪2014‬‬                                                                                    ‫‪16‬‬
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                                     ‫‪778‬‬
    ‫التقرير اإلداري المختصر‬



                                                              ‫‪ -2‬النظم والسياسات المالية واإلدارية‪:‬‬

  ‫‪1.1‬تطوير وإعداد اللوائح والسياسات المالية واإلدارية ونظم الرقابة الداخلية وتطبيقها على كل القطاعات في قطر‬
  ‫الخيرية وتم ذلك من خالل لجنة دراسة وتطوير النظم المالية التي قد أنهت واعتمدت حتى ‪ 31‬ديسمبر ‪2014‬‬
                                                           ‫ً‬
                                     ‫إصدارا موضحة بالجدول أدناه‪.‬‬ ‫وأصدر اللوائح والسياسات بلغت ‪42‬‬

  ‫‪2.2‬تطوير وإعداد السياسات المالية واإلدارية ونظم الرقابة الداخلية وتطبيقها للمكاتب الميدانية التابعة لقطر‬
                   ‫ً‬
  ‫إصدارا موضحة بالجدول‬   ‫الخيرية وقد تم االنتهاء حتى ‪ 31‬ديسمبر ‪ 2014‬وأصدر اللوائح والسياسات بلغت ‪32‬‬
                                                                                                        ‫أدناه‪.‬‬

  ‫‪3.3‬وضع الخطط واالستراتيجيات ونظم التطوير لإلدارة المالية على مستوى المركز الرئيسي ومستوى المكاتب‬
  ‫الميدانية وذلك باالستعانة بالكفاءات الموجودة في الجمعية وتطوير نظم التحصيل لتصبح نظم الكترونية‬
                                                                  ‫باالستعانة باإلدارات المتخصصة في ذلك‪.‬‬

                               ‫‪4.4‬وضع الضوابط الخاصة بتفعيل دور الرقابة الداخلية والحفاظ على أموال الجمعية‪.‬‬

                          ‫‪5.5‬تفعيل دور إدارة الخدمات العامة لتكون جميع عمليات المشتريات وفق ضوابط ورقابة‪.‬‬

  ‫‪6.6‬التأمين على جميع أصول الجمعية من مباني وسيارات والخزن والمحصلين وجارى كذلك التأمين على جميع‬
                                    ‫الصناديق الثابتة في المواقع في شركات اسالمية بنظام التكافل التعاوني‪.‬‬

                        ‫‪7.7‬تفعيل دور التواصل واالتصال بين إدارات الجمعية بشكل يضمن تحسين مستوى األداء‪.‬‬

  ‫‪8.8‬التقييم الدوري لمستوى األداء سواء للجمعية أو المكاتب المحلية والميدانية ومحاولة تحسينه بصورة تنعكس‬
                                                                                   ‫على أداء الجمعية ككل‪.‬‬

               ‫‪9.9‬ترشيد اإلنفاق بشكل يسمح لتناسب حجم التبرعات التي تتم مع المصروفات التشغيلية واإلدارية‪.‬‬

                    ‫اللوائح والسياسات وأدلة وأنظمة العمل للمقر الرئيس والمكاتب الميدانية‬

        ‫اإلجمالي‬        ‫المكاتب الميدانية‬      ‫المقر الرئيس‬                   ‫األعمال‬                       ‫م‬

           ‫‪4‬‬                   ‫‪0‬‬                     ‫‪4‬‬                               ‫الهوية والخطط‬          ‫‪1‬‬

           ‫‪5‬‬                   ‫‪3‬‬                     ‫‪2‬‬                      ‫الهيكل والبناء التنظيمي‬         ‫‪2‬‬

          ‫‪18‬‬                   ‫‪8‬‬                    ‫‪10‬‬                                       ‫المالية‬        ‫‪3‬‬

           ‫‪6‬‬                   ‫‪2‬‬                     ‫‪4‬‬                                       ‫الرقابة‬        ‫‪4‬‬

          ‫‪25‬‬                   ‫‪12‬‬                   ‫‪13‬‬                              ‫الموارد البشرية‬         ‫‪5‬‬

          ‫‪12‬‬                   ‫‪5‬‬                     ‫‪7‬‬                                       ‫اإلدارية‬       ‫‪6‬‬

           ‫‪2‬‬                   ‫‪1‬‬                     ‫‪1‬‬                            ‫النظم اإللكترونية‬         ‫‪7‬‬

           ‫‪2‬‬                   ‫‪1‬‬                     ‫‪1‬‬                ‫أنظمة اإلدارة الدولية المعتمدة‬        ‫‪8‬‬

          ‫‪74‬‬                   ‫‪32‬‬                   ‫‪42‬‬                                               ‫اإلجمالي‬




   ‫‪17‬‬                                                                                     ‫التقرير السنوي لعام ‪2014‬‬
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                                                           ‫التقرير اإلداري المختصر‬


                                  ‫اللوائح والسياسات وأدلة وأنظمة العمل المصدرة لقطر الخيرية‬


                                                                                ‫‪25‬‬



                                                   ‫‪18‬‬




                                                                ‫‪6‬‬


           ‫ﺍﻟﻬﻮﻳﺔ ﺍﻟﺨﻄﻂ‬      ‫ﺍﻟﻬﻴﻜﻞ ﻭﺍﻟﺒﻨﺎﺀ‬       ‫ﺍﻟﻤﺎﻟﻴﺔ‬     ‫ﺍﻟﺮﻗﺎﺑﺔ‬     ‫ﺍﻟﻤﻮﺍﺭﺩ ﺍﻟﺒﺸﺮﻳﺔ‬    ‫ﺍﻹﺩﺍﺭﻳﺔ‬    ‫ﺍﻟﻨﻈﻢ ﺍﻹﻟﻜﺘﺮﻭﻧﻴﺔ‬    ‫ﺃﻧﻈﻤﺔ ﺍﻹﺩﺍﺭﺓ‬
                               ‫ﺍﻟﺘﻨﻈﻴﻤﻲ‬                                                                                    ‫ﺍﻟﺪﻭﻟﻴﺔ ﺍﻟﻤﻌﺘﻤﺪﺓ‬


                          ‫اللوائح والسياسات وأنظمة وأدلة العمل للمقر الرئيس والمكاتب الميدانية‬




                                                                         ‫‪42‬‬



                                                                                                  ‫ﺍﻟﻤﻘﺮ ﺍﻟﺮﺋﻴﺲ ■‬     ‫ﺍﻟﻤﻜﺎﺗﺐ ﺍﻟﻤﻴﺪﺍﻧﻴﺔ ■‬


                                                                                                                   ‫‪ -3‬تنمية الموارد‪:‬‬
                                                                    ‫ً‬
  ‫شديدا بعملية التحصيل والتسويق والذي يعتبر األداة الرئيسية لجذب الموارد‬ ‫لقد اهتمت قطر الخيرية اهتماما‬
                                              ‫للجمعية لذلك تم العمل على أكثر من صعيد في هذا الشأن وتمثل ذلك فيما يلي‪:‬‬

                             ‫‪1.1‬جذب كبار المحسنين والمتبرعين ورجال األعمال في الدولة والتواصل معهم بشكل مباشر‪.‬‬

                                                                        ‫‪2.2‬تعزيز ثقة الجهات الحكومة في العمل مع قطر الخيرية‪.‬‬

  ‫‪3.3‬زيادة اإلنتشار في أنحاء الدولة على كافة المستويات (فروع‪ ،‬مواقع‪ ،‬صناديق‪ ،‬حاويات‪ ،‬معارض‪ ،‬أسواق‪ ،‬نقاط بيع)‬
                                                                    ‫والوصول لشرائح أكبر بالمجتمع القطري‪ ،‬وذلك من خالل‪:‬‬

  ‫•زيادة فروع التحصيل للجمعية حيث بلغت بنهاية عام ‪ 2014‬عدد (‪ )20‬فرع تحصيل‪ ،‬و (‪ )61‬مواقع نقاط تحصيل‬
                                                                                ‫على مستوى الدولة‪ ،‬بإجمالي (‪ )81‬منفذ‪.‬‬

                                                     ‫ً‬
                                                   ‫صندوقا‪.‬‬ ‫•بلغ عدد صناديق التحصيل الثابتة في عام ‪ 2014‬عدد (‪)1280‬‬

  ‫•بلغت عدد نقاط تصريف التبرعات العينية ‪ 6‬نقاط عدد المخازن ‪ 2‬مخزن عدد ‪ 1‬خيمة للسوق خيري شهري‪،‬‬
                                                                                      ‫مزادات خيرية للتبرعات العينية القيمة‪.‬‬

                                                              ‫•االنتشار والوصول إلى ‪ 142‬حاوية لجمع التبرعات العينية‪.‬‬


  ‫التقرير السنوي لعام ‪2014‬‬                                                                                                                 ‫‪18‬‬
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                                     ‫‪780‬‬
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                                                                             ‫•تصنيع عدد ‪ 50‬ألف حصالة جديدة‪.‬‬

                                                                          ‫•تصنيع عدد ‪ 500‬صندوق تحصيل جديد‪.‬‬

  ‫‪4.4‬تدشين التحصيل اإللكتروني على ماكينات الكوبون اآللي والتحصيل عن طريق االنترنت‪ ،‬وعن طريق الرسائل‬
                                                                                                         ‫القصيرة‪.‬‬

  ‫‪5.5‬وضع آليات جديدة لجذب موارد الزكاة‪ ،‬قد تم وضع خطط تسويقية وتعزيز العالقات مع كبرى الشركات والمحسنين‪.‬‬

  ‫‪ -6.6‬عقد شراكات قوية وفعالة مع مؤسسات معتبرة بالمجتمع القطري‪ ،‬واستقطاب شخصيات هامة للمساهمة‬
        ‫المالية في مشاريع قطر الخيرية واجتذاب الشباب للمساهمة بالعمل التطوعي بأنشطة وحمالت الجمعية‪.‬‬


                               ‫اﻟﺘﻘﺎرﻳﺮ اﻟﻘﻄﺎﻋﻴﺔ واﻟﺘﺤﻠﻴﻞ اﻟﺠﻐﺮاﻓﻲ للمشاريع‬

                                 ‫أوال‪ :‬المناطق الجغرافية والدول التي تركز الجمعية أنشطتها فيها‬
                                                                                           ‫ً‬
                                                                     ‫االنتشار الجغرافي لعمل قطر الخيرية‬
                                           ‫تضم قائمة الدول التي عملت بها قطر الخيرية خالل سنة ‪ 2014‬ما يلي‪:‬‬

        ‫أوربا وأمريكا‬             ‫أسيا‬               ‫الدول العربية‬                        ‫أفريقيا‬
                                                           ‫فلسطين‬
                    ‫ألبانيا‬          ‫إندونيسيا‬                                      ‫السنغال‬                      ‫مالي‬
                                                      ‫(رام الله ‪ +‬غزة)‬
                ‫كوسوفا‬                ‫باكستان‬                    ‫اليمن‬                 ‫تشاد‬                      ‫النيجر‬
                ‫البوسنة‬              ‫بنغالدش‬                 ‫السودان‬                   ‫جامبيا‬          ‫بوركينا فاسو‬
                  ‫جورجيا‬                   ‫الهند‬             ‫موريتانيا‬                 ‫تنزانيا‬                    ‫بنين‬
                     ‫تركيا‬            ‫سريالنكا‬                ‫المغرب‬                    ‫غينيا‬                     ‫توغو‬
                  ‫إسبانيا‬                ‫ميانمار‬               ‫تونس‬          ‫أفريقيا الوسطى‬                         ‫غانا‬
                  ‫إيطاليا‬                ‫قرغيزيا‬                 ‫األردن‬              ‫الكونغو‬                    ‫نيجيريا‬
                  ‫فرنسا‬                     ‫إيران‬                 ‫لبنان‬              ‫بروندي‬                     ‫أثيوبيا‬
                    ‫ألمانيا‬              ‫الفلبين‬                 ‫العراق‬         ‫جنوب أفريقيا‬                    ‫اريتيريا‬
                 ‫بريطانيا‬                   ‫نيبال‬            ‫الصومال‬                   ‫رواندا‬                     ‫كينيا‬
                    ‫بلجيكا‬                 ‫الصين‬            ‫جزر القمر‬                ‫ماالوي‬                       ‫توجو‬
              ‫لكسمبورغ‬                   ‫كشمير‬                                    ‫ساحل العاج‬                     ‫نامبيا‬
                ‫سويسرا‬           ‫تيمور الشرقية‬                                     ‫سيراليون‬                     ‫ليستو‬
                        ‫كندا‬                                                          ‫ليبيريا‬                 ‫جيبوتي‬
                 ‫هوالندا‬                                                            ‫بتسوانيا‬                   ‫أفريقيا‬
                ‫السويد‬
                 ‫استراليا‬
        ‫المملكة المتحدة‬
          ‫‪ 18‬دولة‬                ‫‪ 13‬دولة‬               ‫‪ 11‬دولة‬                           ‫‪ 30‬دولة‬


   ‫‪19‬‬                                                                                            ‫التقرير السنوي لعام ‪2014‬‬
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                                                           ‫التقرير اإلداري المختصر‬


  ‫•كما حرصت قطر الخيرية على التوسع في المكاتب الميدانية حيث قامت الجمعية في عام ‪ 2014‬بفتح مكتب‬
  ‫تنسيقة في تركيا وذلك لتعزيز قدرة الجمعية على تقديم خدماتها للدول التي تحتاج الى مساعدات ولتعزيز دور‬
                                                                                        ‫التنمية في المجتمع‪.‬‬

  ‫•كما قامت قطر الخيرية بفتح آفاق جديدة لنشر الدين اإلسالمي من خالل بناء المراكز اإلسالمية في الدول‬
  ‫األوربية (إيطالياـ أسبانيا سويسرا ألمانيا فرنسا كندا النرويج بولندا أيرلندا لوكسمبورغ السويد بلجيكا هولندا)‬
                        ‫حيث قامت خالل عام ‪ 2014‬بالصرف على هذه المشروعات بما يقارب‪ 91‬مليون ريال قطري‪.‬‬


                                                                                            ‫ً‬
                                                   ‫ثانيا‪ :‬مجاالت مشاريع الجمعية وأنشطتها الرئيسية‬

                                       ‫مدفوعات مشاريع الجمعية على مستوى أنشطتها الرئيسية‬

                                                   ‫المدفوعات‬
                  ‫النسبة إلى‬
     ‫التغير‬                                                                              ‫المجال الرئيسي‬
                   ‫اإلجمالي‬
                                        ‫‪2014‬‬                      ‫‪2013‬‬

     ‫‪15%‬‬              ‫‪25%‬‬            ‫‪173,506,770‬‬               ‫‪151,368,850‬‬                     ‫المجال االجتماعي‬

     ‫‪29%‬‬              ‫‪24%‬‬            ‫‪167,370,536‬‬               ‫‪129,688,286‬‬                        ‫المجال الدعوى‬

     ‫‪85%‬‬              ‫‪17%‬‬            ‫‪119,627,236‬‬               ‫‪64,493,501‬‬                           ‫مجال اإلغاثة‬

     ‫‪16%‬‬               ‫‪6%‬‬            ‫‪38,103,931‬‬                ‫‪32,955,358‬‬                      ‫مجاالت موسمية‬

     ‫‪43%‬‬               ‫‪6%‬‬            ‫‪44,486,988‬‬                ‫‪31,136,377‬‬                     ‫مجال تنمية األسرة‬

     ‫‪66%‬‬               ‫‪5%‬‬            ‫‪35,178,999‬‬                ‫‪21,171,193‬‬                       ‫المجال التعليمي‬

    ‫‪153%‬‬               ‫‪6%‬‬            ‫‪44,339,527‬‬                ‫‪17,538,726‬‬           ‫مجال إعمار القرى والمجمعات‬

     ‫‪83%‬‬               ‫‪4%‬‬            ‫‪29,506,984‬‬                ‫‪16,104,056‬‬                  ‫مجال المياه واإلصحاح‬

    ‫‪181%‬‬               ‫‪4%‬‬            ‫‪29,870,273‬‬                ‫‪10,624,546‬‬                         ‫المجال الصحي‬

    ‫‪126%‬‬               ‫‪1%‬‬             ‫‪5,469,452‬‬                 ‫‪2,421,131‬‬                   ‫مجاالت أخرى متنوعة‬

     ‫‪44%‬‬             ‫‪100%‬‬           ‫‪687,460,697‬‬              ‫‪477,502,025‬‬                     ‫اإلجمالي‬


                                                     ‫مدفوعات مشاريع الجمعية على مستوى القطاع‬

                                                               ‫المدفوعات‬
              ‫النسبة إلى‬
   ‫التغير‬                         ‫اإلجمالي‬                                                      ‫القطاع‬
               ‫اإلجمالي‬
                                                      ‫‪2014‬‬                 ‫‪2013‬‬

    ‫‪40%‬‬           ‫‪10%‬‬           ‫‪116,941,033‬‬        ‫‪68,249,011‬‬         ‫‪48,692,022‬‬                 ‫داخل دولة قطر‬

    ‫‪44%‬‬           ‫‪90%‬‬          ‫‪1,048,021,688‬‬       ‫‪619,211,685‬‬        ‫‪428,810,003‬‬                ‫خارج دولة قطر‬

   ‫‪44%‬‬           ‫‪100%‬‬          ‫‪1,164,962,721‬‬       ‫‪687,460,696‬‬       ‫‪477,502,025‬‬                        ‫اإلجمالي‬



  ‫التقرير السنوي لعام ‪2014‬‬                                                                                      ‫‪20‬‬
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                                             ‫المستوى الدولي‪:‬‬

  ‫كما ركزت الجمعية على العمل المحلي داخل قطر‪ ،‬فقد أولت للعمل الخارجي أهمية كبري‪ ،‬فقد توزعت برامج‬
                                            ‫ً‬
  ‫بلدا في كل من إفريقيا وآسيا‪ ،‬وأوربا‪ ،‬وأمريكا‪،‬‬ ‫ومشاريع وأنشطة قطر الخيرية خالل سنة ‪ 2014‬فشملت ‪72‬‬
                                                                                                         ‫وأستراليا‪.‬‬

                                                             ‫المكاتب الخارجية (الميدانية) لقطر الخيرية‬
                                             ‫ً‬
  ‫مكتبا في كل من فلسطين‪ ،‬باكستان‪ ،‬اليمن‪ ،‬السودان‪،‬‬ ‫وصل عدد المكاتب الميدانية لجمعية قطر الخيرية إلى ‪19‬‬
  ‫الصومال‪ ،‬موريتانيا‪ ،‬إندونيسيا‪ ،‬بنغالديش‪ ،‬النيجر‪ ،‬بوركينا فاسو‪ ،‬جزر القمر‪ ،‬مالي‪ ،‬ألبانيا‪ ،‬البوسنة‪ ،‬كوسوفا‪ ،‬تونس‪،‬‬
  ‫لندن‪ ،‬وتركيا (مكتب تنسيقي)‪ ،‬إضافة لعمل الجمعية في دولة قطر‪ ،‬وحيثما تطلبت المصلحة ذلك يكون لجمعية قطر‬
  ‫الخيرية في البلد الواحد أكثر من مكتب كما هو الحال على سبيل المثال في كل من السودان‪ ،‬وباكستان‪ ،‬وفلسطين‪.‬‬

             ‫لقد أعطيت قطر الخيرية أولوية خاصة للدول التي لها مكاتب ميدانية بها‪ ،‬وذلك ألسباب عدة أهمها‪:‬‬

                                                                 ‫‪1.1‬تعزيز قدرات المكاتب الميدانية لقطر الخيرية‪.‬‬

                                                              ‫‪2.2‬الحصول على مقترحات مشاريع مدروسة بعناية‪.‬‬

                                                                               ‫‪3.3‬متابعة المشاريع بشكل دقيق‪.‬‬

                                                                    ‫‪4.4‬التحكم في مواصفات المشاريع المنفذة‪.‬‬

                                                                              ‫‪5.5‬القدرة على حشد موارد محلية‪.‬‬

  ‫أما الدول التي ال توجد للجمعية فيها مكاتب ميدانية فقد تم التركيز فيها على المشاريع االجتماعية‪ ،‬باستثناء‬
  ‫أوربا الغربية وكندا بالنظر لطبيعة المشاريع التي دأبت قطر الخيرية على تنفيذها في هذه الدول والتي تخص أساسا‬
                                     ‫ً‬
  ‫سابقا ولم ينتج عن التعامل معها مشاكل في‬ ‫المراكز اإلسالمية الثقافية‪ ،‬وكذلك الدول التي سبق التعامل معها‬
                                                                                                           ‫التنفيذ‪.‬‬

                                                                                     ‫الشراكات واالتفاقيات‬
                                                                                                ‫ً‬
  ‫نظرا للسمعة الكبيرة التي تحتلها قطر الخيرية على مستوى العالم في مجال التنمية والمجال اإلنساني فقد‬
  ‫وثقت فيها العديد من المنظمات والهيئات والوزارات المحلية والدولية والشركات واألفراد بأن توكل إليها انجاز العديد‬
  ‫من المشروعات في جميع أنحاء العالم‪ ،‬وذلك لما تتمتع به قطر الخيرية من الخبرة والكفاءة من خالل مكاتبها المنتشرة‬
                     ‫حول العالم وشركائها التنفيذيون‪ ،‬فمن أهم الشراكات التي عقدتها الجمعية خالل سنة ‪:2014‬‬

  ‫•توقيع اتفاقية تعاون مع صندوق قطر للتنمية في إطار مشروع لمدة ثالث سنوات يهدف لتوفير الماء الصالح‬
                             ‫للشرب في والية جنوب دارفور بالسودان بقيمة إجمالية قدرها ‪ 10.950.000‬ر‪.‬ق‪.‬‬

  ‫•توقيع اتفاقية تعاون استراتيجي مع مؤسسة حقوق اإلنسان والحريات واإلغاثة اإلنسانية ‪ /‬تركيا (‪ .)IHH‬وقد بلغ‬
                                              ‫حجم التعاون مع ‪ IHH‬خالل سنة ‪ 2014‬حوالي ‪ 24.565.000‬ر‪.‬ق‪.‬‬

                                             ‫•توقيع اتفاقية تعاون استراتيجي مع جمعية الهالل األحمر القطري‪.‬‬

  ‫•توقيع اتفاقية تعاون مع مؤسسة صلتك بقيمة ‪ 1.825.000‬ر‪.‬ق‪ ،‬من أجل تعزيز فرص التشغيل لفائدة الشباب‬
                                                                       ‫العربي في مجموعة من الدول العربية‪.‬‬

  ‫•توقيع اتفاقية تعاون مع مؤسسة التعليم فوق الجميع من أجل اإلسهام في توفير فرص للتعليم لفائدة أبناء‬
                                                                           ‫األسر الفقيرة في الدول المحتاجة‪.‬‬

   ‫‪21‬‬                                                                                        ‫التقرير السنوي لعام ‪2014‬‬
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                                                           ‫التقرير اإلداري المختصر‬


  ‫•توقيع اتفاقيات مشاريع مع المنظمة اإلسالمية للتربية والعلوم والثقافة (األيسيسكو) بقيمة إجمالية قدرها‬
                             ‫‪ 27.000.000‬ر‪.‬ق‪ ،‬تشمل سبعة مشاريع متنوعة في مجاالت التربية والتعليم والثقافة‪.‬‬

  ‫•توقيع اتفاقية تعاون استراتيجي مع الهيئة الطبية الدولية ‪ ،IMC‬وقد بلغ حجم التعاون مع ‪ IMC‬خالل سنة ‪2014‬‬
  ‫حوالي ‪ 8.395.000‬ر‪.‬ق‪ ،‬شملت مشروع محاربة شلل األطفال وداء الحصبة لفائدة األطفال السوريين‪ ،‬ومشروع‬
  ‫اإلغاثة لفائدة ضحايا األزمة اإلنسانية في جمهورية وسط إفريقيا‪ ،‬ومشروع مكافحة داء اإليبوال في سيراليون‪.‬‬

  ‫•الشراكة مع منظمة التغذية والزراعة في النيجر لدعم جهود األمن الغذائي‪ ،‬حيث بلغ حجم التعاون بين الطرفين‬
                                                                                        ‫حوالي ‪ 1.000.000‬ر‪.‬ق‪.‬‬

  ‫•الشراكة مع صندوق األمم المتحدة للطفولة لدعم الوصول لخدمات اإلصحاح في باكستان بقيمة إجمالية بلغت‬
                                                                                        ‫حوالي ‪ 1.800.000‬ر‪.‬ق‪.‬‬

  ‫•الشراكة مع البنك اإلسالمي للتنمية في مجموعة من مشاريع إعادة إعمار قطاع غزة نتيجة للعدوان المتكرر الذي‬
                                  ‫يتعرض له القطاع من طرف إسرائيل‪ ،‬وكذلك مشروعات خاصة بالشعب السوري‪.‬‬

  ‫•الشراكة القائمة مع وزارة الخارجية القطرية حيث أوكلت إليها تنفيذ مشروعات تطوير وتنمية إقليم دارفور‬
                                                             ‫بجمهورية السودان‪ ،‬ومشروعات إعادة إعمار تونس‪.‬‬

  ‫•الشراكة القائمة مع مؤسسة بيل جيتس العالمية حيث أوكلت اليها تنفيذ مشروعات في مجال الصحة بمبلغ ‪11‬‬
                                                                                             ‫مليون ريال قطري‪.‬‬

  ‫•التعاون مع مكتب تنسيق الشؤون اإلنسانية التابع لألمم المتحدة (‪ ،)UNOCHA‬والمنتدى اإلنساني ‪ /‬بريطانيا‬
  ‫في تنظيم سلسلة من ورش المشاورات الوطنية واإلقليمية للتحضير للقمة اإلنسانية المزمع عقدها في‬
  ‫استنبول سنة ‪ .2016‬وقد رعت قطر الخيرية تنظيم الورش التالية‪ ،‬ورشة دول قطر‪ ،‬وورشتي فلسطين في‬
  ‫كل من الضفة الغربية وقطاع غزة‪ ،‬وورشة دول البلقان التي عقدت في مقدونيا‪ ،‬والورشة الخاصة بالجمعيات‬
                                                              ‫السورية التي عقدت في مدينة غازي عنتاب بتركيا‪.‬‬


                                         ‫المستوى المحلي (داخل قطر)‬

  ‫انطالقا من الخطة االستراتيجية للتنمية المحلية بقطر الخيرية‪ ،‬بركائزها الثالث االجتماعية واالقتصادية والثقافية‪،‬‬
  ‫والتي تتوافق مع رؤية قطر ‪2030‬م‪ ،‬وإيمانا منها بأهمية المساهمة في ايجاد برامج تخدم مختلف فئات المجتمع‪ ،‬تم‬
             ‫العمل على مراعاة اختيار البرامج واالنشطة التي يتم تنفيذها لتواكب الرؤية الوطنية في خمسة تحديات‪:‬‬

                                                                     ‫‪1.1‬التحديث والمحافظة على العادات والتقاليد‪.‬‬

                                                                ‫‪2.2‬احتياجات الجيل الحالي واحتياجات األجيال القادمة‪.‬‬

                                                                                              ‫‪3.3‬النمو المستهدف‪.‬‬

                                                                                       ‫‪4.4‬مسار التنمية في الدولة‪.‬‬

                                                          ‫‪5.5‬التنمية االقتصادية واالجتماعية وحماية البيئة وتنميتها‪.‬‬

  ‫لذلك كان هناك توسع كبير في البرامج واألنشطة داخل الدولة‪ ,‬حيث تم تنفيذ مشروعات ثقافية وتربوية منها‬
  ‫( البرنامج الوطني لتعزيز القيم (أنا سنافي وهبة ريح) البرنامج القيمي الذي احتضن عدد ‪ 68‬مدرسة متنوعة بين‬
  ‫المراحل الدراسية االبتدائية و االعدادية والثانوية‪ ،‬برنامج (أدمها لتنمية األسر المنتجة) برنامج زواج ‪ ,‬برنامج (طاقات)‬
  ‫لتأهيل وتوظيف ذوي االحتياجات الخاصة ‪ ,‬برنامج (تحيه للعمال) بالتعاون مع مشيرب العقارية ‪ ,‬مشروع مسافر مع‬


  ‫التقرير السنوي لعام ‪2014‬‬                                                                                        ‫‪22‬‬
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  ‫القرآن الكريم ‪ ,‬مشروع التعاون مع الجاليات داخل الدولة ‪ ,‬برنامج (خذو زينتكم ) ‪ ,‬برنامج قادة وقائدات المستقبل‬
                                 ‫أليتام قطر ‪ ,‬البرامج الموسمية خالل شهر رمضان المبارك وعيد الفطر واألضحى‪.‬‬

  ‫كما جرى اقامة مشروع مع المالئكة في مساجد مختلفة‪ ،‬في مدينة الخور ومنطقة العزيزية ومدينة الوكرة‪،‬‬
  ‫بإشراف ائمة قطريين وضيوف معروفين من الخارج‪ .‬وفعاليات البراحة البرنامج الجماهيري الرمضاني (البراحة) التي‬
  ‫جرى اقامتها في اللؤلؤة قطر‪ ،‬وتفعيل مسجدي اللؤلؤة وكتارا‪ ،‬حيث تم استقطاب مجموعة من الضيوف القراء‬
  ‫والمحاضرين المعروفين للمساجد باإلضافة الى البراحة الرئيسية‪ ،‬كما جرى استنساخ نسخة مصغرة من البراحة في‬
                                                              ‫مدينة الخور والشحانية للسنة الثالثة على التوالي‪.‬‬

  ‫ومشاريع متنوعة اخرى تجاوب معها المجتمع‪ ،‬فانستغرام الخير زاد في عدد المتابعين لحساب قطر الخيرية على‬
  ‫موقع االنستغرام‪ ،‬وكذلك مشروع سقيا العمال الذي غطى المشروع ثالثة أضعاف‪ ،‬وجرى توزيع المياه على عدة‬
        ‫مناطق متفرقة من الخور الى الوكرة‪ ،‬بالماء والعصير على العمال العاملين في الفترة الصباحية إلى الظهيرة‪.‬‬

  ‫وشهد برنامج تراويح البرنامج االذاعي الرمضاني‪ ،‬نقلة نوعية هذا العام حيث قفزت االيرادات من ‪ 15‬مليون الى‬
                           ‫‪ 27‬مليون ريال قطري‪ ،‬عن طريق تعريف المجتمع بمشاريع قطر الخيرية بطريقة مختلفة‪.‬‬

  ‫شهد رمضان عام ‪ 1435‬مجموعة متنوعة من المشاريع‪ ،‬باإلضافة إلى زيادة عدد الموائد إلى ‪ 20‬مائدة‪ ،‬وتقليل‬
    ‫تكلفتها ليسهل ايجاد متبرعين لها‪ ،‬ومشاريع أخرى المست المجتمع كسقيا المصلين وافطار الجوال وفيه العافية‪.‬‬

  ‫قدمت قطر هذا العام المرحلة الثانية من مشروع «تحدي من أجل الحياة» بالتعاون مع بنك بروة من اجل تعزيز دور‬
  ‫المشاركة المجتمعية من خالل تسلق الفريق القطري لقمة أكونكاجوا باألرجنتين من أجل التنبيه إلى معاناة أطفال‬
  ‫اليمن‪ ،‬والعمل على تسويق ودعم عمليات القلب المفتوح ألطفال اليمن المصابين بالقلب‪ ،‬كما ستتم مراحل الحقة‬
                                           ‫من هذه الحملة تشمل قمة دنالي بأالسكا وايفرست بالنيبال وغيرها‪.‬‬

                                                                                    ‫مراكز تنمية المجتمع‬
   ‫ً‬
  ‫تطورا‬ ‫تمتلك قطر الخيرية مجموعة من المراكز االجتماعية في أماكن متفرقة من الدولة ‪ ،‬وشهدت هذه المراكز‬
  ‫من حيث الكيف و الكم‪ ،‬حيث زاد عدد المراكز من ‪ 8‬الى ‪ ،10‬وتختص المراكز بتقديم أنشطة وبرامج وفعاليات مختلفة‬
  ‫لفائدة جميع شرائح المجتمع وإضافة لتنمية المجتمع في النطاق الدائري التي تقع فيه‪ ،‬كذلك تقوم بترسيخ وتعزيز‬
  ‫القيم واألخالق السليمة وتأهيل وتطوير القدرات وتفعيل الطاقات والمهارات لدى األفراد‪ ،‬وقد بلغت تكلفة هذه‬
  ‫المراكز واألنشطة والبرامج والفعاليات التي قدمتها خالل عام ‪ 2014‬م مبلغ ‪ 22،277،162‬ريال قطري بزيادة نسبتها‬
                                                    ‫‪ 65%‬عن عام ‪2013‬م والتي كانت ‪ 13،512،374‬ريال قطري‪.‬‬

  ‫كما شهدت المراكز تفاعال مثمرا مع المجتمع من خالل اقامة مجموعة من الفعاليات والمناسبات الوطنية‪ ،‬كاليوم‬
                              ‫الوطني‪ ،‬ومهرجان عيد االضحى الذي غطى ‪ 68%‬من تكلفته عبر الرعايات واإليرادات‪.‬‬

  ‫بلغ عدد المراكز المجتمعية داخل دولة قطر (‪ )7‬مراكز‪ ،‬وتهدف هذه المراكز الى وتعزيز القيم للشباب القطري‬
  ‫وتنمية مختلف فئات المجتمع‪ ،‬هذا باإلضافة إلى خطة التوسع والتي وصلت إلى (‪ )10‬مراكز في نهاية عام ‪2014‬‬
                                                                   ‫لتتوزع مراكزنا في جميع انحاء مناطق الدولة‪.‬‬

            ‫‪2011‬‬                       ‫‪2012‬‬                      ‫‪2013‬‬                       ‫‪2014‬‬

            ‫‪ 5‬مراكز‬                   ‫‪ 6‬مراكز‬                    ‫‪ 7‬مراكز‬                   ‫‪ 10‬مراكز‬




   ‫‪23‬‬                                                                                     ‫التقرير السنوي لعام ‪2014‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-25 Filed 03/18/22 Page 119 of 187 PageID #:‬‬
                                     ‫‪785‬‬
                                                           ‫التقرير اإلداري المختصر‬



                                                                                    ‫الرعاية االجتماعية والكفاالت‬
  ‫حصلت قطر الخيرية على جائزة التميز في مجال رعاية األيتام بدول مجلس التعاون الخليجي (كافل) لعام ‪،2014‬‬
  ‫وتوجت بهذه الجائزة نتيجة الهتمامها بالكفاالت بجميع أنواعها على مستوي العالم‪ ،‬وتسهم كفالة األيتام في‬
  ‫تحسين ظروف عيش األطفال المكفولين من خالل تمكينهم من حقوقهم األساسية في التغذية والكساء‪،‬‬
  ‫والتعليم‪ ،‬والعالج‪ ،‬والمأوى الالئق‪ ،‬حيث بلغ عدد المكفولين نهاية عام ‪ 2014‬عدد ‪ 76.093‬مكفول‪ ،‬موزع على ‪34‬‬
  ‫دولة على مستوى العالم بزيادة قدرها ‪ % 22‬عن عام ‪ 2013‬حيث كان عدد المكفولين ‪ 62.416‬مكفول‪ ،‬وقد أنفقت‬
  ‫قطر الخيرية على برنامج كفالة األيتام وبرامج الرعاية االجتماعية خالل سنة ‪ 2014‬ما قيمته ‪ 152.909.640‬ر‪.‬ق‪ ،‬بزيادة‬
  ‫نسبتها ‪ 19.85%‬عن عام ‪ 2013‬حيث كانت قيمتها ‪ 127.852.366‬ر‪.‬ق‪ ،‬وفيما يلي االحصائية مقارنة بأربعة سنوات‬
                                                                             ‫مصنفة بعدد الكفاالت والدول التي تشملها‪:‬‬

          ‫السنوات‬                   ‫‪2011‬‬                  ‫‪2012‬‬                      ‫‪2013‬‬                   ‫‪2014‬‬
       ‫عدد الكفاالت‬                ‫‪40333‬‬                  ‫‪57199‬‬                    ‫‪62416‬‬                   ‫‪76093‬‬
         ‫عدد الدول‬                   ‫‪32‬‬                        ‫‪34‬‬                    ‫‪34‬‬                      ‫‪34‬‬
          ‫المدفوع‬               ‫‪86,269,869‬‬            ‫‪109,295,196‬‬               ‫‪127,582,366‬‬            ‫‪152,909,640‬‬

                                                                                   ‫الشركاء المحليون والدوليون‪:‬‬
  ‫ترشيدا لجهودها وحرصا منها على التنسيق والتكامل مع باقي الفاعلين اآلخرين‪ ،‬تحرص جمعية قطر الخيرية على‬
  ‫التعاون والشراكة مع مختلف المتدخلين سواء في الحقل التنموي أو في الحقل اإلنساني على المستوى المحلي‬
  ‫والدولي‪ ،‬لهذا الغرض‪ ،‬حرصت قطر الخيرية على التعاون مع الهيئات الدولية وتعزيز الثقة للصورة الذهنية للجمعية‬
  ‫وتتعاون جمعية قطر الخيرية في إدارة برامجها ومشاريعها وتقديم خدماتها مع طيف واسع من الشركاء يصل عددهم‬
  ‫إلى حوالي ‪ 500‬شريكا‪ ،‬وتضم قائمة شركاء الجمعية أهم المنظمات المتخصصة لألمم المتحدة‪ ،‬كما تتعاون قطر‬
  ‫الخيرية أيضا مع منظمات المجتمع المدني المحلية‪ ،‬والمنظمات غير الحكومية الدولية‪ ،‬وبنوك ووكاالت التنمية‪ ،‬إضافة‬
  ‫للوزارات والمصالح الفنية المختصة في الدول التي تعمل فيها الجمعية‪ .‬كما أولت قطر الخيرية خالل سنة ‪2014‬‬
  ‫أهمية خاصة لتوقيع اتفاقيات تعاون استراتيجية مع شركاء من داخل قطر كمؤسسة التعليم فوق الجمعي (‪،)EAA‬‬
  ‫وعلم طفال (‪ ،)EAC‬وجمعية الهالل األحمر القطري‪ ،‬كماحرصت على تعزيز العالقات وفتح قنوات اتصال مع العديد‬
                                                                ‫من الشركاء المحليين والدوليين وكانت أهمها مع كل من‪:‬‬

                                                     ‫الشركاء المحليون‬
                  ‫‪      .2‬الجمعية القطرية لمكافحة السرطان‬                       ‫‪      .1‬وزارة العمل والشؤون االجتماعية‬
                                 ‫‪     .4‬مؤسسة حمد الطبية‬                                            ‫‪      .3‬وزارة الداخلية‬
                              ‫‪      .6‬شركة اتصاالت فودافون‬                    ‫‪      .5‬وزارة األوقاف والشؤون اإلسالمية‬
                                ‫‪      .8‬شركة اتصاالت اوريدو‬                                            ‫‪      .7‬وزارة البيئة‬
           ‫‪   .10‬المؤسسة القطرية لمكافحة االتجار بالبشر‬                                           ‫‪      .9‬وزارة االتصاالت‬
                             ‫‪   .12‬المؤسسة القطرية لإليواء‬                                ‫‪   .11‬اللجنة األولمبية الرياضية‬
                              ‫‪   .14‬المركز الثقافي للطفولة‬                                   ‫‪   .13‬دار اإلنماء االجتماعي‬
                                          ‫‪   .16‬مركز الشفلح‬         ‫‪   .15‬مؤسسة قطر للتربية والعلوم وتنمية المجتمع‬
                                           ‫‪   .18‬مركز العوين‬                                           ‫‪   .17‬جامعة قطر‬
                                             ‫‪   .20‬بنك بروة‬         ‫‪   .19‬الجمعية القطرية لتأهيل ذوي االحتياجات الخاصة‬
                                 ‫‪   .22‬العمادي للمشروعات‬                                     ‫‪   .21‬معرض قطر المهني‬


  ‫التقرير السنوي لعام ‪2014‬‬                                                                                              ‫‪24‬‬
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                                     ‫‪786‬‬
    ‫التقرير اإلداري المختصر‬



                                              ‫الشركاء الدوليون‬

                                            ‫‪1.1‬المفوضية السامية لالجئين باألمم المتحدة (‪)UNHCR‬‬

                                                                    ‫‪2.2‬منظمة التغذية والزراعة (‪)FAO‬‬

                                                      ‫‪3.3‬صندوق األمم المتحدة للطفولة (‪)UNICEF‬‬

                                                                      ‫‪4.4‬برنامج الغذاء العالمي (‪)WFP‬‬

                                           ‫‪5.5‬وكالة غوث وتشغيل الالجئين الفلسطينيين (‪)UNRWA‬‬

                                                         ‫‪6.6‬صندوق األمم المتحدة للتنمية (‪)UNDP‬‬

                                                   ‫‪7.7‬مكتب تنسيق الشؤون اإلنسانية (‪)UNOCHA‬‬

                                                                     ‫‪8.8‬بنك التنمية اإلسالمي (‪)IDB‬‬

                                          ‫‪9.9‬المنظمة اإلسالمية للتربية والعلوم والثقافة (‪)ISESCO‬‬

                                                                     ‫	‪ 10.‬مؤسسة بيل جيتس العالمية‬

                                                                 ‫‪1111‬هيئة المعونة اإلسالمية – استراليا‬

                                                                            ‫المشاريع والبرامج الخارجية‪:‬‬
                   ‫من أهم والمشاريع والبرامج والمبادرات الخارجية التي أنجزتها قطر الخيرية خالل سنة ‪:2014‬‬

  ‫•أنجزت الجمعية‪ ،‬خالل سنة ‪ ،2014‬حوالي ‪ 76‬مجمعا خدميا في ‪ 26‬دولة بقيمة إجمالية قدرها ‪34.500.000‬ر‪.‬ق‪،‬‬
  ‫ويقدم كل مجمع للمجتمع المحلي المستهدف خدمات مندمجة تشمل التعليم‪ ،‬والصحة‪ ،‬والماء الصالح للشرب‪.‬‬

  ‫•المشاركة في تنفيذ مبادرة دولة قطر لتنمية دارفور‪ ،‬حيث تقوم قطر الخيرية بتنفيذ مشروع المبادرة في كل‬
  ‫من والية وسط دارفور ووالية جنوب دارفور بقيمة إجمالية قدرها ‪ 22.374.500‬ر‪.‬ق‪ ،‬وقد شهدت سنة ‪2014‬‬
  ‫االنتهاء من بناء وتجهيز المجمع الخدمي في منطقة بلبل تمبسكو بوالية جنوب دارفور‪ ،‬حيث تم افتتاح المجمع‬
  ‫بتاريخ ‪ 15/06/2014‬وتم البدء في االستفادة من خدماته المختلفة كالتعليم والصحية والماء الصالح للشرب‬
                                                                                                  ‫وغيرها‪.‬‬

  ‫•تنفيذ برنامج طموح لإلسهام في جهود التنمية في تونس بقيمة إجمالية قدرها ‪ 54.750.000‬ر‪.‬ق‪ ،‬عبارة عن‬
  ‫منحة من صندوق الصداقة القطري‪ ،‬ويتكون هذا البرنامج من ستة مشاريع أساسية‪ .1 :‬بناء خمس مدارس ريفية‪،‬‬
  ‫و‪ .2‬بناء عشرة مستوصفات ريفية‪ ،‬و‪ .3‬تعبيد ‪ 23‬كلم من المسالك الريفية في المناطق الفالحية‪ ،‬و‪ .4‬حفر ‪100‬‬
  ‫بئر ارتوازي يشتغل بالطاقة الشمسية في المناطق القروية‪ ،‬و‪ .5‬مساعدة ‪ 250‬أسرة فقيرة على بناء أو إعادة‬
                                             ‫تأهيل مساكنها‪ ،‬و‪ .6‬دعم ‪ 500‬تعاونية فالحية جديدة أو قائمة‪.‬‬

  ‫•تنفيذ مشروع رائد في مجال األمن الغذائي في النيجر بالتعاون وتمويل منظمة التغذية والزراعة بقيمة إجمالية‬
  ‫قدرها حوالي ‪ 2.000.000‬ر‪.‬ق‪ ،‬ويقوم المشروع‪ ،‬الذي هو امتداد لمشروع بدء قبل ثالث سنوات‪ ،‬على توفير‬
  ‫البذور المحسنة واإلرشاد الزراعي وتوفير مدخالت اإلنتاج وتسهيل حصول النساء المنتجات على الموارد المالية‬
                                                                                                ‫الضرورية‪.‬‬

  ‫•نفذت قطر الخيرية برنامجا واسعا إلغاثة الشعب السوري في الداخل وفي دول الجوار‪ ،‬حيث قدم البرنامج خدمات‬


   ‫‪25‬‬                                                                                    ‫التقرير السنوي لعام ‪2014‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-25 Filed 03/18/22 Page 121 of 187 PageID #:‬‬
                                     ‫‪787‬‬
                                                           ‫التقرير اإلداري المختصر‬


  ‫الصحة‪ ،‬والغذاء‪ ،‬والمياه واإلصحاح‪ ،‬والمأوى‪ ،‬والتدفئة‪ ،‬والمساعدات غير الغذائية للمتضررين من األزمة‪ ،‬وقد‬
  ‫بلغت القيمة اإلجمالية لهذه المساعدات خال سنة ‪ 2014‬حوالي ‪ 78.267.447‬ر‪.‬ق‪ ،‬استفاد منها أزيد من مليون‬
  ‫نازح والجئ سوري في الداخل السوري وفي دول الجوار األربعة تركيا‪ ،‬واألردن‪ ،‬ولبنان‪ ،‬العراق وقد تم التعاون‬
                                         ‫مع حوالي ‪ 20‬منظمة محلية في هذه الدول لتقديم الخدمات اإلنسانية‪.‬‬

  ‫•تولي قطر الخيرية عناية خاصة بأبناء الجالية المسلمة في الدول األوربية‪ ،‬وتعمل الجمعية بالتعاون مع مجموعة‬
  ‫من الجمعيات األوربية والمجالس البلدية في مجموعة من الدول األوربية على تمكين الجالية المسلمة من جملة‬
  ‫من الخدمات الثقافية والتربوية والتعليمية حفاظا على هويتهم اإلسالمية وفي نفس الوقت لمساعدتهم على‬
  ‫اإلسهام بروح إيجابية وحضارية في المجتمعات األوربية التي يعيشون فيها‪ .‬في هذا الصدد أنفقت جمعية قطر‬
                               ‫ً‬
  ‫مشروعا ثقافيا وتربويا في مجموعة من‬ ‫الخيرية خالل هذه السنة حوالي ‪ 91‬مليون ريال قطري استفاد منها ‪81‬‬
              ‫الدول األوربية كإسبانيا‪ ،‬وألمانيا‪ ،‬والمملكة المتحدة‪ ،‬والنرويج‪ ،‬وإيطاليا‪ ،‬وسويسرا‪ ،‬وفرنسا‪ ،‬وبلجيكا‪.‬‬

                                                                                    ‫المشاريع والبرامج اإلغاثية‪:‬‬
                          ‫ً‬
  ‫مشروعا‪ ،‬بلغت قيمتها اإلجمالية‬ ‫في مجال اإلغاثة بلغت عدد المشاريع اإلغاثية المنفذة خالل عام ‪ 2014‬عدد ‪133‬‬
  ‫‪ 119‬مليون ريال قطري‪ ،‬استفاد منها حوالي ‪ 2‚25‬مليون شخص في ‪ 16‬دولة وبمشاركة ‪ 31‬منظمة إنسانية وستة‬
                                                                                                     ‫مكاتب ميدانية‪.‬‬

                                                              ‫الدول‬
             ‫إجمالي القيمة‬             ‫عدد المشاريع‬                             ‫عدد المستفيدين‬          ‫السنوات‬
                                                            ‫المستفيدة‬
             ‫‪119,584,589‬‬                    ‫‪133‬‬                 ‫‪13‬‬                 ‫‪2,245,650‬‬              ‫‪2014‬‬

              ‫‪64,493,500‬‬                     ‫‪72‬‬                 ‫‪17‬‬                  ‫‪668,106‬‬               ‫‪2013‬‬
                                                                                                          ‫نسبة‬
                   ‫‪85%‬‬                      ‫‪85%‬‬                ‫‪-24%‬‬                   ‫‪236%‬‬
                                                                                                          ‫التغير‬

                                                                                                  ‫اإلغاثة العينية‬

  ‫•إرسال تبرعات عينية لسوريا خالل شهر يناير ‪ 2014‬تصل إلى ‪ 19‬طن من المالبس والبطانيات والدفايات وبقيمة‬
                                                        ‫حوالي ‪ 500‬ألف ريال بالتعاون مع الهالل األحمر القطري‪.‬‬

                                 ‫•إرسال تبرعات عينية للفلبين بقيمة ‪ 650‬ألف بالتعاون مع الهالل األحمر القطري‪.‬‬

                                ‫•إرسال تبرعات عينية إلى بوركينا فاسو عن طريق جمعية لو وابا اإلسالمية الخيرية‪.‬‬


                                   ‫الجمعية حضور متميز ومشاركات فاعلة‬

                                                                                                        ‫الفعاليات‬

                                                            ‫•البرنامج الوطني لتعزيز القيم (أنا سنافي وهبة ريح)‬

                                                                             ‫•برنامج (ادمها لتنمية األسر المنتجة)‬

                                                                                                     ‫•برنامج زواج‬

                                                         ‫•برنامج (طاقات) لتأهيل وتوظيف ذوي االحتياجات الخاصة‬

                                                                                            ‫•برنامج (تحيه للعمال)‬


  ‫التقرير السنوي لعام ‪2014‬‬                                                                                          ‫‪26‬‬
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    ‫التقرير اإلداري المختصر‬


                                                                           ‫•برنامج مسافر مع القرآن الكريم‬

                                                                        ‫•البرنامج االذاعي الرمضاني (تراويح)‬

                                                                     ‫•البرنامج الجماهيري الرمضاني (البراحة)‬

                                                                                      ‫•برنامج (خذوا زينتكم)‬

                                                                           ‫•حفل تكريم األيتام (ساس الخير)‬


                                                      ‫الحمالت والمبادرات والمسابقات التسويقية‬

  ‫قامت قطر الخيرية «الجمعية» بالعديد من الحمالت خالل العام ‪ ،2014‬وتعد حملتي إغاثة الشعب السوري‬
  ‫والفلسطيني الشقيقين من أهم هذه الحمالت والتي جسدت فعليا ولو بشكل بسيط معاناة الشعبين‪ ،‬والتي‬
  ‫كان لها األثر في تحقيق عائد كبير من تلك الحملتان أسهم بشكل إيجابي في حجم المساعدات المقدمة للشعبي‬
                      ‫السوري والفلسطيني‪ ،‬ومن أهم الحمالت والمبادرات والمسابقات خالل عام ‪ 2014‬ما يلي‪:‬‬

  ‫•مسابقة المتنافسون‪ :2‬مشروع لجمع التبرعات لصالح الالجئين السوريين في األردن – مخيم الزعتري‪ ،‬من خالل‬
  ‫نجوم وشخصيات المجتمع المحلي‪ ،‬حيث تم جمع أكبر عدد ممكن من التبرعات إلغاثة المتضررين والمحتاجين وقد‬
                                                                    ‫بلغت قيمة التبرعات ‪ 11،875،041‬ر‪.‬ق‪.‬‬

  ‫•برنامج قلب واحد‪ :‬برنامج تلفزيوني لجمع التبرعات عن طريق فرق ومجموعات وشخصيات‪ ،‬إلغاثة متضرري جزيرة‬
           ‫سقطرى في اليمن‪ 6،654،535 ،‬ر‪.‬ق‪ ،‬وقد تم عقد اتفاقية مع بنك بروة إلعداد برنامج «قلب واحد»‪.‬‬

  ‫•مبادرة رفقاء‪ :‬قامت الجمعية بتدشين مبادرة إنسانية فريدة من نوعها تحت مسمى (رفقاء) معنية بقضايا األيتام‬
  ‫لرعاية وكفالة األطفال واأليتام في جميع انحاء العالم من خالل إعداد وإدارة البرامج والقنوات التي تساهم في‬
  ‫حل مشاكلهم وذلك برعاية الشيح عائض القرني‪ ،‬وقد تم خالل عام ‪ 2014‬كفالة ‪ 26،000‬طفل يتيم حول العالم‪،‬‬
                                                                                  ‫بقيمة ‪ 39،951،878‬ر‪.‬ق‬

  ‫•مصحف بصيرة‪ :‬إنشاء مصحف المكفوفين لتمكين المكفوفين من قراءة القرآن من خالل طريقة «برايل‬
                                                                                         ‫‪»1،697،995‬ر‪.‬ق‪.‬‬

                                     ‫•حملة شتاء بحجم معاناتهم‪ :‬وقد تم جمع تبرعات بقيمة ‪ 10،386،011‬ر‪.‬ق‬

                                            ‫•رمضان ‪1435‬هـ‪2014/‬م‪ :‬بلغت قيمة التبرعات ‪ 274،964،393‬ر‪.‬ق‬

                                                  ‫•حملة قبل أن يتجمد‪ :‬بلغت قيمة التبرعات ‪20،622،222‬ر‪.‬ق‬

  ‫•المسؤولية االجتماعية‪ :‬عقد اتفاقية مع الحمالت اآلتية لتنضم تحت مظلة قطر الخيرية؛ حملة ليان مركز إعداد‬
                                                                                ‫التربوي مركز رواد التربوي‪.‬‬

  ‫•عقد اتفاقية مع مؤسسة دوري نجوم قطر إلقامة فعاليات جماهيرية‪ ،‬ووضع صناديق ونقاط تحصيل في المالعب‬
                                                      ‫والصاالت الرياضية في الدولة‪ ،‬بقيمة ‪ 1،000،000‬ر‪.‬ق‪.‬‬


                                                                          ‫المجاالت التنظيمية واإلدارية‬

  ‫قامت الجمعية خالل عام ‪ 2014‬بالعديد من إعادة التنظيم وتطوير الهيكل التنظيمي ووضع أسس للبناء‬
             ‫المؤسسي وتطوير األدوات وآليات العمل‪ ،‬وتطبيق البرامج والتقنيات الحديثة‪ ،‬وكان من أهمها ما يلي‪:‬‬

   ‫‪27‬‬                                                                                     ‫التقرير السنوي لعام ‪2014‬‬
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                                                           ‫التقرير اإلداري المختصر‬


  ‫‪1.1‬المساعدة في تصميم وتطبيق نظام الصرف اإللكتروني في المركز الرئيسي والمكاتب الميدانية والربط‬
        ‫المباشر مع البرنامج المحاسبي مما أدى الى زيادة فاعلية دور الرقابة الداخلية على كل المعامالت المالية‪.‬‬

  ‫‪2.2‬تطبيق نظام التحويالت البنكية المباشر ة عن طريق وضع آلية عمل للتوقيعات المالية بما يتوافق مع النظام‬
  ‫األساسي للجمعية مما أدى الى سرعة انجاز المعامالت المالية الداخلية والتحويالت الخارجية وسهولة اجراء‬
                                                                                    ‫المعامالت بشكل ميسر‪.‬‬

  ‫‪3.3‬اصدار البيانات المالية لقطر الخيرية عن عام ‪ 2013‬في ‪ 30‬يناير ‪ 2014‬وهذا وقت قياسي ومؤشر على سرعة‬
                                                                                 ‫ودفة وكفاءة اإلدارة المالية‪.‬‬

                                   ‫‪4.4‬تفعيل استخدام البرنامج المحاسبي في عمل تقارير مراقبة الموازنة المالية‪.‬‬

  ‫‪5.5‬تفعيل وتطبيق استخدام أحدث اإلصدارات للمعايير الدولية إلعداد التقارير المالية ‪ IFRS‬لتكون دائما طرق تسجيل‬
                                           ‫المعامالت المالية تحاكى المعايير الدولية ومعترف بها داخليا ودوليا‪.‬‬

  ‫‪6.6‬وضع خطة إلعادة هيكلة اإلدارة المالية بما يتواكب مع زيادة حجم التبرعات والتحويالت للمشروعات حتى يتم‬
                                                                  ‫العمل بالجودة المعهودة من اإلدارة المالية‪.‬‬

                                    ‫‪7.7‬تطوير دليل الحسابات ليتوافق مع المتطلبات المالية واإلدارية لإلدارة العليا‪.‬‬

  ‫‪8.8‬العمل الدائم من خالل منهجية واضحة بتطبيق الرؤية االستراتيجية لإلدارة بما يتواكب مع استراتيجية الجمعية من‬
                                                          ‫تحديث وتطوير النظم المالية ونظم الرقابة الداخلية‪.‬‬

                                                                  ‫‪9.9‬اعداد خطة العمل لإلدارة المالية لعام ‪.2015‬‬

  ‫‪1010‬وضع الخطط واالستراتيجيات ونظم التطوير لإلدارة المالية على مستوى المركز الرئيسي ومستوى المكاتب‬
  ‫الميدانية وذلك باالستعانة بالكفاءات الموجودة في الجمعية وتطوير نظم التحصيل لتصبح نظم الكترونية‬
                                                                    ‫باالستعانة باإلدارات المتخصصة في ذلك‪.‬‬

  ‫‪1111‬اعداد الموازنات المالية بطريقة مختلفة هذا العام لتصبح موازنات أداء يتم متابعتها كل ربع سنة لقياس مستوى‬
                                         ‫التخطيط ولمساعدة اإلدارة على اتخاذ القرارات في الوقت المناسب‪.‬‬

  ‫‪1212‬تصميم وتنفيذ أحدث النظم االلكترونية عن طريق إدارة تكنولوجيا المعلومات في الجمعية والتي تؤدى زيادة‬
  ‫وفاعلية نظم الرقابة الداخلية من خالل أتمتة جميع المعامالت التي تتم في الجمعية حتى ‪ 31‬ديسمبر ‪2014‬‬
                                                                           ‫وقد تم االنتهاء من البرامج التالية‪:‬‬

                                                                                   ‫•نظام الصرف الداخلي‪.‬‬

                                                                                   ‫•نظام الصرف الخارجي‪.‬‬

                                        ‫•نظام الحضور واالنصراف والتكامل مع األنظمة الحالية (‪.)MenaMe‬‬

                                                                        ‫•نظام التحصيل اإللكتروني الجديد‪.‬‬

                                                                                    ‫•نظام مقاصة البنوك‪.‬‬

                                                    ‫•تحديثات موقع التبرع اإللكتروني وإضافة بوابة المتبرع‪.‬‬

                                    ‫•تحديثات نظام التحويالت المالية والتكامل مع وزارة الشئون االجتماعية‪.‬‬

                                                                          ‫•نظام تسجيل الموردين أونالين‪.‬‬

  ‫التقرير السنوي لعام ‪2014‬‬                                                                                       ‫‪28‬‬
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                                     ‫‪790‬‬
    ‫التقرير اإلداري المختصر‬


                                                                         ‫•نظام صرف المساعدات زخر‪.‬‬

                                                                                    ‫•نظام األرشيف‪.‬‬

                                            ‫•التكامل مع النظام المحاسبي (‪.)Microsoft Dynamics GP‬‬

                                                                               ‫•تحديثات موقع رفقاء‪.‬‬

  ‫‪1313‬تطوير نظام استالم أوامر الصرف في الجمعية من خالل وضع النظم لعمل آلية واضحة تسهل اجراءات جميع‬
                            ‫الخدمات المطلوبة بأسرع وقت وفقا ألولوية الطلبات بما ال يخل بباقي الطلبات‪.‬‬

                                            ‫‪1414‬تطبيق وتفعيل دليل السياسات واإلجراءات الخاص بالمشتريات‪.‬‬

  ‫‪1515‬تقسيم جميع ادارت قطر الخيرية عن طريق قسم الصيانة مما وفر على الجمعية توفيرا مباشرا قدره حوالي ‪500‬‬
                                                                                               ‫ألف ريال‪.‬‬

                                           ‫‪1616‬اعادة تصميم جميع الفروع الداخلية وعمل صيانة شاملة لكل فرع‪.‬‬

                                                ‫‪1717‬تقسيم وعمل طابق ثاني بالقاعة الصغيرة امام قاعة الدباغ‪.‬‬

  ‫‪1818‬المساعدة الفاعلة وتقديم الدعم الخدمي واللوجيستي في جميع الفعاليات االعالمية والتسويقية لقطر الخيرية‪.‬‬
  ‫واهمها مشاريع رمضان (ما يقرب من ‪ 13‬مشروع نوعي مثل قلب واحد – سفاري الخير – االفطار الجوال – براحة‬
                                                                                                 ‫اللؤلؤة)‬

                       ‫‪1919‬توفير جميع احتياجات اإلدارات من المشتريات وتوفير القرطاسية والضيافة طول العام‪.‬‬

                                   ‫‪2020‬ادارة عدد ‪ 20‬خيمة رمضانية وتوفير جميع متطلبات مشروع افطار الصائم‪.‬‬

  ‫‪2121‬توفير حوالي ‪ 360‬ألف ريال من وجبات رمضان عن طريق التفاوض المباشر مع المطاعم الموردة لوجبات افطار‬
                                                                                                 ‫الصائم‪.‬‬

  ‫‪2222‬وضع خطة إلعادة هيكلة إدارة الخدمات العامة بما يتواكب مع زيادة حجم الطلبات والخدمات للمشروعات حتى يتم‬
                                                                     ‫العمل بالجودة والشفافية المطلوبة‪.‬‬

                         ‫‪2323‬استحداث وحدة للمخازن والدعم اللوجيستي للحفاظ على موجودات وأمالك الجمعية‪.‬‬


                                ‫االستثمارات وإدارة األصول العقارية‬

                                        ‫أوال‪ :‬األسهم المدرجة في سوق الدوحة لألوراق المالية‪:‬‬
                                                                                        ‫ً‬
  ‫تم بناء محفظة من أسهم استراتيجية بطريقة احترافية ستظهر نتائجها في المستقبل لصالح الجمعية‪ ،‬بلغت‬
  ‫أرباح المحفظة االستثمارية ‪ 7.5‬مليون ريال قطري مقسمة إلى (‪ )4.5‬مليون ريال قطري إعادة تقيم و (‪ )3‬مليون‬
                ‫أرباح نقدية مستلمة أي ما نسبته (‪ % )10.7‬بزيادة عن العام السابق بمبلغ (‪ )2.7‬مليون ريال قطري‪.‬‬


                                                                            ‫ثانيا‪ :‬األسهم غير المدرجة‬

  ‫حصل تطور واضح وملموس في األرباح المستلمة وخصوصا في بنك قطر األول لالستثمار وشركة الدار للصرافة‬
                ‫حيث ان الفرق في األرباح كان (‪ )400‬ألف ريال قطري عن العام الماضي‪ .‬بزيادة نسبة قدرها (‪% )23‬‬


   ‫‪29‬‬                                                                                   ‫التقرير السنوي لعام ‪2014‬‬
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                                     ‫‪791‬‬
                                                           ‫التقرير اإلداري المختصر‬


                                                                                           ‫ً‬
                                                          ‫ثالثا‪ :‬الصكوك اإلسالمية في مصرف الريان‬

  ‫تم الدخول في االستثمار في الصكوك حسب موافقة لجنة االستثمار بمبلغ (‪ )10‬مليون ريال قطري وكان العائد‬
  ‫المستهدف (‪ % )3.5‬سنويا في حين بلغ العائد الفعلي (‪ % )9‬سنويا والمبلغ المحقق (‪ )450‬ألف ريال قطري لمدة‬
                                                                              ‫ستة شهور بزيادة قدرها (‪.% )5.5‬‬


                                                                                                    ‫ً‬
                                                                                   ‫رابعا‪ :‬األصول العقارية‬

  ‫‪1.1‬زيادة حجم األصول العقارية بعقار بقيمة (‪ )55‬مليون ريال قطري‪ ،‬وزيادة حجم النمو في قيمة األصول بنسبة‬
                                        ‫‪ 21.5%‬عن عام ‪ 2013‬نتيجة نمو ارتفاع قيمة المباني واألراضي الفضاء‪.‬‬

                                                    ‫‪2.2‬زيادة حجم اإليرادات المحققة بنسبة ‪ % 8.3‬عن عام ‪.2013‬‬

                                        ‫‪3.3‬انخفاض قيمة المصاريف العامة والتشغيلية بنسبة ‪ % -7‬عن عام ‪.2013‬‬

  ‫‪4.4‬تحصيل ما يقرب من مبلغ (‪ ) 744,500‬ريال من الديون المتعثرة عن سنوات ماضية من خالل التفاوض وعمل‬
  ‫اعادة جدولة إلحياء تلك الديون وبنسبة بلغت ‪ 26%‬من اجمالي الديون المتعثرة وجاري تحصيل ما يقرب من نفس‬
                ‫المبلغ خالل عام ‪ 2015‬بناء على الجدولة الموضوعة لمتعثرين آخرين والتي تم االتفاق عليها معهم‪.‬‬


                                  ‫تدقيق المعلومات ومتابعة المعامالت‬

   ‫‪1.1‬تم تدقيق استمارات كفاالت جديدة بمختلف فئاتهم (ايتام‪ ،‬اسر‪ ،‬طالب‪ ...،‬الخ) بإجمالي عدد ‪ 27.052‬استمارة‬

               ‫‪2.2‬تم تدقيق تقارير المكفولين بمختلف فئاتهم (ايتام‪ ،‬اسر‪ ،‬طالب‪ ...،‬الخ) بإجمالي عدد ‪ 77.507‬تقرير‪.‬‬

    ‫‪3.3‬تم تدقيق تقارير المشاريع بمختلف فئاتهم (ابار مياه‪ ،‬مساجد‪ ،‬مدرة للدخل‪ ...،‬الخ) بإجمالي عدد ‪29.739‬تقرير‪.‬‬


                                            ‫التواصل مع المتبرعين‬

  ‫‪1.1‬تم التواصل مع المتبرعين لمعالجة تسديدات الكفاالت المتعثرة في السداد حيث بلغ عدد الكفاالت التي تم‬
  ‫معالجتها اما بدفع المتبرع للمتأخرات او بأخذ الموافقة منه واتاحتها للكفالة مره اخرة لعدم مقدرة المتبرعين‬
                                                                        ‫لسداد المتأخرات عدد ‪ 34.071‬كفالة‪.‬‬

  ‫‪2.2‬اما في مجال استبدال والغاء الكفاالت فقد تم التواصل مع المتبرعين بالوسائل المتاحة (ص‪.‬ب‪ ،‬اميل‪ ،‬رسائل‬
                                                                ‫نصية‪ ،‬جوال) وتم استبدال عدد ‪ 5.067‬كفالة‪.‬‬

          ‫ً‬
  ‫سلفا فقد تم‬ ‫‪3.3‬وفي جانب التواصل مع المتبرعين وتسليم التقارير لهم بالطرق المحددة من ِقبل المتبرعين‬
  ‫ارسال تقارير عدد ‪ 85.538‬تقرير ما بين كفاالت ومشاريع‪ ،‬هذا بخالف التقارير التي ال توجد لها وسيلة تواصل‬
                                                                                             ‫مع المتبرعين‪.‬‬

  ‫‪4.4‬فيما يخص التحصيل وجمع التبرعات فقد تم التواصل ومتابعة الحمالت المقامة واستقبال المكالمات الخاصة بهذه‬
   ‫الحمالت والتأكد من تحصليها حيث بلغ المبلغ المحقق من خالل مركز االتصال وخدمة العمالء ‪24.412.000‬ر‪.‬ق‪.‬‬




  ‫التقرير السنوي لعام ‪2014‬‬                                                                                   ‫‪30‬‬
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        ‫الملخص المالي‬

                  ‫لعام ‪2014‬م‬




   ‫‪31‬‬                                                             ‫التقرير السنوي لعام ‪2014‬‬
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                                               ‫النظام المالي‪:‬‬

  ‫إن النظام المالي المطبق في قطر الخيرية يتكون من مجموعة متكاملة من اإلجراءات والسياسات المالية‬
  ‫المنظمة إلدارة األعمال المالية والمحاسبية‪ ،‬إن هذه األنظمة التي تم إعدادها وفقا لمعايير المحاسبة الدولية‬
  ‫والمبادئ المحاسبية المتعارف عليها‪ ،‬ولألنظمة والقوانين الموضوعة من قبل الجهات الحكومية داخل الدولة‪ ،‬كما أن‬
                           ‫ً‬
  ‫وفقا للمعايير الدولية إلعداد‬ ‫التقارير التي تصدر عن هذا النظام وخاصة التقارير المالية للحسابات الختامية فهي تصدر‬
                                                                                           ‫التقارير المالية الدولية‪.‬‬


                                                                                           ‫السياسة المالية‪:‬‬

              ‫هناك العديد من السياسات المالية المطبقة بقطر الخيرية‪ ،‬ونوجز أهم هذه السياسات فيما يلي‪:‬‬

                                        ‫‪1.1‬تطبيق أساس االستحقاق‪ ،‬والذي يحقق مبدأ استقالل الفترات المالية‪.‬‬

                                                                           ‫‪2.2‬السياسات المتعلقة باالستثمارات‪.‬‬

                                                          ‫‪3.3‬السياسات المتعلقة بالممتلكات والمعدات واألالت‪.‬‬

                                                                       ‫‪4.4‬السياسات المتعلقة بتحقيق اإليرادات‪.‬‬

                                                                  ‫‪5.5‬السياسات المتعلقة بالنقد والنقد المعادل‪.‬‬

                                                                               ‫‪6.6‬السياسات المتعلقة بالمخزون‪.‬‬

  ‫هذا بخالف العديد من السياسات المحاسبية األخرى التي تم ذكرها بالتفصيل في تقرير مراقبي حسابات‬
                                                                                                           ‫الجمعية‪.‬‬


                                                                                            ‫األهداف المالية‪:‬‬

  ‫‪1.1‬بناء نظام مالي متطور وفق المعايير والممارسات الدولية المتطورة‪ ،‬وصياغة سياسات مالية وإدارية تحقق منها‬
                                                                           ‫أهداف وجود رقابة داخلية للجمعية‪.‬‬

  ‫‪2.2‬تطوير مستوى األداء من خالل تطوير الهيكل التنظيمي‪ ،‬بحيث يكون واضح المهام والمسئوليات‪ ،‬وذلك لتحقيق‬
              ‫الدعم والمساندة لجميع إدارات الجمعية‪ ،‬والعمل على تقديم الخدمات بالكفاءة والسرعة الممكنة‪.‬‬

     ‫‪ 3.3‬تطوير مستوى أداء التقارير المالية المقدمة على أن يتم تقديمها بصورة دورية ودقيقة إلى إدارة الجمعية‪.‬‬

     ‫‪4.4‬استخدام أفضل التطبيقات العالمية في مجال تقنية المعلومات المتعلقة بأنظمة اإلدارة المالية والتحليلية‪.‬‬

  ‫‪5.5‬تقوية وتطوير قدرات كفاءة العاملين عن طريق استخدام أفضل البرامج التدريبية‪.‬في مجال معايير المحاسبة‬
                                                                                                       ‫الدولية‪.‬‬

                              ‫‪6.6‬إعداد قسم الرقابة والموازنة سيكون له األثر األكبر في دعم الرقابة بصفة دورية‪.‬‬

                         ‫‪7.7‬الضبط المالي واإلداري بالمكاتب الخارجية بالتعاون مع اإلدارة التنفيذية التنمية الدولية‪.‬‬




   ‫‪33‬‬                                                                                         ‫التقرير السنوي لعام ‪2014‬‬
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                                                                          ‫أوال‪ :‬بيان المركز المالي للجمعية‪:‬‬

  ‫•تم اعداد البيانات المالية وفقا للمعايير الدولية إلعداد التقارير المالية وقد تم تدقيقها من قبل مكتب (جرانت‬
  ‫ثورنتون – العيد وشركاه) وقد تبين من تقرير المدقق ان الجمعية تحتفظ بسجالت محاسبية منتظمة متفقة مع‬
                                                            ‫البيانات المالية‪ ،‬وقد أصدر تقريره بدون أي تحفظات‪.‬‬

                                                                ‫وفيما يلي التعليق على المركز المالي للجمعية‪:‬‬

                                                                                                      ‫الموجودات‪:‬‬

                  ‫معدل النمو‬                        ‫المبلغ بالريال‬                            ‫السنة‬

                      ‫‪18%‬‬                       ‫‪1,144,321,189‬‬                                 ‫‪2014‬‬

                      ‫‪22%‬‬                           ‫‪970,731,911‬‬                               ‫‪2013‬‬

                       ‫‪8%‬‬                           ‫‪798,573,831‬‬                               ‫‪2012‬‬

                                                    ‫‪741,150,986‬‬                               ‫‪2011‬‬

  ‫•من الجدول السابق يتبين ان أجمالي الموجودات زاد بنسبة ‪ 18%‬من عام ‪ 2013‬الى عام ‪ 2014‬وبنسبة زيادة‬
                                                                              ‫‪ 22%‬من عام ‪ 2012‬الى عام ‪2013‬‬


                                                                                             ‫‪1,144,321,189‬‬
                                                                     ‫‪970,731,911‬‬
                ‫‪741,150,986‬‬           ‫‪798,573,831‬‬


                  ‫‪2011‬‬                  ‫‪2012‬‬                           ‫‪2013‬‬                     ‫‪2014‬‬

                                                                         ‫ويتكون بند الموجودات من البنود التالية‪:‬‬

  ‫(الممتلكات واآلالت والمعدات ‪-‬االستثمارات العقارية ‪-‬االستثمارات المتاحة للبيع ‪-‬االستثمارات بغرض المتاجرة‬
  ‫‪-‬االستثمارات في شركات تابعة ‪-‬النقد والنقد المعادل– المخزون ‪-‬النقدية لدى المكاتب الخارجية ‪-‬أوراق القبض‬
                                                                                                ‫‪-‬أرصدة مدينة أخرى)‪.‬‬

                                                       ‫لذا ومن خالل تحليل أهم بنود الموجودات يتضح ما يلي‪:‬‬

                                                                                    ‫‪ -1‬ممتلكات وآالت ومعدات‪:‬‬

                 ‫معدل النمو‬                         ‫المبلغ بالريال‬                            ‫السنة‬

                     ‫‪0.2%‬‬                           ‫‪74,900,128‬‬                                 ‫‪2014‬‬

                    ‫‪471%‬‬                            ‫‪74,777,390‬‬                                 ‫‪2013‬‬

                     ‫‪-2%‬‬                            ‫‪13,099,229‬‬                                 ‫‪2012‬‬

                                                    ‫‪13,379,592‬‬                                 ‫‪2011‬‬

  ‫•ارتفعت صافي قيمة الممتلكات واآلالت والمعدات في الجمعية بنسبة طفيفة إلى مبلغ ‪74,900,128‬ريال‬
  ‫قطري في عام ‪ 2015‬وبمعدل نمو بلغ ‪ ،0.2%‬وترجع الزيادة الفعلية لعام ‪ 2013‬من تقييم أرصدة المقر الرئيسي‬
                                                                                                ‫ودمجها للدفاتر‪.‬‬



  ‫التقرير السنوي لعام ‪2014‬‬                                                                                         ‫‪34‬‬
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                                                                       ‫‪74,777,390‬‬            ‫‪74,900,128‬‬




                                       ‫‪13,099,229‬‬

               ‫‪2011‬‬                      ‫‪2012‬‬                            ‫‪2013‬‬                   ‫‪2014‬‬

                                                                                               ‫‪ -2‬االستثمارات‪:‬‬

    ‫زيادة حجم محفظة االستثمارات العقارية والمالية بمعدل نمو ‪ 21%‬عن العام السابق كما هو موضح بالجدول‪:‬‬

        ‫‪2011‬‬                ‫‪2012‬‬                ‫‪2013‬‬                    ‫‪2014‬‬                  ‫البيـــــــــان‬

    ‫‪465,666,571‬‬        ‫‪483,425,173‬‬         ‫‪524,406,421‬‬            ‫‪637,187,693‬‬              ‫قيمة المحفظة العقارية‬

     ‫‪35,054,224‬‬           ‫‪40,905,804‬‬        ‫‪65,587,569‬‬                ‫‪70,298,867‬‬    ‫قيمة محفظة األسهم للمتاجرة‬

                                                                                     ‫قيمة محفظة األسهم المتاحة‬
     ‫‪33,041,627‬‬           ‫‪32,679,498‬‬        ‫‪39,452,408‬‬                ‫‪55,442,792‬‬
                                                                                                          ‫للبيع‬

    ‫‪533,762,422‬‬        ‫‪557,010,475‬‬         ‫‪629,446,398‬‬           ‫‪762,929,352‬‬                  ‫اإلجمالي‬

                             ‫‪4%‬‬                 ‫‪13%‬‬                      ‫‪21%‬‬                 ‫معدل النمو‬

                                                                                    ‫‪ 2 / 1‬االستثمارات العقارية‪:‬‬

             ‫معدل النمو‬                              ‫المبلغ بالريال‬                          ‫السنة‬

               ‫‪21.5%‬‬                                ‫‪637,187,693‬‬                               ‫‪2014‬‬

                  ‫‪8%‬‬                                ‫‪524,406,421‬‬                               ‫‪2013‬‬

                  ‫‪4%‬‬                                ‫‪483,425,173‬‬                               ‫‪2012‬‬

                                                    ‫‪465,666,571‬‬                               ‫‪2011‬‬

  ‫•خالل عام ‪ 2014‬قامت الجمعية بشراء عقار جديد بتكلفة ‪ 52‬مليون ريال واستالم عقار كهبة تقدر قيمته ‪3.26‬‬
  ‫فضال عن السياسة المتبعة من ‪ 2013‬والمطبقة بأثر رجعي من ‪2011‬م باحتساب القيمة‬
                                                                         ‫ً‬   ‫مليون ريال قطري‪،‬‬
                       ‫العادلة والتي أضافة إلى قيمة العقارات ما يزيد عن ‪ 57‬مليون ريال قطري خالل ‪2014‬م‪.‬‬




            ‫‪465,666,571‬‬                ‫‪483,425,173‬‬                    ‫‪524,406,421‬‬            ‫‪637,187,693‬‬


               ‫‪2011‬‬                      ‫‪2012‬‬                           ‫‪2013‬‬                    ‫‪2014‬‬




   ‫‪35‬‬                                                                                           ‫التقرير السنوي لعام ‪2014‬‬
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                                                                     ‫‪ :2 /1/1‬معدل العائد على االستثمارات العقارية‪:‬‬

                                                                 ‫إيرادات االستثمارات العقارية‬
                              ‫القيمة الدفترية‬
      ‫معدل العائد‬                                                            ‫أرباح إعادة‬                               ‫السنة‬
                                 ‫للعقارات‬               ‫اإلجمالي‬                                    ‫اإليرادات‬
                                                                              ‫التقييم‬
         ‫‪16.0%‬‬                ‫‪637,187,693‬‬              ‫‪102,039,425‬‬         ‫‪57,474,990‬‬              ‫‪44,564,435‬‬          ‫‪2014‬‬

         ‫‪15.7%‬‬                ‫‪524,406,421‬‬              ‫‪82,334,718‬‬          ‫‪41,178,000‬‬              ‫‪41,156,718‬‬          ‫‪2013‬‬

         ‫‪12.1%‬‬                ‫‪483,425,173‬‬              ‫‪58,297,186‬‬          ‫‪18,000,000‬‬              ‫‪40,297,186‬‬          ‫‪2012‬‬

         ‫‪34.8%‬‬                ‫‪465,666,571‬‬              ‫‪161,947,921‬‬         ‫‪123,420,004‬‬             ‫‪38,527,917‬‬          ‫‪2011‬‬

  ‫•بلغ العائد على االستثمار ات العقارية مبلغ ‪ 102,039,425‬ريال قطري في عام ‪ 2014‬بنسبة زيادة قدرها ‪16%‬‬
  ‫عن عام ‪ ،2013‬وترجع الزيادة الكبرى في عام ‪2011‬م لتغيير السياسة المحاسبية لالستثمارات العقارية (احتساب‬
                                                                 ‫احتياطي القيمة العادلة) بأثر رجعي من عام ‪2011‬م‪.‬‬




                                                                         ‫‪mc‬‬
                                                                                    ‫‪15.9%‬‬
     ‫‪■ 2014‬‬
     ‫‪■ 2013‬‬
     ‫‪■ 2012‬‬                                 ‫‪34.8% -7‬‬       ‫_‪.0,.......‬‬
     ‫‪■ 2011‬‬                                                                                ‫‪15.7%‬‬

                                                                                 ‫‪12.1%‬‬



                                                                                     ‫‪ :2/ 2‬االستثمارات المتاحة للبيع‪:‬‬

                 ‫معدل النمو‬                 ‫قيمة محفظة األسهم المتاحة للبيع‬                            ‫السنة‬
                    ‫‪40.5%‬‬                                  ‫‪55,442,792‬‬                                  ‫‪2014‬‬
                     ‫‪21%‬‬                                   ‫‪39,452,408‬‬                                  ‫‪2013‬‬
                     ‫‪-1%‬‬                                   ‫‪32,679,498‬‬                                  ‫‪2012‬‬
                                                           ‫‪33,041,627‬‬                                  ‫‪2011‬‬

  ‫•زادت االستثمارات المتاحة للبيع في الجمعية نتيجة زيادة حجم استثمار الجمعية في تطوير قطاع الثروة السمكية‬
  ‫بجزر القمر بمبلغ وقدره ‪ 1.75‬مليون دوالر أمريكي واالستثمار في الصكوك اإلسالمية بمصرف الريان بمبلغ ‪10‬‬
                                    ‫مليون ريال قطري‪ ،‬مما أدى إلى زيادة االستثمارات المتاحة للبيع بنسبة ‪.40.5%‬‬



                                                                                                       ‫‪55,442,791.63‬‬

                                                                         ‫‪39,452,408.00‬‬
              ‫‪33,041,627.00‬‬                ‫‪32,679,498.00‬‬




                  ‫‪2011‬‬                          ‫‪2012‬‬                        ‫‪2013‬‬                          ‫‪2014‬‬



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                                                           ‫‪ :2 /2 /1‬معدل العائد على االستثمارات المتاحة للبيع‪:‬‬

                                ‫قيمة محفظة األسهم‬
          ‫معدل النمو‬                                                 ‫اإليرادات‬                     ‫السنة‬
                                   ‫المتاحة للبيع‬
              ‫‪4.0%‬‬                   ‫‪55,442,792‬‬                    ‫‪2,223,064‬‬                       ‫‪2014‬‬

              ‫‪4.4%‬‬                   ‫‪39,452,408‬‬                    ‫‪1,724,053‬‬                       ‫‪2013‬‬

              ‫‪4.9%‬‬                   ‫‪32,679,498‬‬                    ‫‪1,598,530‬‬                       ‫‪2012‬‬

              ‫‪3.8%‬‬                   ‫‪33,041,627‬‬                    ‫‪1,241,356‬‬                       ‫‪2011‬‬

  ‫•يعتبر معدل العائد على تلك االستثمارات قليل مقارنة باالستثمارات في األسهم المدرجة بالبورصة لغرض‬
  ‫المتاجرة‪ ،‬وكما يالحظ أنه ال يوجد تفاوت كبير في اإليرادات المستلمة من تلك االستثمارات خالل السنوات األربع‬
                                                                                                          ‫األخيرة‪.‬‬

                                                                                 ‫‪4.0%‬‬
                                          ‫‪3.8%‬‬
     ‫‪■ 2014‬‬
     ‫‪■ 2013‬‬                                                        ‫‪III‬‬

     ‫‪■ 2012‬‬
                                                      ‫‪IN‬‬         ‫‪1.--‬‬            ‫‪--- 4.4%‬‬
     ‫‪■ 2011‬‬
                                              ‫‪4.9%‬‬



                                                                                ‫‪ :2/ 3‬استثمارات األسهم المدرجة‪:‬‬

              ‫معدل النمو‬                 ‫قيمة محفظة األسهم للمتاجرة‬                            ‫السنة‬

                 ‫‪7.2%‬‬                                 ‫‪70,298,867‬‬                               ‫‪2014‬‬

                 ‫‪60%‬‬                                  ‫‪65,587,569‬‬                               ‫‪2013‬‬

                 ‫‪17%‬‬                                  ‫‪40,905,804‬‬                               ‫‪2012‬‬

                                                      ‫‪35,054,224‬‬                               ‫‪2011‬‬

                       ‫•تمثل الزيادة في قيمة المحفظة والناتجة عن عمليات التداول مبلغ وقدرة ‪ 4.7‬مليون ريال‪.‬‬




                                                                   ‫‪65,587,569.00‬‬              ‫‪70,298,867.30‬‬

            ‫‪35,054,224.00‬‬             ‫‪40,905,804.00‬‬


               ‫‪2011‬‬                      ‫‪2012‬‬                            ‫‪2013‬‬                    ‫‪2014‬‬




   ‫‪37‬‬                                                                                            ‫التقرير السنوي لعام ‪2014‬‬
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                                                         ‫‪ :2/ 3/ 1‬معدل العائد على االستثمارات في األسهم المدرجة‪:‬‬

                                                                   ‫إيرادات استثمارات للمتاجرة‬
                          ‫قيمة محفظة‬
   ‫معدل العائد‬                                                                                                                ‫السنة‬
                        ‫األسهم للمتاجرة‬
                                                  ‫اإلجمالي‬              ‫أرباح إعادة التقييم‬         ‫اإليرادات المستلمة‬

       ‫‪10.7%‬‬                 ‫‪70,298,867‬‬         ‫‪7,537,250‬‬                     ‫‪4,537,494‬‬                   ‫‪2,999,756‬‬           ‫‪2014‬‬

        ‫‪7.3%‬‬                 ‫‪65,587,569‬‬         ‫‪4,773,679‬‬                     ‫‪2,679,769‬‬                   ‫‪2,093,910‬‬           ‫‪2013‬‬

        ‫‪7.9%‬‬                 ‫‪40,905,804‬‬         ‫‪3,232,140‬‬                     ‫‪1,446,855‬‬                   ‫‪1,785,285‬‬           ‫‪2012‬‬

       ‫‪12.0%‬‬                 ‫‪35,054,224‬‬         ‫‪4,190,695‬‬                     ‫‪2,713,459‬‬                   ‫‪1,477,236‬‬           ‫‪2011‬‬

                ‫•بلغ العائد على االستثمارات باألسهم للمتاجرة مبلغ ‪ 7,537.250‬ريال قطري وبمعدل نمو ‪.10.7%‬‬


                                            ‫‪12.0%‬‬
                                                    ‫•‪-‬‬                        ‫‪m‬‬     ‫‪iii„..........----- 10.7%‬‬
     ‫‪■ 2014‬‬
     ‫‪■ 2013‬‬
     ‫‪■ 2012‬‬
     ‫‪■ 2011‬‬
                                                                                               ‫‪7.3%‬‬
                                          ‫‪7.9% -- --‬‬     ‫‪1‬‬       ‫‪11W‬‬




                                                                                                      ‫‪ -3‬النقد والنقد المعادل‪:‬‬

                 ‫معدل النمو‬                                  ‫المبلغ بالريال‬                                     ‫السنة‬

                     ‫‪21%‬‬                                  ‫‪208,144,481‬‬                                           ‫‪2014‬‬

                      ‫‪1%‬‬                                  ‫‪171,976,114‬‬                                           ‫‪2013‬‬

                     ‫‪31%‬‬                                  ‫‪170,394,884‬‬                                           ‫‪2012‬‬

                                                          ‫‪130,321,436‬‬                                           ‫‪2011‬‬

     ‫•حدثت زيادة في النقد والنقد المعدل عن العام السابقة بنسبة ‪ 21%‬بسبب نمو اإليرادات عن العام السابق‪.‬‬



                                                                                                                ‫‪208,144,481‬‬
                                            ‫‪170,394,884‬‬                       ‫‪171,976,114‬‬
               ‫‪130,321,436‬‬


                  ‫‪2011‬‬                        ‫‪2012‬‬                                ‫‪2013‬‬                            ‫‪2014‬‬




  ‫التقرير السنوي لعام ‪2014‬‬                                                                                                       ‫‪38‬‬
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                                     ‫‪800‬‬
    ‫الملخص المالي لعام ‪2014‬م‬


                                                                                                     ‫‪ -4‬المخزون‪:‬‬

            ‫معدل النمو‬                 ‫صافي القيمة الدفترية للمخزون‬                           ‫السنة‬

               ‫‪-16%‬‬                                 ‫‪2,053,939‬‬                                 ‫‪2014‬‬

               ‫‪-39%‬‬                                 ‫‪2,443,519‬‬                                 ‫‪2013‬‬

               ‫‪33%‬‬                                  ‫‪3,997,180‬‬                                 ‫‪2012‬‬

                                                    ‫‪3,013,851‬‬                                 ‫‪2011‬‬

               ‫•حدث انخفاض بالمخزون االستراتيجي بنسبة ‪ -16%‬نتيجة توزيع كل مخزون أطباق إفطار الصائم‪.‬‬




                                      ‫‪3,997,180‬‬

            ‫‪3,013,851‬‬
                                                                    ‫‪2,443,519‬‬
                                                                                               ‫‪2,053,939‬‬



              ‫‪2011‬‬                     ‫‪2012‬‬                          ‫‪2013‬‬                        ‫‪2014‬‬



                                                                                ‫‪ -5‬أرصدة لدى المكاتب الميدانية‪:‬‬

                                                  ‫ويمثل الرصيد الدفتري لمكاتب قطر الخيرية الميدانية الخارجية‬

            ‫معدل النمو‬                             ‫المبلغ بالريال‬                             ‫السنة‬

              ‫‪10.2%‬‬                                 ‫‪65,584,191‬‬                                ‫‪2014‬‬

               ‫‪96%‬‬                                  ‫‪59,511,034‬‬                                ‫‪2013‬‬

                                                    ‫‪30,426,438‬‬                                ‫‪2012‬‬

  ‫•بلغت نسبة الزيادة ‪ 10%‬عن العام السابق وهي نسبة معقولة نتيجة زيادة حجم المشروعات المطلوب تنفيذها‬
                     ‫في الميدان مع االخذ في االعتبار سياسية الحرص والحذر في متابعة األرصدة خارج الدولة‪.‬‬



                                                                                           ‫‪78,785,404‬‬
                                                     ‫‪59,511,034‬‬
               ‫‪30,426,438‬‬


                 ‫‪2012‬‬                                  ‫‪2013‬‬                                  ‫‪2014‬‬




   ‫‪39‬‬                                                                                           ‫التقرير السنوي لعام ‪2014‬‬
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                                     ‫‪801‬‬
                                                       ‫الملخص المالي لعام ‪2014‬م‬


                                                                                           ‫‪ -6‬أرصدة مدينة أخرى‪:‬‬

                 ‫معدل النمو‬                          ‫المبلغ بالريال‬                            ‫السنة‬

                    ‫‪-6.5%‬‬                            ‫‪27,438,846‬‬                                ‫‪2014‬‬

                     ‫‪35%‬‬                             ‫‪29,342,228‬‬                                ‫‪2013‬‬

                     ‫‪10%‬‬                             ‫‪21,728,091‬‬                                ‫‪2012‬‬

                                                     ‫‪19,670,174‬‬                                ‫‪2011‬‬

  ‫•بلغت نسبة االنخفاض في األرصدة المدينة األخرى ‪ 6.5-%‬عن العام السابق‪ ،‬ويعد العامل المؤثر في هذ‪1‬‬
  ‫االنخفاض هي انخفاض اإليرادات المستحقة نتيجة الحرص الشديد من إدارة الجمعية على تحصيل مستحقاتها‬
  ‫بشكل دوري لدى الشركاء المحليين وعلى رأسهم شركة أور يدو لالتصاالت وبلغت مستحقات الجمعية لديها بما‬
                                                                                   ‫يتراوح و‪ 4.7‬مليون ريال قطري‪.‬‬




                                                                      ‫‪29,342,228‬‬               ‫‪27,438,846‬‬
                ‫‪19,670,174‬‬              ‫‪21,728,091‬‬


                   ‫‪2011‬‬                   ‫‪2012‬‬                          ‫‪2013‬‬                     ‫‪2014‬‬


                                                                                                       ‫المطلوبات‪:‬‬

               ‫التغير النسبي‬                         ‫المبلغ بالريال‬                            ‫السنة‬

                     ‫‪18%‬‬                         ‫‪1,144,321,189‬‬                                 ‫‪2014‬‬

                     ‫‪22%‬‬                             ‫‪970,731,911‬‬                               ‫‪2013‬‬

                      ‫‪8%‬‬                             ‫‪798,573,831‬‬                               ‫‪2012‬‬

                                                     ‫‪741,150,986‬‬                               ‫‪2011‬‬

  ‫•يتبين من الجدول السابق ان أجمالي المطلوبات زادت بنسبة ‪ 18%‬من عام ‪ 2013‬الى عام ‪ 2014‬وبنسبة زيادة‬
                                                                            ‫‪ 22%‬من عام ‪ 2012‬الى عام ‪2013‬م‪.‬‬

                                                                         ‫ويتكون بند المطلوبات من البنود التالية‪:‬‬

           ‫(األموال الموظفة – احتياطي إعادة تقييم العقارات ‪-‬المطلوبات غير المتداولة – المطلوبات المتداولة)‪.‬‬

                                                        ‫لذا ومن خالل تحليل أهم بنود المطلوبات يتضح ما يلي‪:‬‬

                                                                                              ‫األموال الموظفة‪:‬‬

                                                                       ‫ويقصد بها الوفر المتجمع في نهاية السنة‬



  ‫التقرير السنوي لعام ‪2014‬‬                                                                                         ‫‪40‬‬
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                                     ‫‪802‬‬
    ‫الملخص المالي لعام ‪2014‬م‬



              ‫معدل النمو‬                     ‫األموال الموظفة‬                            ‫السنة‬

                 ‫‪25%‬‬                              ‫‪289,224,000‬‬                           ‫‪2014‬‬

                 ‫‪33%‬‬                              ‫‪231,860,394‬‬                           ‫‪2013‬‬

                 ‫‪-12%‬‬                             ‫‪173,754,635‬‬                           ‫‪2012‬‬

                   ‫‪0‬‬                              ‫‪196,815,692‬‬                           ‫‪2011‬‬

        ‫•زادت األموال الموظفة عن العام السابق بنسبة ‪ 25%‬وذلك نتيجة شراء عقار جديد بقيمة ‪ 52‬مليون ريال‪.‬‬




                                                                                        ‫‪289,224,000‬‬
             ‫‪196,815,692‬‬                                        ‫‪231,860,394‬‬
                                    ‫‪173,754,635‬‬

               ‫‪2011‬‬                   ‫‪2012‬‬                        ‫‪2013‬‬                    ‫‪2014‬‬


                                                                   ‫احتياطي إعادة تقييم استثمارات عقارية‪:‬‬

                                   ‫ويقصد بها األرباح الناتجة عن احتساب القيمة العادلة لالستثمارات العقارية‬

              ‫معدل النمو‬                  ‫القيمة العادلة للعقارات‬                       ‫السنة‬

                 ‫‪31%‬‬                              ‫‪240,072,995‬‬                           ‫‪2014‬‬

                 ‫‪29%‬‬                              ‫‪182,598,005‬‬                           ‫‪2013‬‬

                 ‫‪15%‬‬                              ‫‪141,420,004‬‬                           ‫‪2012‬‬

                   ‫‪0‬‬                              ‫‪123,420,004‬‬                           ‫‪2011‬‬

                             ‫•زيادة احتياطي إعادة تقييم االستثمارات العقارية عن العام السابق بنسبة ‪.31%‬‬



                                                                                        ‫‪240,072,995‬‬
                                                                ‫‪182,598,005‬‬
             ‫‪123,420,004‬‬            ‫‪141,420,004‬‬


               ‫‪2011‬‬                   ‫‪2012‬‬                        ‫‪2013‬‬                    ‫‪2014‬‬




   ‫‪41‬‬                                                                                     ‫التقرير السنوي لعام ‪2014‬‬
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                                     ‫‪803‬‬
                                                       ‫الملخص المالي لعام ‪2014‬م‬


                                                                                       ‫المطلوبات غير المتداولة‪:‬‬

                ‫معدل النمو‬                           ‫المبلغ بالريال‬                            ‫السنة‬

                      ‫‪5%‬‬                             ‫‪182,504,004‬‬                               ‫‪2014‬‬

                     ‫‪40%‬‬                             ‫‪191,293,635‬‬                               ‫‪2013‬‬

                     ‫‪-8%‬‬                             ‫‪137,109,157‬‬                               ‫‪2012‬‬

                                                     ‫‪148,524,641‬‬                               ‫‪2011‬‬

  ‫•انخفضت المطلوبات غير المتداولة عن العام السابق بنسبة ‪ 5%‬وذلك نتيجة انخفاض التمويالت عن طريق المرابحة‬
  ‫طويلة األجل بمبلغ ‪ 12‬مليون ريال‪ ،‬مع األخذ باالعتبار من زيادة اإليرادات المؤجلة نتيجة اقتناء عقار جديد كهبة‬
                                                                                     ‫بمقدار ‪ 3‬مليون ريال قطري‪.‬‬



                                                                      ‫‪191,293,635‬‬              ‫‪182,504,004‬‬
               ‫‪148,524,641‬‬             ‫‪137,109,157‬‬




                  ‫‪2011‬‬                   ‫‪2012‬‬                           ‫‪2013‬‬                      ‫‪2014‬‬


                                                                                           ‫المطلوبات المتداولة‪:‬‬

                 ‫معدل النمو‬                     ‫المطلوبات المتداولة‬                            ‫السنة‬

                     ‫‪19%‬‬                             ‫‪432,520,192‬‬                               ‫‪2014‬‬

                      ‫‪5%‬‬                             ‫‪364,979,876‬‬                               ‫‪2013‬‬

                     ‫‪27%‬‬                             ‫‪346,748,212‬‬                               ‫‪2012‬‬

                       ‫‪0‬‬                             ‫‪272,390,649‬‬                               ‫‪2011‬‬

  ‫•ارتفعت المطلوبات المتداولة عن العام السابق بنسبة ‪ 19%‬وذلك نتيجة التغير اإلضافي في صافي الحركة على‬
                                                                                ‫االلتزامات المؤقتة ألغراض محددة‪.‬‬




                                                                                               ‫‪432,520,192‬‬

                                       ‫‪346,748,212‬‬                    ‫‪364,979,876‬‬

                ‫‪272,390,649‬‬




                   ‫‪2011‬‬                  ‫‪2012‬‬                           ‫‪2013‬‬                     ‫‪2014‬‬




  ‫التقرير السنوي لعام ‪2014‬‬                                                                                         ‫‪42‬‬
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                                     ‫‪804‬‬
    ‫الملخص المالي لعام ‪2014‬م‬


                                                                                                                  ‫ً‬
                                                                                            ‫ثانيا‪ :‬نتائج أعمال الجمعية‪:‬‬
    ‫نسبة تغير عام‬
       ‫‪ 2014‬لــ‬
                                ‫‪2014‬‬            ‫‪2013‬‬                   ‫‪2012‬‬               ‫‪2011‬‬               ‫البيــــان‬
   ‫‪2013‬‬      ‫‪2012‬‬

    ‫‪43%‬‬       ‫‪58%‬‬        ‫‪920,600,757‬‬       ‫‪645,531,012‬‬           ‫‪581,794,068‬‬           ‫‪350,083,373‬‬               ‫المقبوضات‬

                                                                                                        ‫مدفوعات األنشطة‬
    ‫‪51%‬‬       ‫‪66%‬‬        ‫‪799,651,876‬‬       ‫‪529,938,496‬‬           ‫‪482,167,537‬‬           ‫‪304,931,175‬‬       ‫الرئيسية والفرعية‬
                                                                                                               ‫والتشغيلية‬

    ‫‪24%‬‬       ‫‪36%‬‬         ‫‪42,229,915‬‬        ‫‪34,129,920‬‬            ‫‪31,154,371‬‬           ‫‪27,129,209‬‬       ‫المصروفات اإلدارية‬

                                                                                                        ‫أجمالي المدفوعات‬
    ‫‪49%‬‬       ‫‪64%‬‬        ‫‪841,881,791‬‬       ‫‪564,068,387‬‬           ‫‪513,321,908‬‬           ‫‪332,060,384‬‬
                                                                                                             ‫عدا اإلهالك‬

    ‫‪-3%‬‬      ‫‪15%‬‬          ‫‪78,718,966‬‬       ‫‪81,462,625‬‬             ‫‪68,472,160‬‬           ‫‪18,022,989‬‬       ‫صافي االلتزامات‬


                                                                                         ‫من الجدول السابق يتضح ما يلي‪:‬‬

  ‫•زيادة المقبوضات من عام ‪2013‬م الى عام ‪2014‬م بنسبة نمو قدرها ‪ % 43‬وبالمقارنة مع عام ‪ 2012‬كانت نسبة‬
  ‫النمو ‪ % 58‬وهي نسبة غير مسبوقة على مدار عمر قطر الخيرية وقد بلغت المقبوضات في عام ‪ 2014‬مبلغ‬
                                   ‫‪ 920‬مليون ريال قطري بالمقارنة بعام ‪ 2013‬والبالغة ‪ 645‬مليون ريال قطري‪.‬‬

  ‫•زيادة المدفوعات لألنشطة الرئيسية والفرعية والتشغيلية من عام ‪2013‬م الى عام ‪2014‬م بنسبة نمو قدرها‬
  ‫‪ % 51‬وبالمقارنة مع عام ‪ 2012‬كانت نسبة النمو ‪ % 66‬حيث بلغت ‪ 799‬مليون ريال قطري بالمقارنة بعام ‪2013‬‬
  ‫البالغة ‪529‬مليون ريال قطري حيث تم إضافة قيمة شراء عقار ات إستثمارية بقيمة ‪ 52‬مليون ضمن مدفوعات‬
                                                  ‫األنشطة الرئيسية والفرعية وذلك مقابلة تبرعات مخصصة لذلك‪.‬‬

  ‫•بلغت نسبة المصروفات اإلدارية في عام ‪ 2014‬نسبة ‪ 4.6%‬بالنسبة إلجمالي المقبوضات وبالمقارنة بعام‬
  ‫‪ 2013‬كانت نسبة المصروفات للمقبوضات ‪ 5.3%‬بينما زادات نسبة المصروفات من عام ‪ 2013‬الى عام ‪2014‬‬
  ‫بنسبة ‪ % 24‬وكان ذلك نتيجة المصروفات الغير مباشرة الناتجة عن زيادة حجم األنشطة والبرامج وتتبع الجمعية‬
                                                                              ‫سياسة تحميل التكاليف وفقا لمراكز التكلفة‪.‬‬




                                                                                                             ‫‪1,000,000‬‬
                                                                                                                          ‫‪in‬‬
                                                                                                                          ‫‪C‬‬
                                                                                                             ‫‪500,000‬‬       ‫‪In‬‬


            ‫ﺍﻟﻤﺼﺮﻭﻓﺎﺕ ﺍﻹﺩﺍﺭﻳﺔ‬          ‫ﻣﺪﻓﻮﻋﺎﺕ ﺍﻟﻤﺸﺎﺭﻳﻊ ﻭﺍﻟﻜﻔﺎﻻﺕ ﻭﺍﻟﺘﺸﻐﻴﻠﻴﺔ‬
                                                                                     ‫‪IL‬‬  ‫ﺍﻟﻤﻘﺒﻮﺿﺎﺕ‬
                                                                                                             ‫‪o‬‬
                                                                                                                           ‫=‬
                                                                                                                           ‫‪CO‬‬
                                                                                                                           ‫‪0‬‬
                                                                                                                          ‫‪.c‬‬
                                                                                                                          ‫—‪i‬‬



                                           ‫‪• 2011 . 2012 . 2013 . 2014‬‬




   ‫‪43‬‬                                                                                                   ‫التقرير السنوي لعام ‪2014‬‬
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                                                       ‫الملخص المالي لعام ‪2014‬م‬



                                                                                                    ‫المقبوضات‪:‬‬
  ‫نسبة تغيير ‪2014‬‬
                       ‫النسبة‬                          ‫المقبوضات‬
        ‫لــ‬
                        ‫إلى‬                                                                      ‫النشاط‬               ‫م‬
  ‫‪2013‬‬       ‫‪2012‬‬      ‫اإلجمالي‬      ‫‪2014‬‬          ‫‪2013‬‬          ‫‪2012‬‬         ‫‪2011‬‬

   ‫‪76%‬‬       ‫‪197%‬‬        ‫‪28%‬‬      ‫‪257,404,523‬‬   ‫‪146,054,869‬‬   ‫‪86,726,525‬‬    ‫‪58,583,223‬‬              ‫مشاريع خيرية‬      ‫‪1‬‬

   ‫‪22%‬‬       ‫‪36%‬‬         ‫‪17%‬‬      ‫‪153,969,954‬‬   ‫‪125,731,856‬‬   ‫‪112,968,527‬‬   ‫‪92,059,302‬‬    ‫كفاالت اجتماعية ودعوية‬      ‫‪2‬‬

   ‫‪76%‬‬       ‫‪28%‬‬         ‫‪11%‬‬      ‫‪105,538,060‬‬   ‫‪59,999,014‬‬    ‫‪82,343,860‬‬    ‫‪23,816,805‬‬        ‫مشاريع خيرية أوروبا‬     ‫‪3‬‬

   ‫‪3%‬‬        ‫‪-15%‬‬        ‫‪10%‬‬      ‫‪93,744,687‬‬    ‫‪91,414,812‬‬    ‫‪110,866,952‬‬   ‫‪49,977,698‬‬               ‫مشاريع إغاثة‬     ‫‪4‬‬

   ‫‪41%‬‬       ‫‪41%‬‬             ‫‪6%‬‬   ‫‪56,516,678‬‬    ‫‪40,001,523‬‬    ‫‪40,020,869‬‬    ‫‪30,650,085‬‬                    ‫زكاة مال‬    ‫‪5‬‬

   ‫‪13%‬‬       ‫‪11%‬‬             ‫‪6%‬‬   ‫‪55,552,374‬‬    ‫‪49,052,368‬‬    ‫‪50,234,898‬‬    ‫‪47,248,486‬‬            ‫ريع اإلستثمارات‬     ‫‪6‬‬

  ‫‪1707% 1080%‬‬                ‫‪6%‬‬   ‫‪52,910,075‬‬     ‫‪2,928,519‬‬     ‫‪4,483,248‬‬    ‫‪5,021,300‬‬        ‫استقطاعات وقفيات‬         ‫‪7‬‬

  ‫‪-31%‬‬       ‫‪56%‬‬             ‫‪5%‬‬   ‫‪46,252,906‬‬    ‫‪66,614,077‬‬    ‫‪29,608,610‬‬        ‫‪-‬‬               ‫مشاريع خيرية منح‬      ‫‪8‬‬

  ‫‪123%‬‬       ‫‪122%‬‬            ‫‪3%‬‬   ‫‪25,554,658‬‬    ‫‪11,441,837‬‬    ‫‪11,512,095‬‬    ‫‪5,018,814‬‬      ‫أسر متعففة داخل قطر‬        ‫‪9‬‬

   ‫‪40%‬‬       ‫‪19%‬‬             ‫‪2%‬‬   ‫‪16,689,481‬‬    ‫‪11,885,040‬‬    ‫‪13,980,747‬‬    ‫‪8,862,276‬‬                ‫‪ 10‬إفطار صائم‬

   ‫‪65%‬‬       ‫‪112%‬‬            ‫‪2%‬‬   ‫‪16,065,862‬‬     ‫‪9,707,767‬‬     ‫‪7,565,552‬‬    ‫‪5,278,029‬‬                      ‫‪ 11‬صدقات‬

   ‫‪20%‬‬       ‫‪15%‬‬             ‫‪1%‬‬   ‫‪12,263,603‬‬    ‫‪10,187,438‬‬    ‫‪10,691,243‬‬    ‫‪10,394,637‬‬                     ‫‪ 12‬أضاحي‬

   ‫‪15%‬‬        ‫‪6%‬‬             ‫‪1%‬‬    ‫‪9,766,030‬‬     ‫‪8,462,436‬‬     ‫‪9,221,543‬‬        ‫‪-‬‬                      ‫‪ 13‬طيف الخير‬

   ‫‪88%‬‬       ‫‪937%‬‬       ‫‪0.44%‬‬      ‫‪4,061,775‬‬     ‫‪2,156,488‬‬     ‫‪391,800‬‬          ‫‪-‬‬          ‫‪ 14‬مشروعات الحج والعمرة‬

   ‫‪26%‬‬       ‫‪43%‬‬        ‫‪0.33%‬‬      ‫‪3,080,503‬‬     ‫‪2,438,829‬‬     ‫‪2,147,974‬‬    ‫‪2,072,794‬‬         ‫‪ 15‬كفارات ونذر وعقائق‬

   ‫‪66%‬‬       ‫‪34%‬‬        ‫‪0.31%‬‬      ‫‪2,855,426‬‬     ‫‪1,715,282‬‬     ‫‪2,129,587‬‬    ‫‪1,876,092‬‬                     ‫‪ 16‬زكاة فطر‬

   ‫‪38%‬‬       ‫‪17%‬‬        ‫‪0.22%‬‬      ‫‪2,040,603‬‬     ‫‪1,478,743‬‬     ‫‪1,743,108‬‬    ‫‪1,721,966‬‬             ‫‪ 17‬مطبوعات دينية‬

   ‫‪19%‬‬       ‫‪393%‬‬       ‫‪0.21%‬‬      ‫‪1,955,599‬‬     ‫‪1,646,967‬‬     ‫‪396,303‬‬       ‫‪528,821‬‬        ‫‪ 18‬أنشطة ثقافية وتربوية‬

   ‫‪55%‬‬       ‫‪-13%‬‬       ‫‪0.19%‬‬      ‫‪1,735,674‬‬     ‫‪1,118,365‬‬     ‫‪1,994,208‬‬    ‫‪3,316,803‬‬                ‫‪ 19‬عالج مرضى‬

  ‫‪136%‬‬       ‫‪41%‬‬        ‫‪0.13%‬‬      ‫‪1,207,111‬‬     ‫‪512,324‬‬       ‫‪854,485‬‬        ‫‪49,685‬‬     ‫‪ 20‬مراكز تحفيظ القرآن الكريم‬

  ‫‪234%‬‬       ‫‪-40%‬‬       ‫‪0.13%‬‬      ‫‪1,152,056‬‬     ‫‪344,468‬‬       ‫‪1,911,933‬‬    ‫‪3,284,558‬‬         ‫‪ 21‬تطهير أسهم ‪-‬أخرى‬

                                                                                             ‫كسوة العيد والحقيبة‬
  ‫‪-56%‬‬        ‫‪0%‬‬        ‫‪0.03%‬‬       ‫‪283,119‬‬      ‫‪637,989‬‬           ‫‪-‬‬         ‫‪322,000‬‬                             ‫‪22‬‬
                                                                                                        ‫المدرسية‬

   ‫‪58%‬‬      ‫‪100%‬‬        ‫‪100%‬‬      ‫‪920,600,757 645,531,011 581,794,067 350,083,374‬‬                 ‫اإلجمالي‬


  ‫•من الجدول السابق نجد ان أعلى نسبة فعلية في المقبوضات تمثلت في بند المشروعات الخيرية حيث بلغت‬
  ‫‪ 28%‬من إجمالي مقبوضات عام م‪ ,2014‬ثم تلتها بنود (الكفاالت ‪ -‬مشروعات أوروبا‪ -‬االغاثة – زكاة المال –ريع‬

  ‫التقرير السنوي لعام ‪2014‬‬                                                                                           ‫‪44‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-25 Filed 03/18/22 Page 140 of 187 PageID #:‬‬
                                     ‫‪806‬‬
    ‫الملخص المالي لعام ‪2014‬م‬


  ‫االستثمارات – أسهم الوقف) فقد بلغت على التوالي ‪ 5.7% ،6% ,6.1% ،10.2% ،11.5%، 16.7%‬بينما كانت‬
                                                                    ‫اقل نسبة في بند كسوة العيد والحقيبة ‪.% 0.03‬‬

  ‫•من الجدول السابق نجد ان أعلى نسبة نمو في بنود المقبوضات بمقارنة عام ‪ 2014‬بعام ‪ 2013‬كانت أسهم‬
  ‫الوقف حيث بلغت نسبة النمو ‪ , 1707%‬بند أخرى ( تطهير أسهم وأخرى) ‪ ،234%‬بينما حدث إنخفاض في كسوة‬
                                                 ‫العيد والحقيبة ومشاريع خيرية منح بنسبة ‪ 31% ،56%‬على التوالي‪.‬‬

                                                                                                                   ‫‪100%‬‬

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                                         ‫وسوف نلقى بعض الضوء بالتحليل على بعض من التبرعات وفقا لما يلي‪:‬‬

                                                                                   ‫‪ -1‬الشراكات المحلية والدولية‪:‬‬
                                                                                                ‫ً‬
  ‫نظرا للسمعة الكبيرة التي تحتلها قطر الخيرية على مستوى العالم في مجال التنمية والمجال اإلنساني فقد‬
  ‫وثقت فيها العديد من المنظمات والهيئات والوزارات المحلية والدولية والشركات واألفراد بأن توكل إليها انجاز العديد‬
  ‫من المشروعات في جميع أنحاء العالم‪ ،‬وذلك لما تتمتع به قطر الخيرية من الخبرة والكفاءة من خالل مكاتبها المنتشرة‬
  ‫حول العالم وشركائها التنفيذيون‪ ،‬ولقد كانت المبالغ المستلمة من خالل هذه الشراكات خالل العام المالي ‪2014‬م‬
  ‫مبلغ وقدرة ‪ 75،5‬مليون ريال بنسبة زيادة قدرها ‪ 13.4%‬عن العام المالي ‪2013‬م والتي بلغت التبرعات المستلمة‬
                                                                                      ‫فيه مبلغ وقدرة ‪ 66.6‬مليون ريال‪.‬‬

                                                                                   ‫‪ -2‬إيرادات بيع التبرعات العينية‪:‬‬

             ‫معدل النمو‬                                 ‫المبلغ بالريال‬                          ‫السنة‬

                 ‫‪15%‬‬                                        ‫‪9,766,030‬‬                            ‫‪2014‬‬

                  ‫‪-8%‬‬                                       ‫‪8,462,436‬‬                            ‫‪2013‬‬

                     ‫‪0%‬‬                                     ‫‪9,221,543‬‬                            ‫‪2012‬‬

                                                                ‫‪-‬‬                                ‫‪2011‬‬

  ‫يعتبر مشروع التبرعات العينية من المشروعات التي لها صدى كبير داخل الدولة حيث ساهم كثيرا في رفع أعباء‬
  ‫المعيشة لآلسر المتعففة وبلغت إيرادات التبرعات العينية خالل عام ‪2014‬م مبلغ وقدرة ‪ 9,766,030‬ريال قطري‬
                                                                               ‫ونسبة زيادة ‪ 15%‬بالمقارنة بعام ‪ 2013‬م‪.‬‬


   ‫‪45‬‬                                                                                               ‫التقرير السنوي لعام ‪2014‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-25 Filed 03/18/22 Page 141 of 187 PageID #:‬‬
                                     ‫‪807‬‬
                                                       ‫الملخص المالي لعام ‪2014‬م‬




                                      ‫‪9,221,543‬‬                                                ‫‪9,766,030‬‬
                                                                   ‫‪8,462,436‬‬



                  ‫‪2011‬‬                 ‫‪2012‬‬                         ‫‪2013‬‬                        ‫‪2014‬‬


                                                                                            ‫‪ -3‬ريع االستثمار ات‪:‬‬

                ‫معدل النمو‬                        ‫المبلغ بالريال‬                             ‫السنة‬

                     ‫‪13%‬‬                          ‫‪55,552,374‬‬                                  ‫‪2014‬‬

                     ‫‪-2%‬‬                          ‫‪49,052,368‬‬                                  ‫‪2013‬‬

                      ‫‪6%‬‬                          ‫‪50,234,898‬‬                                  ‫‪2012‬‬

                                                  ‫‪47,248,485‬‬                                  ‫‪2011‬‬

  ‫•تقوم قطر الخيرية بإدارة أموال الهبات في عقارات استثمارية ومحفظة استثمارية متنوعة عن طريق خبراء‬
  ‫متخصصين في االستثمار العقاري واالستثمارات في االوراق المالية سواء المدرجة أو الغير مدرجة مما يدر عائد‬
  ‫يساهم بشكل كبير في توسيع رقعة المساعدات والصرف في أوجه البر المختلفة وإيمانا منها بتطبيق مبدأ‬
                                                                                            ‫االستمرارية المالية‪.‬‬

     ‫‪■ 2014‬‬                         ‫‪47,248,485‬‬                             ‫‪- 55,552,374‬‬

     ‫‪■ 2013‬‬
     ‫‪■ 2012‬‬
     ‫‪■ 2011‬‬                      ‫‪50,234,898‬‬                                    ‫‪49,052,368‬‬




  ‫التقرير السنوي لعام ‪2014‬‬                                                                                         ‫‪46‬‬
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                                     ‫‪808‬‬
    ‫الملخص المالي لعام ‪2014‬م‬



                                                   ‫مدفوعات األنشطة الرئيسية والفرعية والتشغيلية‪:‬‬

   ‫نسبة تغيير ‪ 2014‬لــ‬   ‫النسبة‬                             ‫مدفوعات‬
                          ‫الى‬                                                                    ‫النشاط‬            ‫م‬
    ‫‪2013‬‬       ‫‪2012‬‬      ‫اإلجمالي‬      ‫‪2014‬‬          ‫‪2013‬‬             ‫‪2012‬‬       ‫‪2011‬‬

   ‫‪50.3%‬‬     ‫‪107.3%‬‬       ‫‪42.4%‬‬     ‫‪316,749,775‬‬   ‫‪210,785,631‬‬   ‫‪152,773,136‬‬   ‫‪101,643,379‬‬        ‫مشاريع خيرية‬      ‫‪1‬‬

                                                                                               ‫كفاالت اجتماعية‬
   ‫‪19.9%‬‬      ‫‪39.9%‬‬       ‫‪20.5%‬‬     ‫‪152,909,640‬‬   ‫‪127,582,366‬‬   ‫‪109,295,196‬‬   ‫‪86,269,869‬‬                           ‫‪2‬‬
                                                                                                        ‫ودعوية‬

   ‫‪85.4%‬‬      ‫‪20.9%‬‬       ‫‪16.0%‬‬     ‫‪119,584,589‬‬   ‫‪64,493,501‬‬    ‫‪98,882,205‬‬    ‫‪30,335,583‬‬          ‫مشاريع اغاثية‬    ‫‪3‬‬

                                                                                             ‫أسر متعففة داخل‬
   ‫‪17.7%‬‬       ‫‪0.0%‬‬       ‫‪2.8%‬‬      ‫‪20,733,643‬‬    ‫‪17,614,934‬‬    ‫‪20,740,531‬‬     ‫‪6,460,935‬‬                           ‫‪4‬‬
                                                                                                        ‫قطر‬

   ‫‪18.5%‬‬      ‫‪34.5%‬‬       ‫‪2.5%‬‬      ‫‪18,946,457‬‬    ‫‪15,983,986‬‬    ‫‪14,085,864‬‬     ‫‪9,021,950‬‬           ‫افطار صائم‬      ‫‪5‬‬

    ‫‪-6.9%‬‬     ‫‪-20.3%‬‬      ‫‪1.9%‬‬      ‫‪13,887,320‬‬    ‫‪14,909,449‬‬    ‫‪17,425,708‬‬    ‫‪17,973,747‬‬             ‫استثمارات‬     ‫‪6‬‬

    ‫‪4.6%‬‬      ‫‪29.5%‬‬       ‫‪1.7%‬‬      ‫‪12,698,591‬‬    ‫‪12,139,439‬‬     ‫‪9,807,786‬‬    ‫‪13,112,141‬‬                ‫اضاحي‬      ‫‪7‬‬

                                                                                                 ‫انشطة ثقافية‬
   ‫‪47.1%‬‬     ‫‪381.0%‬‬       ‫‪3.3%‬‬      ‫‪24,862,053‬‬    ‫‪16,897,095‬‬     ‫‪5,169,147‬‬     ‫‪3,448,848‬‬                           ‫‪8‬‬
                                                                                                        ‫وتربوية‬

   ‫‪35.5%‬‬      ‫‪-26.8%‬‬      ‫‪0.7%‬‬       ‫‪5,468,263‬‬     ‫‪4,036,047‬‬     ‫‪7,467,515‬‬        ‫‪0‬‬                  ‫طيف الخير‬     ‫‪9‬‬

   ‫‪12.1%‬‬      ‫‪76.4%‬‬       ‫‪0.5%‬‬       ‫‪3,824,825‬‬     ‫‪3,411,131‬‬     ‫‪2,168,519‬‬     ‫‪1,718,752‬‬     ‫‪ 10‬مراكز تحفيظ القران‬

   ‫‪-11.1%‬‬      ‫‪9.5%‬‬       ‫‪0.3%‬‬       ‫‪2,577,217‬‬     ‫‪2,897,758‬‬     ‫‪2,353,216‬‬     ‫‪2,072,635‬‬             ‫‪ 11‬زكاة الفطر‬

    ‫‪-0.6%‬‬     ‫‪-50.5%‬‬      ‫‪0.4%‬‬       ‫‪2,843,308‬‬     ‫‪2,861,899‬‬     ‫‪5,743,752‬‬     ‫‪2,756,770‬‬           ‫‪ 12‬عالج مرضى‬

   ‫‪107.4%‬‬     ‫‪1015%‬‬       ‫‪0.5%‬‬       ‫‪3,881,666‬‬     ‫‪1,872,000‬‬      ‫‪348,000‬‬         ‫‪0‬‬         ‫‪ 13‬مشروع الحج والعمرة‬

   ‫‪-67.5%‬‬     ‫‪60.3%‬‬       ‫‪0.1%‬‬        ‫‪461,661‬‬      ‫‪1,419,955‬‬      ‫‪288,001‬‬      ‫‪329,950‬‬                     ‫‪ 14‬أخرى‬

                                                                                            ‫مصاحف ومطبوعات‬
    ‫‪0.8%‬‬      ‫‪-14.1%‬‬      ‫‪0.1%‬‬       ‫‪1,097,292‬‬     ‫‪1,088,060‬‬     ‫‪1,277,883‬‬      ‫‪10,896‬‬                      ‫‪15‬‬
                                                                                                      ‫دينية‬

   ‫‪41.2%‬‬     ‫‪240.6%‬‬       ‫‪0.1%‬‬        ‫‪815,377‬‬      ‫‪577,283‬‬        ‫‪239,382‬‬      ‫‪196,368‬‬                  ‫‪ 16‬صدقات‬

   ‫‪-99.3%‬‬     ‫‪-99.8%‬‬      ‫‪0.0%‬‬         ‫‪224‬‬          ‫‪31,500‬‬        ‫‪133,733‬‬         ‫‪0‬‬         ‫‪ 17‬كفارات ونذر وعقائق‬

   ‫‪-80.1%‬‬    ‫!‪#DIV/0‬‬      ‫‪0.0%‬‬         ‫‪6,115‬‬        ‫‪30,675‬‬             ‫‪0‬‬          ‫‪0‬‬                ‫‪ 18‬كسوة العيد‬

   ‫‪47.1%‬‬      ‫‪35.6%‬‬       ‫‪6.2%‬‬      ‫‪46,043,860‬‬    ‫‪31,305,787‬‬    ‫‪33,968,041‬‬    ‫‪29,579,351‬‬     ‫‪ 19‬مصروفات تشغيلية‬

    ‫‪41%‬‬        ‫‪55%‬‬        ‫‪100%‬‬      ‫‪747,391,876 529,938,496 482,167,615 304,931,174‬‬                ‫اإلجمالي‬


  ‫بلغت الزيادة في تنفيذ األنشطة والتشغيلية نسبة ‪ 41%‬من عام ‪ 2013‬الى عام ‪ , 2014‬وكانت نسبة هذه‬
  ‫الزيادة ‪ 55%‬من عام ‪ 2012‬الى عام ‪2014‬م ‪ ,‬مما يعني تعزيز تنفيذ األنشطة والمشروعات ووصول المساعدات‬
                         ‫والكفاالت إلى مستحقيها بأسرع وقت ممكن االمر الذي يعزز ثقة المتبرعين في قطر الخيرية‪.‬‬

   ‫‪47‬‬                                                                                          ‫التقرير السنوي لعام ‪2014‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-25 Filed 03/18/22 Page 143 of 187 PageID #:‬‬
                                     ‫‪809‬‬
                                                       ‫الملخص المالي لعام ‪2014‬م‬


                                                                                  ‫من الجدول السابق يتضح ما يلي‪:‬‬

  ‫•إن اعلى نسبة فعلية في المدفوعات خالل عام ‪ 2014‬تمثلت في بند المشروعات الخيرية حيث بلغت ‪% 39.6‬‬
  ‫من إجمالي المدفوعات‪ ،‬ثم تلتها نسبة بند كفاالت اجتماعية ودعوية حيث بلغت ‪ .19.1%‬بينما كانت اقل نسبة‬
  ‫في بند كسوة العيد ‪ ،0.001%‬مع مالحظة أنه يتم تغطية عجز المشاريع الموسمية من الكفارات والنذر والعقائق‪.‬‬

  ‫•بمقارنة المدفوعات في عام ‪ 2014‬بعام ‪ 2013‬يتضح أن مشروع الحج والعمرة اعلى نسبة مدفوعات حيث بلغت‬
                         ‫نسبة المدفوعات ‪ 107%‬وكانت اقل نسبة مدفوعات في كسوة العيد حيث بلغت (‪.)-80%‬‬

                                                                                                                    ‫اإلغاثة‪:‬‬
  ‫يمثل نشاط االغاثات والمساعدات العاجلة للدول من أحد اهم المحاور لقطر الخيرية وذلك لسرعة إغاثة الشعوب‬
  ‫المنكوبة ومواكبة أي حدث يحدث على مستوى العالم‪ ،‬وقد بلغ حجم االغاثات التي قدمتها قطر الخيرية خالل عام‬
  ‫‪ 2014‬مبلغ ‪ 119.5‬مليون ريال كان منها ‪ % 65.4‬لصالح الشعب السوري الشقيق‪ % 13.5 ،‬منها إلغاثة شعبي‬
                 ‫الصومال والفلبين‪ % 8.5 ،‬منها للشعب الفلسطيني الشقيق‪ % 5.8 ،‬منها للشعب اليمني الشقيق‪.‬‬

     ‫نسبة البند الى‬
                                                            ‫مدفوعات اإلغاثة‬
       ‫اإلجمالي‬                ‫إجمالي‬
                                                                                                  ‫الدولـــــــــة‬        ‫م‬
                              ‫المدفوعات‬
   ‫اإلجمالي‬     ‫‪2014‬‬                       ‫عام ‪2014‬‬     ‫عام ‪2013‬‬      ‫عام ‪2012‬‬      ‫عام ‪2011‬‬

    ‫‪53.0%‬‬       ‫‪65.4%‬‬        ‫‪166,034,427‬‬   ‫‪78,267,447‬‬   ‫‪36,998,647‬‬   ‫‪48,970,833‬‬    ‫‪1,797,500‬‬                  ‫سوريا‬       ‫‪1‬‬

    ‫‪10.4%‬‬        ‫‪5.8%‬‬        ‫‪32,712,216‬‬    ‫‪6,944,291‬‬    ‫‪7,060,923‬‬    ‫‪14,131,501‬‬    ‫‪4,575,501‬‬                   ‫اليمن‬      ‫‪2‬‬

    ‫‪11.3%‬‬        ‫‪8.7%‬‬        ‫‪35,425,979‬‬    ‫‪10,412,071‬‬   ‫‪7,927,383‬‬    ‫‪7,272,655‬‬     ‫‪9,813,870‬‬              ‫الصومال‬         ‫‪3‬‬

    ‫‪0.9%‬‬         ‫‪0.1%‬‬         ‫‪2,894,477‬‬     ‫‪92,467‬‬      ‫‪2,802,010‬‬         ‫‪-‬‬            ‫‪-‬‬                    ‫الفلبين‬       ‫‪4‬‬

    ‫‪1.8%‬‬         ‫‪4.6%‬‬         ‫‪5,555,641‬‬    ‫‪5,555,641‬‬        ‫‪-‬‬             ‫‪-‬‬                    ‫الصومال والفلبين‬           ‫‪5‬‬

    ‫‪9.3%‬‬         ‫‪8.5%‬‬        ‫‪29,286,437‬‬    ‫‪10,209,265‬‬    ‫‪36,527‬‬      ‫‪19,040,645‬‬        ‫‪-‬‬                ‫فلسطين‬            ‫‪6‬‬

    ‫‪3.8%‬‬         ‫‪0.4%‬‬        ‫‪11,991,758‬‬     ‫‪469,213‬‬      ‫‪829,777‬‬     ‫‪1,120,596‬‬     ‫‪9,572,172‬‬               ‫باكستان‬        ‫‪7‬‬

    ‫‪3.2%‬‬         ‫‪0.9%‬‬         ‫‪9,888,118‬‬    ‫‪1,123,243‬‬    ‫‪7,341,214‬‬    ‫‪1,423,661‬‬         ‫‪-‬‬                     ‫ميانمار‬      ‫‪8‬‬

    ‫‪1.9%‬‬         ‫‪0.0%‬‬         ‫‪6,071,174‬‬        ‫‪-‬‬            ‫‪-‬‬        ‫‪6,071,174‬‬         ‫‪-‬‬                        ‫تركيا‬     ‫‪9‬‬

    ‫‪1.0%‬‬         ‫‪0.0%‬‬         ‫‪3,215,831‬‬        ‫‪-‬‬            ‫‪-‬‬             ‫‪-‬‬        ‫‪3,215,831‬‬                        ‫‪ 10‬ليبيا‬

    ‫‪0.2%‬‬         ‫‪0.6%‬‬          ‫‪699,714‬‬      ‫‪699,714‬‬         ‫‪-‬‬             ‫‪-‬‬            ‫‪-‬‬                    ‫‪ 11‬المغرب‬

    ‫‪0.2%‬‬         ‫‪0.5%‬‬          ‫‪639,843‬‬      ‫‪639,843‬‬         ‫‪-‬‬             ‫‪-‬‬            ‫‪-‬‬                      ‫‪ 12‬العراق‬

    ‫‪0.5%‬‬         ‫‪0.7%‬‬         ‫‪1,630,370‬‬     ‫‪866,140‬‬      ‫‪736,060‬‬       ‫‪28,170‬‬          ‫‪-‬‬                  ‫‪ 13‬السودان‬

    ‫‪0.8%‬‬         ‫‪2.2%‬‬         ‫‪2,633,718‬‬    ‫‪2,633,718‬‬        ‫‪-‬‬             ‫‪-‬‬            ‫‪-‬‬        ‫‪ 14‬أفريقيا الوسطى‬

    ‫‪1.5%‬‬         ‫‪1.4%‬‬         ‫‪4,616,176‬‬    ‫‪1,671,537‬‬     ‫‪760,959‬‬      ‫‪822,970‬‬      ‫‪1,360,710‬‬         ‫‪ 15‬دول متنوعة‬

    ‫‪100%‬‬        ‫‪100%‬‬         ‫‪313,295,878 119,584,589 64,493,500 98,882,205 30,335,584‬‬                 ‫اإلجمالي‬




  ‫التقرير السنوي لعام ‪2014‬‬                                                                                               ‫‪48‬‬
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                                     ‫‪810‬‬
    ‫الملخص المالي لعام ‪2014‬م‬



                                                                            ‫المساعدات داخل قطر‪:‬‬

             ‫معدل النمو‬                      ‫المدفوع بالريال‬                      ‫السنة‬

                ‫‪18%‬‬                              ‫‪20,733,643‬‬                       ‫‪2014‬‬

                ‫‪-15%‬‬                             ‫‪17,614,934‬‬                       ‫‪2013‬‬

               ‫‪221%‬‬                              ‫‪20,740,531‬‬                       ‫‪2012‬‬

                                                 ‫‪6,460,935‬‬                        ‫‪2011‬‬

  ‫بلغت المساعدات لألسر المتعففة داخل الدولة في عام ‪ 2014‬مبلغ ‪ 20,7‬مليون ريال تم صرف ‪ 60%‬منها‬
  ‫للمواطنين القطرين ‪ % 40 ،‬للمواطنين المقيمين وذلك وفقا آللية متكاملة من خالل فريق بحث ونظام الكتر ونى‬
  ‫محترف لتنظيم العمل بداية من تقديم الطلبات وحتى الموافقة على المساعدات ‪ ,‬ويتم ذلك كله من خالل لجنة‬
  ‫مشكلة على اعلى مستوى وفقا لقواعد وضوابط لصرف المساعدات مما يؤكد على مدى االهتمام الكبير بالفئات‬
  ‫القطرية والفئات التي تعيش على هذه األرض الطيبة والتي تساعد وتساهم في رؤية قطر ‪ 2030‬من اجل التنمية‬
  ‫االجتماعية ‪ ,‬وقد ساهم قيام «لجنة ذخر» في مساعدة األسر القطرية المتعففة على معالجة مشاكلهم المادية‬
  ‫سواء بالدعم المادي المباشر أو الدعم العيني غير المباشر مثل فرص التعليم والتدريب والعالج وغيرها‪ ،‬وذلك‬
  ‫بالتعاون مع مؤسسات وهيئات الدولة في قضاء حوائج المتعففين ‪ ،‬مساعدة الغارمين وأصحاب القضايا المالية‬
                                                                                                ‫المتعسرة‪.‬‬



                                    ‫‪20,740,531‬‬                                     ‫‪20,733,643‬‬
                                                               ‫‪17,614,934‬‬




             ‫‪6,460,935‬‬


              ‫‪2011‬‬                   ‫‪2012‬‬                       ‫‪2013‬‬                ‫‪2014‬‬




   ‫‪49‬‬                                                                               ‫التقرير السنوي لعام ‪2014‬‬
                                                                         ‫الملخص المالي لعام ‪2014‬م‬
                                                 ‫ثالثا‪ :‬التحويالت المالية المصدرة خالل عام ‪:2014‬‬
                                              ‫‪ -1‬التحويالت المالية المصدرة على مستوى الدول‪:‬‬
                                                                                                 ‫‪00'06‬‬
                                                                                                 ‫‪00'08‬‬
                                                                                                 ‫‪00'0L‬‬
                                                                                                 ‫‪00'09‬‬
                                                                                                 ‫‪00.05‬‬
                                                                                                 ‫‪00'017‬‬
                                                                                                 ‫‪00'0£‬‬
                                                                                                 ‫‪00'0Z‬‬
                                                                    ‫‪I‬‬      ‫‪II‬‬                    ‫‪00'0I‬‬
                       ‫ﻏﺎﻧﺎ‬




                       ‫ﻛﻨﺪﺍ‬

                       ‫ﺑﻨﻴﻦ‬




                      ‫ﺇﻳﺮﺍﻥ‬
                      ‫ﻛﻴﻨﻴﺎ‬




                     ‫ﺗﺸﺎﺩ‬
                     ‫ﺗﻮﺟﻮ‬
                     ‫ﻗﻄﺮ‬
                    ‫ﺍﻟﻬﻨﺪ‬
                    ‫ﻟﺒﻨﺎﻥ‬




                    ‫ﺃﻟﺒﺎﻧﻴﺎ‬
                   ‫ﻣﺎﻟﻲ‬




                   ‫ﺍﻟﺼﻴﻦ‬
                   ‫ﺃﺛﻴﻮﺑﻴﺎ‬
                  ‫ﺍﻷﺭﺩﻥ‬
                  ‫ﺇﻳﺮﻟﻨﺪﺍ‬

                  ‫ﻧﻴﺠﻴﺮﻳﺎ‬




                  ‫ﺍﻟﺒﺤﺮﻳﻦ‬
                  ‫ﺍﻟﻨﻴﺠﺮ‬




                 ‫ﺃﻟﻤﺎﻧﻴﺎ‬




                 ‫ﻣﻴﺎﻧﻤﺎﺭ‬




                 ‫ﺃﻭﻛﺮﺍﻧﻴﺎ‬
                 ‫ﺑﻠﺠﻴﻜﺎ‬




                 ‫ﺃﻓﺮﻳﻘﻴﺎ‬




                 ‫ﺍﻟﻔﻠﺒﻴﻦ‬
                ‫ﺍﻟﻴﻤﻦ‬




                ‫ﻗﺮﻗﻴﺰﻳﺎ‬
                ‫ﺍﻟﻌﺮﺍﻕ‬




                ‫ﻓﺮﻧﺴﺎ‬




                ‫ﺍﻟﺴﻮﻳﺪ‬
                ‫ﻫﻮﻟﻨﺪﺍ‬
                ‫ﺗﻮﻧﺲ‬
               ‫ﺳﻮﺭﻳﺎ‬




               ‫ﺇﻳﻄﺎﻟﻴﺎ‬




               ‫ﺃﺳﺒﺎﻧﻴﺎ‬
               ‫ﺍﻟﻨﺮﻭﻳﺞ‬




               ‫ﺍﻟﻤﻐﺮﺏ‬




              ‫ﺍﻟﺴﻨﻐﺎﻝ‬




              ‫ﺳﻮﻳﺴﺮﺍ‬
             ‫ﻣﻮﺭﻳﺘﺎﻧﻴﺎ‬
             ‫ﺍﻟﺒﻮﺳﻨﺔ‬




             ‫ﺳﺮﻳﻼﻧﻜﺎ‬
             ‫ﻛﻮﺳﻮﻓﺎ‬




             ‫ﺳﻴﺮﺍﻟﻴﻮﻥ‬
             ‫ﺑﺎﻛﺴﺘﺎﻥ‬
            ‫ﺍﻟﺼﻮﻣﺎﻝ‬
            ‫ﺍﻟﺴﻮﺩﺍﻥ‬




            ‫ﺟﺰﺭ ﺍﻟﻘﻤﺮ‬
           ‫ﺇﻧﺪﻭﻧﻴﺴﻴﺎ‬




           ‫ﻟﻜﺴﻤﺒﻮﺭﺝ‬
           ‫ﻓﻠﺴﻄﻴﻦ‬



           ‫ﺑﻨﻐﻼﺩﻳﺶ‬




         ‫ﺑﻮﺭﻛﻴﻨﺎﻓﺎﺳﻮ‬
     ‫ﺍﻟﻤﻤﻠﻜﺔ ﺍﻟﻤﺘﺤﺪﺓ‬




    ‫ﺃﻓﺮﻳﻘﻴﺎ ﺍﻟﻮﺳﻄﻰ‬
    ‫ﺍﻟﺼﻮﻣﺎﻝ ﻭﺍﻟﻔﻠﺒﻴﻦ‬




  ‫قامت قطر الخيرية بإصدار العديد من التحويالت المالية الى دول العالم وخاصة الدول التي توجد بها مكاتب‬
  ‫ميدانية تابعة لقطر الخيرية وكانت أكبر الدول التي تم إصدار تحويالت لها خالل عام ‪ 2014‬على مستوى العالم‬
  ‫هي دولة سوريا بنسبة ‪ % 13.8‬من إجمالي التحويالت يليها دولة اليمن‪ ،‬فلسطين‪ ،‬الصومال بنسبة على التوالي‬
                               ‫‪ ،% 6.3، 8.6% ،12.6%‬وكانت اقل الدول هي تايالند والبرازيل بنسبة ‪.% 0.004‬‬
                            ‫‪ -2‬التحويالت المالية المصدرة على مستوى االنشطة والمشروعات‪:‬‬
  ‫كانت التحويالت على مستوى المشروعات الخيرية واالسالمية االكبر حيث بلغت ‪ % 50‬من قيمة التحويالت‬
    ‫المصدرة خالل عام ‪ 2014‬بينما بلغت الكفاالت ‪ % 26‬يليها مشروعات االغاثة ‪ 19%‬ثم المشاريع الموسمية ‪.% 5‬‬
                                            ‫‪%S‬‬
                                                                             ‫‪% OS‬‬
     ‫•‬   ‫ﻣﺸﺎﺭﻳﻊ ﺧﻴﺮﻳﺔ‬          ‫‪%6T‬‬
     ‫•‬
         ‫ﻛﻔﺎﻻﺕ‬
     ‫•‬   ‫ﺇﻏﺎﺛﺔ‬
     ‫•‬
         ‫ﻣﺸﺎﺭﻳﻊ ﻣﻮﺳﻤﻴﺔ‬
                                     ‫‪969Z‬‬
                                            ‫‪ -3‬التحويالت المالية المصدرة على مستوى القارات‪:‬‬
 ‫كانت التحويالت على مستوى قارة آسيا ‪ 51%‬من قيمة التحويالت المصدرة خالل عام ‪2014‬م بينما بلغت‬
                                ‫التحويالت على مستوى قارة افريقيا ‪ % 28‬يليها أوربا والدول األجنبية ‪.21%‬‬
                                     ‫‪811‬‬
 ‫التقرير السنوي لعام ‪2014‬‬                                                                          ‫‪50‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-25 Filed 03/18/22 Page 145 of 187 PageID #:‬‬
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                                     ‫‪812‬‬
    ‫الملخص المالي لعام ‪2014‬م‬



                                                                                              ‫‪300.00‬‬




                                                                                                         ‫‪Millions‬‬
                                                                                              ‫‪250.00‬‬
                                                                                              ‫‪200.00‬‬
                                                                                              ‫‪150.00‬‬
                                                                                              ‫‪100.00‬‬
                                                                                              ‫‪50.00‬‬
                                                                                              ‫‪-‬‬

                        ‫ﺃﻭﺭﻭﺑﺎ ﻭﺍﻟﺪﻭﻝ ﺍﻷﺟﻨﺒﻴﺔ‬          ‫ﺃﻓﺮﻳﻘﻴﺎ‬          ‫ﺁﺳﻴﺎ‬




                                                 ‫‪ -4‬التحويالت المالية المصدرة على مستوى الجهات المنفذة‪:‬‬
  ‫كانت التحويالت للمكاتب الميدانية التابعة لقطر الخيرية ‪ 55%‬من قيمة التحويالت المصدرة خالل عام ‪ 2014‬بينما‬
                                                                           ‫بلغت التحويالت للجمعيات الشريكة ‪45%‬‬


                                           ‫‪55%‬‬




                                            ‫‪\(1‬‬
                                                                                        ‫‪45%‬‬

        ‫ﺟﻤﻌﻴﺎﺕ ﺷﺮﻳﻜﺔ‬

        ‫ﻣﻜﺎﺗﺐ ﻣﻴﺪﺍﻧﻴﺔ‬




   ‫‪51‬‬                                                                                         ‫التقرير السنوي لعام ‪2014‬‬
‫‪Case 1:21-cv-05716-AMD-VMS Document 58-25 Filed 03/18/22 Page 147 of 187 PageID #:‬‬
                                     ‫‪813‬‬
                                                       ‫الملخص المالي لعام ‪2014‬م‬



                                                                                                    ‫التوصيات‬

                                                                     ‫	•تحديث البرنامج المحاسبي المستخدم‪.‬‬

                                                            ‫	• دمج كافة البرامج المستخدمة في برنامج واحد‪.‬‬

                                      ‫	•استكمال باقي اللوائح واألنظمة والسياسات المالية واإلدارية بالجمعية‪.‬‬

                                                                  ‫	•تقوية نقاط القوة‪ ،‬ومعالجة نقاط الضعف‪.‬‬

                                ‫	•رفع كفاء اإلنفاق والمنفعة الحدية للمصروفات‪ ،‬ومبدأ التكاليف مقابل المنافع‪.‬‬

                                                            ‫	•تطوير المنظومة المالية على مستوى الجمعية‪.‬‬

                                                     ‫	•تطوير الضبط المالي واإلداري وأنظمة الرقابة الداخلية‪.‬‬

                                                                    ‫	•إنشاء وحدة للرقابة والتدقيق الداخلي‪.‬‬


                                                                                         ‫الطموح والتحديات‬

  ‫‪1.1‬ستستمر قطر الخيرية في تطبيق استراتيجيتها الحالية والمتمثلة دعم قدرات الفئات األكثر احتياجا لتحقيق‬
  ‫الكرامة اإلنسانية والعدالة االجتماعية وتعزيز رؤيتها في نموذج المؤسسة اإلسالمية الرائدة والمتميزة‬
                         ‫التي تجمع بين التأصيل واإلبداع واالحترافية في مجال التنمية والمساعدات اإلنسانية‪.‬‬

                             ‫‪2.2‬استكمال إعداد باقي السياسات واالليات ووضع نظم الرقابة والمتابعة المستمرة‪.‬‬

  ‫‪3.3‬فتح (‪ )9‬فروع تحصيل جديدة وعدد(‪ )24‬منفذ تحصيل ‪ ,‬نأمل زيادة عدد الصناديق الثابتة من (‪ )1100‬صندوق‬
                                                                     ‫الى (‪ )2000‬صندوق بنهاية عام ‪.2014‬‬

  ‫‪4.4‬تدشين البرنامج اإللكتروني المحاسبي الموحد في عام ‪2014‬لجميع عمليات الصرف التي سوف تتم على‬
                                  ‫مستوى جميع المكاتب الميدانية والرقابة من خالل المركز الرئيسي بالدوحة‪.‬‬

  ‫‪5.5‬سيتم العمل على إطالق مراكز قطر الخيرية‪ ،‬بهوية جديدة لتعزز المكانة التي وصلت اليها ولتكون عامل‬
  ‫جذب ألكبر قدر ممكن من الشباب من الجنسين ليجدو فيها كل مفيد من برامج ثقافية وترفيهية بأسلوب‬
                                                                                           ‫متميز وعصري‪.‬‬




  ‫التقرير السنوي لعام ‪2014‬‬                                                                                  ‫‪52‬‬
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                                               ‫‪814‬‬
    ‫البيانات المالية مع تقرير مراقبي الحسابات المستقلين‬




         ‫البيانات المالية‬
        ‫مع تقرير مراقبي‬
              ‫الحسابات‬
            ‫المستقلين‬

         ‫للسنة المنتهية‬
   ‫في ‪ 31‬ديسمبر ‪2014‬‬




   ‫‪53‬‬                                                             ‫التقرير السنوي لعام ‪2014‬‬
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                                               ‫‪816‬‬
    ‫البيانات المالية مع تقرير مراقبي الحسابات المستقلين‬


                                                                                                         ‫‪1996094‬‬

                                                                         ‫تقرير مراقبي الحسابات المستقلين إلى‪:‬‬


                                                              ‫السادة ‪ /‬رئيس وأعضاء مجلس اإلدارة المحتــرمين‬

                                                                                                 ‫قـطر الخـيرية‬

                                                                            ‫جمعية أهلية تطوعية خيرية قطرية‬

                                                                                                ‫الدوحة – قطر‬


                                                                                 ‫تقرير حول البيانات المالية‬
  ‫لقد دققنا البيانات المالية المرفقة «لقـطر الخـيرية ««الجمعية «والتي تتضمن بيان المركز المالي كما في ‪31‬‬
  ‫وكال من بيان الدخل الشامل وبيان التدفقات النقدية للسنة المنتهية بذلك التاريخ وملخص ألهم‬
                                                                                      ‫ً‬   ‫ديسمبر ‪2014‬‬
                                                                ‫السياسات المحاسبية واإليضاحات المتممة اآلخـرى‪.‬‬

                                                                    ‫مسؤولية اإلدارة عن البيانات المالية‬
                                             ‫ً‬
  ‫وفقا للمعايير الدولية إلعداد التقارير المالية‪.‬‬ ‫إن مسؤولية اإلدارة هي إعداد البيانات المالية وعرضها بصورة عادلة‬
                                                                                           ‫ً‬
  ‫أيضا الرقابة الداخلية حسبما تقرر اإلدارة إنها ضرورية لمساعدتها في إعداد بيانات مالية خالية‬  ‫تشمل هذه المسؤولية‬
                                                              ‫من أخطاء جوهرية سواء ناتجة عن اإلختالس أو الخطأ‪.‬‬

                                                              ‫مسؤولية مراقبي الحسابات المستقلين‬
                                                   ‫ً‬
  ‫إستنادا على أعمال التدقيق التي قمنا بها‪ .‬لقد تم تدقيقنا‬ ‫إن مسؤوليتنا هي إبداء رأي حول البيانات المالية‬
  ‫وفقا «لمعايير التدقيق الدولية «التي تتطلب التقيد بمتطلبات السلوك المهني وأن نقوم بتخطيط وتنفيذ أعمال‬ ‫ً‬
                                 ‫التدقيق للحصول على تأكيدات معقولة بأن البيانات المالية خالية من أخطاء جوهرية‪.‬‬

  ‫يشتمل التدقيق على القيام بإجراءات للحصول على أدلة بشأن المبالغ واإلفصاحات التي تتضمنها البيانات‬
  ‫المالية‪ .‬تم إختيار هذه اإلجراءات بناء على تقديرنا بما في ذلك تقييم مخاطر األخطاء الجوهرية في البيانات المالية‪،‬‬
  ‫سواء الناتجة عن إختالس أو خطأ‪ .‬عند إجراء تقييم المخاطر نأخذ في اإلعتبار أنظمة الضبط والرقابة الداخلية المتعلقة‬
  ‫بإعداد الجمعية للبيانات المالية وعرضها بصورة عادلة‪ ،‬وذلك لغايات إعداد إجراءات تدقيق مناسبة‪ ،‬وليس لغرض إبداء‬
  ‫رأينا حول فعالية أنظمة الضبط والرقابة الداخلية للجمعية‪ .‬ويشتمل التدقيق أيضا على تقييم مدى مالئمة السياسات‬
  ‫المحاسبية المستخدمة ومعقولية التقديرات المحاسبية المعدة من قبل اإلدارة وكذلك تقييم العرض العام للبيانات‬
  ‫معقوال يمكننا من إبداء رأينا‪.‬‬
                          ‫ً‬      ‫ً‬
                                ‫أساسا‬ ‫المالية‪ .‬باعتقادنا أن األدلة التي حصلنا عليها خالل أعمال التدقيق كافية وتوفر‬




   ‫‪55‬‬                                                                                         ‫التقرير السنوي لعام ‪2014‬‬
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                                     ‫‪817‬‬
                                   ‫البيانات المالية مع تقرير مراقبي الحسابات المستقلين‬



                                                                                                       ‫الـــــرأي‬
  ‫في رأينا أن البيانات المالية تظهر بصورة عادلة من كافة النواحي المادية المركز المالي «لقـطر الخـيرية ««الجمعية‬
                     ‫ً‬
  ‫وفقا «للمعايير الدولية‬ ‫«كما فـي ‪ 31‬ديسمبر ‪ 2014‬وأدائها المالي وتدفقاتها النقدية للسنة المنتهية بذلك التاريخ‬
                                                                                        ‫إلعداد التقارير المالية «‪.‬‬

                                                    ‫تقرير حول المتطلبات القانونية والتنظيمية األخرى‬
  ‫وفي رأينا أن البيانات المالية تتضمن كل ما نص عليه النظام األساسي للجمعية على وجوب إثباته فيها وأن الجمعية‬
  ‫تحتفظ بسجالت محاسبية منتظمة متفقة مع البيانات المالية‪ .‬كما وقد حصلنا على كافة المعلومات واإليضاحات التي‬
  ‫رأيناها ضرورية ألغراض تدقيقنا وأنه وفي حدود المعلومات التي توافرت لدينا لم تقع خالل السنة المالية مخالفات‬
      ‫ألحكام النظام األساسي للجمعية على وجه قد يؤثر بشكل جوهري في نشاط الجمعية أو في مركزها المالي‪.‬‬


                  ‫عن جرانت ثورنتون ‪ -‬العيد وشركاه‬



                  ‫رستم مصطفى شديــد‬
                  ‫(مراقب مرخص رقم ‪)67‬‬



                  ‫الدوحة في ‪ 20‬مارس ‪2015‬‬




  ‫التقرير السنوي لعام ‪2014‬‬                                                                                    ‫‪56‬‬
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    ‫البيانات المالية مع تقرير مراقبي الحسابات المستقلين‬



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   57                                                                                                                                  2014 ‫التقرير السنوي لعام‬
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                                   ‫البيانات المالية مع تقرير مراقبي الحسابات المستقلين‬



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    ‫البيانات المالية مع تقرير مراقبي الحسابات المستقلين‬




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                           . L011 (       1-14. .111 b3.4 C).0s   y   . JS.L* r' `t LA 1 L.J.4          j„.Q31

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                                   ‫البيانات المالية مع تقرير مراقبي الحسابات المستقلين‬



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                                   ‫البيانات المالية مع تقرير مراقبي الحسابات المستقلين‬



                                                                              ‫‪ -1‬تأسيس ونشاط الجمعية‪:‬‬
  ‫أنشأت قطر الخيرية «جمعية أهلية تطوعية خيرية» بتاريخ ‪ 1‬أبريل ‪ 1992‬بموجب عقد التأسيس الموقع من قبل‬
  ‫المؤسسين والموافق عليه من قبل وزير العمل والشؤون اإلجتماعية واإلسكان بالقرار الوزاري رقم «‪ »5‬لسنة ‪1992‬‬
                                                                                                    ‫ً‬
  ‫طبقا ألحكام القانون رقم «‪ »2‬لسنة ‪ 1974‬بإنشاء الجمعيات والمؤسسات الخاصة والمعدل بقانون رقم «‪ »17‬لسنة‬
  ‫‪ 1989‬والقانون رقم «‪ »8‬لسنة ‪ 1998‬وهي مسجلة لدى وزارة العمل والشؤون اإلجتماعية تحت رقم «‪ »6‬بموجب‬
                                                                              ‫أحكام القانون رقم «‪ »8‬لسنة ‪.1998‬‬

                             ‫يقع المقر الرئيسي للجمعية في مدينة الدوحة – دولة قطر – صندوق بريد «‪« 1224‬‬

  ‫تهدف الجمعية إلى كفالة األيتام ورعاية األرامل وتقديم العون الرعاية الصحية للمتضررين من القحط والجفاف‬
           ‫والمجاعات وكفالة األسر باإلضافة إلى أعمال الخير من إنشاء مدارس ومساجد ومراكز تحفيظ القرآن الكريم‪.‬‬

                ‫‪ -2‬أسس إعداد وتطبيق المعايير الدولية إلعداد التقارير المالية الجديدة المعدلة‬
                                                                                               ‫أ‪ .‬بيان اإللتزام‬
                                                                                     ‫ً‬
         ‫وفقا للمعايير الدولية إلعداد التقارير المالية ومتطلبات القانون األساسي للجمعية‪.‬‬ ‫أعدت البيانات المالية‬

                                                                                           ‫ب‪ .‬أسس القياس‬
                                                ‫ً‬
  ‫وفقا لمبدأ التكلفة التاريخية فيما عدا اإلستثمارات‬ ‫تم إعداد البيانات المالية من السجالت المحاسبية للجمعية‬
  ‫المحتفظ بها للمتاجرة واإلستثمارت العقارية وبعض الممتلكات واآلالت والمعدات ( أراضي) والتي تظهر بالقيمة‬
                                                                                                          ‫العادلة‪.‬‬

                                                                                              ‫ج‪ .‬عملة العرض‬
  ‫تم عرض البيانات المالية بالريـال القطري وهي العملة الوظيفية للجمعية وقد تم تقريب كافة المبالغ والقيم‬
                                                                                               ‫ألقرب ريـال قطري‪.‬‬

                                                                         ‫د‪ .‬إستخدام التقديرات واألحكام‬
  ‫تم إدراج المعلومات حول التقديرات الهامة واألحكام الضرورية لتطبيق السياسات المحاسبية والتي لها تأثير كبير‬
                                                 ‫على المبالغ المعترف بها في البيانات المالية في اإليضاح رقم (‪.)4‬‬

  ‫و‪ .‬المعايير والتفسيرات والتعديالت على المعايير الموجودة التي لم يتم تبنيها من قبل‬
                                               ‫الجمعية ولم تصبح سارية المفعول بعد‪.‬‬
  ‫تم االعالن عن بعض المعايير والتعديالت والتفسيرات على المعايير الموجودة ولكنها لم تصبح سارية المفعول‬
                                                                        ‫بعد ولم يتم تبينها مبكرا من قبل الجمعية‪.‬‬

  ‫•تعديالت على معيار المحاسبة الدولي رقم ‪ – 19‬خطط المنافع المحدودة (اشتراكات الموظفين) (‪ 1‬يوليو ‪.)2014‬‬

  ‫•التحسينات السنوية على دورة المعايير الدولية للتقارير المالية للسنوات من ‪ 2010‬الى ‪ 2013‬ودورتها للسنوات‬
                                                                         ‫من ‪ 2011‬الى ‪ 1( .2014‬يوليو ‪)2014‬‬

  ‫•التعديالت على معيار المحاسبة الدولي رقم ‪ 16‬ومعيار المحاسبة الدولي رقم ‪ 38‬ايضاحات للطرق المقبولة‬
                                                                            ‫لإلهالك واإلطفاء‪ 1( .‬يناير ‪.)2016‬‬




  ‫التقرير السنوي لعام ‪2014‬‬                                                                                       ‫‪62‬‬
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    ‫البيانات المالية مع تقرير مراقبي الحسابات المستقلين‬


  ‫•التعديالت على معيار المحاسبة الدولي رقم ‪ 16‬ومعيار المحاسبة الدولي رقم ‪ 41‬الزراعة‪ :‬النباتات الحية (‪ 1‬يناير‬
                                                                                                       ‫‪.)2016‬‬

  ‫•التعديالت على معيار المحاسبة الدولي رقم ‪ 27‬طريقة حقوق الملكية في البيانات المالية المنفصلة (‪ 1‬يناير‬
                                                                                                       ‫‪.)2016‬‬

         ‫			‬         ‫•التحسينات السنوية على دورة المعايير الدولية للتقارير المالية للسنوات من ‪2014 – 2013‬‬
                                                                                              ‫(‪ 1‬يناير ‪.)2016‬‬

  ‫•التعديالت على المعيار الدولي للتقارير المالية رقم ‪ 10‬ومعيار المحاسبة الدولي رقم ‪ 28‬بيع أو مساهمة‬
                                 ‫األصول بين مستثمر وشركاته الزميلة أو مشروعاته المشتركة ( ‪ 1‬يناير ‪.)2016‬‬

  ‫•التعديالت على المعيار الدولي للتقارير المالية رقم ‪ 11‬الترتيبات المشتركة – محاسبة عمليات االستحواذ على‬
                                                                                      ‫الحصص (‪ 1‬يناير ‪.)2016‬‬

              ‫•التعديالت على المعيار الدولي للتقارير المالية رقم ‪ 14‬حسابات التأجيل التنظيمية (‪ 1‬يناير ‪.)2016‬‬

                                     ‫•المعيار الدولي للتقارير المالية رقم ‪« – 9‬األدوات المالية»‪ 1( .‬يناير ‪.)2018‬‬

                              ‫•المعيار الدولي للتقارير المالية رقم ‪ – 15‬ايراد العقود مع العمالء‪ 1( .‬يناير ‪.)2017‬‬

        ‫•ال تتوقع االدارة أن يكون للمعايير المذكورة أعاله تأثير مادي على المركز المالي للجمعية أو نتائج عملياته‪.‬‬

                                                                        ‫‪ -3‬السياسات المحاسبية الهامة‪:‬‬
                                                                               ‫أ) ممتلكات واآلت ومعدات‬
                                                    ‫ً‬
  ‫مخصوما منها اإلهالك المتراكم وأي خسائر إنخفاض في قيمتها‬ ‫تدرج الممتلكات واآلالت والمعدات بالتكلفة‬
                           ‫ً‬
  ‫محسوبا على أساس العمر األنتاجي‬  ‫بتاريخ البيانات المالية‪ .‬يحسب اإلستهالك بإستخدام طريقة القسط الثابت‬
                                                                          ‫المتوقع و ذلك بالنسب السنوية التالية‪:‬‬

                                                ‫‪٪ 5-20‬‬                                     ‫	•مباني‬

                                                  ‫‪٪ 20‬‬                              ‫	•آالت ومعدات‬

                                                  ‫‪٪ 20‬‬                               ‫	•غرف خشبية‬

                                                  ‫‪٪ 20‬‬                                    ‫	•سيارات‬

                                                  ‫‪٪ 20‬‬                           ‫	•أثاث ومفروشات‬

                                                  ‫‪٪ 25‬‬                           ‫	•تطوير مشروعات‬

                                              ‫‪٪ 33.33‬‬              ‫	•أجهزة حاسوب وبرامج ومعدات‬

                                 ‫تتم مراجعة طرق االهالك واألعمار اإلنتاجية والقيم الباقية في تاريخ كل تقرير‪.‬‬

                                                                                        ‫ب) تحقيق اإليرادات‬
  ‫تقوم الجمعية باإلعتراف باإليرادات (المقبوضات) من األنشطة والمشاريع واإلستثمارات وذلك على النحو اآلتي‪:‬‬

                         ‫•يتم اإلعتراف باإليرادات من التبرعات النقدية والدعم الحكومي السنوي عند إستالمها‪.‬‬


   ‫‪63‬‬                                                                                        ‫التقرير السنوي لعام ‪2014‬‬
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                                   ‫البيانات المالية مع تقرير مراقبي الحسابات المستقلين‬


                  ‫•يتم اإلعتراف باإليرادات من التبرعات غير النـقدية على أسـاس منتظم خالل الحياة اإلنتاجية لألصل‬

                                             ‫•يتم اإلعتراف باإليرادات من اإلشتراكات والودائع عند إستالم النقد‪.‬‬

                                                  ‫•يتم اإلعتراف باإليرادات من اإليجارات على أساس اإلستحقاق‪.‬‬

         ‫•يتم اإلعتراف باإليرادات من بيع اإلستثمارات و الممـتلكات والمعـدات عـند إنتقال الملـكية إلى المشتري‪.‬‬

                                                                                   ‫ج) اإلستثمارات العقارية‬
  ‫تمثل اإلستثمارات العقارية إستثمارات في أراضي وعقارات آخرى تم إمتالكها للحصول على إيرادات من خالل‬
  ‫تأجيرها أو لزيادة قيمتها الرأسمالية‪ .‬تظهر اإلستثمارات العقارية في البداية بسعر التكلفة والمتضمن تكاليف العملية‪.‬‬

  ‫بعد األعتراف األولي ‪ ،‬يتم قياس اإلستثمارات العقارية بالقيمة العادلة‪ .‬يتم تسجيل أي تغير في القيمة العادلة‬
                                         ‫لإلستثمارات العقارية في بيان الدخل الشامل للفترة التي يحدث بها التغيير‪.‬‬

  ‫يلغى تحقيق اإلستثمارات العقارية عندما يسحب العقار من اإلستخدام وال يتوقع الحصول على أية منافع‬
                                                                                        ‫إقتصادية من إستبعادها‪.‬‬

                                 ‫يتم إدراج الفرق بين عائدات اإلستبعاد والقيمة الدفترية في بيان الدخل الشامل‪.‬‬

                                                                             ‫د) اإلستثمارات المتاحة للبيع‬
  ‫يعاد تقييم اإلستثمارات المصنفة «متاحة للبيع» بعد التسجيل المبدئي بالقيمة العادلة‪ .‬يتم إدراج أية أرباح‬
  ‫وخسائر غير متحققة عند إعادة التقييم بالقيمة العادلة في األموال الموظفة إلى أن يتم بيع أو تحصيل أو إعتبار قيمة‬
  ‫اإلستثمار متدنية بصورة دائمة‪ .‬في حالة البيع أو التدني الدائم في القيمة يحول المجموع التراكمي للربح أو الخسارة‬
                                               ‫المدرج سابقا ضمن األموال الموظفة إلى بيان الدخل الشامل للسنة‪.‬‬

                                                                                                       ‫ً‬
  ‫نظرا لطبيعة التدفقات النقدية الناتجة من إستثمارات الجمعية غير المدرجة في األسواق المالية ‪ ،‬ال يمكن تحديد‬
  ‫القيمة العادلة لإلستثمارات بشكل معقول ‪ ،‬وبالتالي تظهر هذة اإلستثمارات بالتكلفة بعد طرح أي مخصص للخسائر‬
                                                                                      ‫من تدني قيمتها‪،‬أن وجدت‪.‬‬

                                                                                 ‫هـ) اإلستثمارات للمتاجرة‬
  ‫يعاد تقييم اإلستثمارات المصنفة «للمتاجرة «بعد التسجيل المبدئي بالقيمة العادلة ويتم إدراج أية أرباح أو خسائر‬
  ‫غير متحققة عند إعادة التقييم بالقيمة العادلة في بيان الدخل الشامل‪ .‬تصنف اإلستثمارات للمتاجرة عندما يتم‬
                                                                       ‫شراءها لغرض البيع في المستقبل القريب‪.‬‬

                                                                                     ‫و) الموجودات المالية‪:‬‬
                                                                 ‫الموجودات المالية تنقسم إلى الفئات التالية‪:‬‬

                                                                                       ‫أ‪ .‬الذمم المدينة والقروض‬

                                         ‫ب‪ .‬الموجودات المالية المدرجة بالقيمة العادلة من خالل بيان الدخل الشامل‪.‬‬

                                                                               ‫ج‪ .‬الموجودات المالية المتاحة للبيع‪.‬‬

                                                                ‫د‪ .‬اإلستثمارات المحتفظ بها حتى تاريخ اإلستحقاق‪.‬‬




  ‫التقرير السنوي لعام ‪2014‬‬                                                                                      ‫‪64‬‬
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    ‫البيانات المالية مع تقرير مراقبي الحسابات المستقلين‬


             ‫ً‬
  ‫بناءا على خصائص‬ ‫يتم تصنيف الموجودات المالية إلى الفئات المذكورة أعاله في مرحلة اإلعتراف المبدئي‬
  ‫األدوات المالية وأهدافها‪ .‬تنسجم فئة األدوات المالية مع طريقة قياسها إذا كانت هناك أية إيرادات أو مصاريف‬
  ‫يعترف بها في بيان الدخل الشامل أو تسجل مباشرة ضمن األموال الموظفة ويمكن الرجوع إلى اإليضاح رقم ‪34-2‬‬
                                  ‫والذي يوضح ملخص كامل للموجودات المالية بمختلف تصنيفاتها الخاصة بالجمعية‪.‬‬

                                                                                       ‫ً‬
  ‫مبدئيا بالسلف والذمم المدينة والودائع في تاريخ نشأتها‪ .‬يتم االعتراف بجميع الموجودت المالية‬ ‫تعترف الجمعية‬
  ‫األخرى متضمنة الموجودات المحددة بالقيمة العادلة من خالل الربح أو الخسارة في تاريخ المتاجرة‪ ،‬وهو التاريخ الذي‬
                                                                                            ‫ً‬
                                                       ‫طرفا في الشروط التعاقدية لألداة المالية‪.‬‬ ‫تصبح فيه الجمعية‬

                                                                                 ‫السلف والذمم المدينة األخرى‬

                                    ‫السلف والذمم المدينة األخرى هي ذات مدفوعات ثابتة أو يمكن تحديدها‪.‬‬

  ‫تؤخذ إدارة الجمعية باإلعتبار األنخفاض بالذمم المدينة الهامة على أسس فردية عند وجود دليل موضوعي على‬
   ‫حدوث إنخفاض بالقيمة نتيجة ألحداث وقعت في الماضي أو عند التأخر في دفعها حتى تاريخ إعداد البيانات المالية‪.‬‬

                                                                                           ‫النقد والنقد المعادل‬

  ‫ألغراض التدفقات النقدية يشتمل النقد والنقد المعادل على أرصدة نقدية وودائع تحت الطلب ذات فترات‬
                                                      ‫إستحقاق تتراوح بين ثالثة أشهر أو أقل وأرصدة لدى البنوك‪.‬‬

                                         ‫الموجودات المالية المدرجة بالقيمة العادلة من خالل بيان الدخل الشامل‬

  ‫الموجودات المالية المدرجة بالقيمة العادلة من خالل بيان الدخل الشامل هي الموجودات المالية المحتفظ بها‬
     ‫لغرض المتاجرة والتي يعترف بها على أساس القيمة العادلة من خالل بيان الدخل الشامل لدى اإلعتراف األولي‪.‬‬

  ‫الموجودات المالية المتاحة للبيع هي موجودات مالية غير مشتقة وال يتم تصنيفها على أنها متاحة للبيع ضمن‬
  ‫أي من فئات الموجودات المالية أعاله‪ .‬إن مجموعة الموجودات المالية المتاحة للبيع تتضمن أصوال مالية غير مدرجة‬
                                                                                                         ‫بالسوق‪.‬‬

  ‫جميع الموجودات المالية المتاحة للبيع تقيم على أساس القيمة العادلة‪ ،‬ويتم إدراج التغير في قيمتها ضمن‬
                                                                                              ‫األموال الموظفة‪.‬‬

  ‫ويتم اإلعتراف باألرباح والخسائر الناتجة من األدوات المالية التي يتم تصنيفها في بيان الدخل الشامل حينما يتم‬
                                                                           ‫بيعها أو حينما تتدنى قيمة اإلستثمار‪.‬‬

  ‫إن أي ربح أو خسارة ناتجة عن المشتقات المالية تستند إلى التغيرات في القيمة العادلة‪ ،‬والتي يتم تحديدها‬
              ‫باإلستناد إلى معامالت السوق الفعال أو بإستخدام أساليب التقييم في حالة عدم وجود سوق فعال‪.‬‬

                                                  ‫ال يوجد فئات آخـرى للموجودات المالية تحتفظ فيها الجمعية‪.‬‬

                                                                         ‫ز) التدني في قيم الموجودات‬
  ‫تتم مراجعة الممتلكات واالآلت والمعدات وذلك لتحديد ما إذا كانت هنالك أية مؤشرات تدل على إنخفاض قيم‬
  ‫الموجودات‪ .‬وفي حالة وجود مثل هذه المؤشرات يتم تقدير القيمة القابلة للتحصيل بهدف تحديد قيمة خسارة‬
  ‫األنخفاض في قيمة تلك الموجودات ‪ ،‬إن وجدت‪ .‬وإذا زادت القيمة المدرجة لهذه الموجودات عن القيمة القابلة‬
  ‫للتحصيل يتم إعتبار قيمة التخفيض كمصروف في نفس الفترة ويعترف بها في بيان الدخل الشامل‪ .‬القيمة القابلة‬
                                          ‫للتحصيل هي صافي سعر البيع أو القيمة الحالية لإلستخدام أيهما أعلى‪.‬‬



   ‫‪65‬‬                                                                                       ‫التقرير السنوي لعام ‪2014‬‬
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  ‫صافي سعر البيع هو السعرالمتحصل من عمليات البيع التجارية بينما القيمة المستخدمة هي القيمة الحالية‬
  ‫للتدفق النقدي المستقبلية المتوقعة الناتج عن إستمرارية إستخدام األصل وقيمته كخردة في نهاية عمره األنتاجي‪.‬‬

  ‫يتم تقييم الموجودات المـالية في تاريخ كل مركز مالي لتحديد ما إذا كان هناك دليل فعلي على إحتمال حدوث‬
  ‫إنخفاض دائم في قيمة بعض الموجودات المـالية‪ .‬في حالة وجود دليل كهذا يتم تسجيل خسارة إنخفاض الموجودات‬
                                                        ‫في بيان الدخل الشامل ويتم تحديد تدني القيمة كالتالي‪:‬‬

   ‫ً‬
  ‫ناقصا‬ ‫بالنسبة للموجودات المالية المدرجة بالقيمة العادلة ‪ ،‬يكون التدني هو الفرق بين التكلفة والقيمة العادلة‬
                                                               ‫ً‬
                                       ‫مسبقا في بيان الدخل الشامل‪.‬‬    ‫أي خسارة إنخفاض في القيمة المعترف بها‬

  ‫بالنسبة للموجودات المدرجة بالتكلفه ‪ ،‬يكون األنخفاض هو الفرق بين القيمة الدفترية والقيمة الحالية للـتدفقات‬
                                     ‫النقدية المستقبلية مخصومة بمعدل العائد السوقي لموجودات مالية مماثلة‪.‬‬

  ‫بالنسبة للموجودات الـمدرجة بالتكـلفه المستهلكة‪ ،‬يكون األنخفاض هو الفرق بين القيمة الدفترية والقيمه‬
                                           ‫الحالية للتدفقات النقدية المـستقبلية مخـصومة بمعدل الفائدة األصلي‪.‬‬

                                                                                        ‫ح) العمالت األجنبية‬
  ‫تعد البيانات المالية للجمعية بالريـال القطري (العملة الوظيفية)‪ ،‬تحول المعامالت بالعمالت األجنبية إلى الريـال‬
  ‫وفقا ألسعار الصرف السائدة وقت إجراء المعاملة وتحول أرصدة الموجودات والمطلوبات المالية المسجلة‬    ‫ً‬       ‫القطري‬
  ‫بالعمالت األجنبية في تاريخ المركز المالي إلى الريـال القطري بأسعار الصرف السائدة في نهاية السنة‪ ،‬وتدرج جميع‬
  ‫الفروقات ضمن بيان الدخل الشامل ويتم تحويل المعامالت الخاصة بالموجودات والمطلوبات غير المالية بتاريخ إجراء‬
                                                                                                        ‫المعاملة‪.‬‬

                                                                                                  ‫ط) المخزون‬
                                                ‫تم إدراج المخزون بالتكلفة أو القيمة القابلة للتحقق أيهما أقل‪.‬‬

                                                                                       ‫ي) منافع الموظفين‬
                                                                                 ‫مكافأة نهاية الخدمة للموظفين‪:‬‬

                                    ‫ً‬
  ‫وفقا لعقود عملهم وبما يتفق مع قانون‬   ‫يتم تكوين مخصص مكافأة نهاية الخدمة لجميع موظفين الجمعية‬
                          ‫ً‬
  ‫وفقا لالئحة الموارد البشرية‬ ‫العمل القطري‪ ،‬وتستحق المكافأة في العادة على أساس أخر راتب أساسي للموظف‬
  ‫المعتمدة لقطر الخيرية «الجمعية « ومدة الخدمة المتراكمة لكل موظف وإكمال الحد األدني من فترة الخدمة وتدرج‬
  ‫التكاليف المتوقعة لمكافأة نهاية الخدمة على مدى فترة الخدمة ويدرج هذا المخصص ضمن بند «المطلوبات غير‬
                                                                                                      ‫المتداولة»‪.‬‬

                                                                                                ‫الراتب التقاعدي‪:‬‬

  ‫تلتزم الجمعية بالمساهمة في صندوق حكومي للتقاعد للموظفين القطريين ودول مجلس التعاون الخليجي‬
                                                                            ‫ً‬
  ‫وفقا لقانون التقاعد‪ ،‬وتدرج مساهمة الجمعية ضمن المصروفات اإلداية في بيان الدخل‬ ‫الذي تقوم بإدارته الدولة‪،‬‬
  ‫الشامل وتحسب كنسبة من راتب الموظفين‪ .‬إن التزام الجمعية محدود بهذه المساهمات‪ ،‬ويتم دفعها للصندوق‬
                                                                                            ‫في وقت إستحقاقها‬

                                                                      ‫ك) الدائنون والمصروفات المستحقة‬




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  ‫يتم تسجيل الذمم الدائنة والمصروفات المستحقة الدفع المتعلقة بالمشتريات المستلمة أو الخدمات المؤداة‬
                                       ‫بمجرد إستالمها بغض النظر عن إستالم أو عدم إستالم الفواتير الخاصة بها‪.‬‬

                                                                                        ‫ل) الشركات التابعة‬
                                                   ‫الشركات التابعة هي الشركات التي تسيطر عليها الجمعية‪.‬‬

                                              ‫م) التزامات بموجب عقود التمويل االسالمي (ايجاره)‬
  ‫تم اإلعتراف باإللتزامات بموجب عقد التمويل االسالمي (ايجاره) عندما يتم سحب المبالغ من التمويل اإلسالمي‪،‬‬
        ‫ويتم تسجيل تكاليف التمويل على أساس اإلستحقاق بإستخدام نسبة الفائدة الفعالة ويدرج ضمن المطلوبات‪.‬‬

                                                                                               ‫ن) المخصصات‬
  ‫يتم تكوين مخصصات في حالة وجود إلتزام (قانوني أو حكمي) على الجمعية ناشئ من أحداث سابقة‪ ،‬وعندما‬
                                    ‫محتمال سداد تـكاليف هذا اإللـتزام بمبالغ يمكن تقـديرها بصورة موثوقة‪.‬‬
                                                                                                   ‫ً‬     ‫يكون‬

                                                              ‫‪ -4‬التقديرات واألحكام المحاسبية الهامة‬
  ‫إن إعداد هذه البيانات المالية يتطلب من اإلدارة إستخدام أحكام وتقديرات وإفتراضات تؤثر على تطبيق‬
  ‫السياسات المحاسبية وقيم الموجودات والمطلوبات واإليرادات والمصاريف‪ .‬وقد تختلف القيم الحقيقية عن هذه‬
                                                                                                 ‫القيم التقديرية‪.‬‬

  ‫إن التقديرات واإلفتراضات األساسيه يتم مراجعتها بشكل دوري‪ .‬يتم إدراج التعديالت على التقديرات المحاسبيه‬
                                  ‫في الفترة التي يتم خاللها تعديل تلك التقديرات والفترات الالحقة التي تتأثر بها‪.‬‬

  ‫وفيما يلي توضيح للمعلومات المتعلقة بنواحي مهمة من عدم اليقين في تقدير وتطبيق أحكام السياسات‬
                                        ‫المحاسبية والتي لها تأثير هام على المبلغ المعترف به في البيانات المالية‪.‬‬

                                                                                       ‫تدني قيمة المخزون‬
  ‫يدرج المخزون في السجالت بالتكلفة أو القيمة الممكن تحقيقها أيهما أقل‪ .‬عندما تصبح البضاعة قديمة أو غير‬
  ‫صالحة لإلستخدام يتم تقدير صافي القيمة الممكن تحقيقها منها‪ .‬يتم هذا التقدير على أساس إفرادي للبضاعة‬
  ‫الفردية الهامة‪ .‬أما البضاعة الفردية غير الهامة ولكنها قديمة أو غير صالحة لإلستخدام فيتم تقديرها بصورة إجمالية‬
                                                                                       ‫ً‬
           ‫وفقا لنوع البضاعة ودرجة التقادم أو عدم الصالحية على أساس أسعار البيع التاريخية‪.‬‬ ‫ويحتسب لها مخصص‬

                                                                                     ‫تدني قيمة اإلستثمار‬
  ‫تعامل الجمعية اإلستثمارات المتاحة للبيع واالسثمارات للمتاجرة كإستثمارات منخفضة القيمة عند وجود إنخفاض‬
  ‫هام أو مستمر في القيمة العادلة إلى أقل من التكلفة أو عند وجود أدلة موضوعية أخرى على األنخفاض‪ .‬إن تحديد‬
  ‫«الهام» أو «المستمر «يحتاج بدرجة كبيرة إلى إتخاذ قرار‪ .‬يتم تقدير «الهام» مقابل التكلفة األصلية لإلستثمار وتقدير‬
  ‫«المستمر «مقابل الفترة التي كانت فيها القيمة العادلة أدنى من تكلفتها األصلية‪ .‬باإلضافة إلى ذلك تقوم الجمعية‬
  ‫بتقييم عوامل آخرى وتشمل التقلبات في أسعار األسهم المتداولة والتدفقات النقدية المستقبلية وعوامل الخصم‬
                                                                                          ‫لألسهم غير المتداولة‪.‬‬

                                                      ‫األعمار اإلنتاجية للممتلكات واآلالت والمعدات‬
  ‫تحدد الجمعية األعمار اإلنتاجية التقديرية للممتلكات واآلالت والمعدات لغرض إحتساب اإلستهالك‪ .‬يتم التقدير‬
        ‫بعد أن يؤخذ في اإلعتبار اإلستخدام المتوقع للموجودات والتلف والتآكل الطبيعي والتقادم الفني أو التجاري‪.‬‬


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                                                                   ‫القيمة العادلة للعقارات اإلستثمارية‬
  ‫من أجل تقدير القيمة العادلة لإلستثمارات العقارية وذلك من أجل تطبيق طريقة القيمة العادلة كما هو مسموح‬
  ‫بموجب معيار المحاسبة الدولي رقم (‪ ، )40‬قامت الجمعية بتعيين مثمن مستقل متخصص لتقييم القيمة العادلة‬
  ‫للعقارات اإلستثمارية كما في ‪ 31‬ديسمبر ‪ 2013 ،2014‬على التوالي‪ .‬فيما يخص العقارات اإلستثمارية يستخدم‬
  ‫المثمن المعلومات حول حالة السوق والعائد التقديري والتدفقات النقدية المستقبلية المتوقعه والمعامالت العقارية‬
                                  ‫الحديثة ذات الخصائص ومواقع العقارات المشابهة لتقييم العقارات اإلستثمارية‪.‬‬

                                                                                         ‫مبدأ االستمرارية‬
  ‫قامت اإلدارة بتقييم مقدرة الجمعية على اإلستمرار في أعمالها وإقتنعت بأن الجمعية تملك مصادر تجعلها‬
  ‫قادرة على اإلستمرار في أعمالها المستقبلية‪ ،‬باإلضافة إلى ذلك أن إدارة الجمعية ليست على علم بأية أمور تثير‬
  ‫الشك على مقدرة الجمعية لإلستمرار في أنشطتها‪ .‬وعليه تقوم اإلدارة بإعداد البيانات المالية على أساس مبدأ‬
                                                                                                ‫االستمرارية‪.‬‬




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                                   ‫البيانات المالية مع تقرير مراقبي الحسابات المستقلين‬



                                                                                   ‫‪ -33‬اإللتزامات الطارئة‬
  ‫بلغت اإللتزامات الطارئة كما في ‪ 31‬ديسمبر ‪ 2014‬مبلغ ‪ )10.449.000:2013( 6.214.682‬ريـال قطري وهي‬
                                   ‫ً‬
                                 ‫مقدما‪.‬‬ ‫عبارة عن شيكات آجلة الدفع أصدرتها الجمعية مقابل ايجارات مدفوعة‬

                                                                                ‫‪ -34‬إدارة المخاطر المالية‬
  ‫إن نشاطات الجمعية معرضة إلى مخاطر مالية روتينية‪ ،‬وتشتمل على تآثيرات تعثر العمالء والتقلبات في أسعار‬
  ‫األسهم و السيولة‪ .‬تسعى إدارة الجمعية إلى تقيليل التآثيرات المحتملة على األداء المالي الجمعية عن طريق أخذ‬
  ‫الخطوات الآلزمة للوصول إلى مناطق محددة من إدارة المخاطر‪ ،‬كمخاطر اإلئتمان ومخاطر أسعار الفائدة وإدارة‬
                                                                                                       ‫السيولة‪.‬‬

  ‫تتضمن الموجودات المالية الجمعية‪ ،‬النقد في الصندوق ولدى البنوك والمؤسسات المالية اإلستثمارات‪،‬الذمم‬
  ‫المدينة‪ ،‬األرصدة المدينة اآلخـرى وأوراق القبض واألطراف ذات العالقة المدينة‪ .‬وتتضمن المطلوبات المالية الهامة‬
                                        ‫الذمم الدائنة‪ ،‬أوراق الدفع ‪ ،‬األرصدة الدائنة اآلخـرى والمصاريف المستحقة‪.‬‬

                                                                 ‫‪ )34-1‬القيمة العادلة لألدوات المالية‬
  ‫يتم تحديد القيمة العادلة للموجودات المالية في أسواق مالية نظامية بالرجوع إلى اسعار الشراء بالسوق عند‬
  ‫إقفال التداول في تاريخ المركز المالي‪ .‬وفي حالة عدم إمكانية أخذ القيمة العادلة للموجودات المالية والمطلوبات‬
  ‫المالية المدرجة في المركز المالي من األسواق النشطة‪ ،‬يتم تحديد قيمة تقديرية للقيمة العادلة بإستخدام القيمة‬
  ‫السوقية الحالية ألدوات مالية آخـرى مماثلة أو بإستخدام التدفقات النقدية المتوقعة من الموجودات أو نماذج التسعير‬
  ‫الداخلية‪ .‬تؤخذ المعلومات لنماذج التسعير هذه ما أمكن من أسواق يمكن متابعتها‪ ،‬ولكن في الحاالت التي ال يكون‬
                                                                                                       ‫ً‬
                                           ‫مفيدا تحتاج اإلدارة إلى استخدام التقديرات لتحديد القيمة العادلة‪.‬‬ ‫هذا‬

                                                                                   ‫‪ )34-2‬مخاطر السيولة‪:‬‬
  ‫تمثل في عدم مقدرة الجمعية في الحصول على مصادر تمويل كافية لتغيطة إلتزاماتها‪ .‬تقوم إدارة الجمعية‬
  ‫بمراقبة وضع السيولة النقدية بشكل دوري وذلك للتأكد من كفاية مصادر التمويل لتغطية أية إلتزامات مستقبلية‪ .‬إن‬
         ‫مصادر تمويل الجمعية متنوعة كما تقوم بحصر تعامالتها في إتفاقيات مع مؤسسات مالية ذات سمعة جيدة‪.‬‬

                                    ‫كما أن النقد متوفر بصورة كافية بحيث يضمن أية التزامات في المستقبل‪.‬‬

                                                                                      ‫‪ )34-3‬مخاطر العملة‬
  ‫ينجم خطر العملة عن التقلبات الناجمة عن التعامل باألدوات المالية بسبب التغير في أسعار صرف العمالت‬
  ‫األجنبية‪ ،‬ولكن الجمعية ليست عرضة لمخاطر العملة األجنبية بشكل كبير ألن تعامالتها بالعملة األجنبية خالل السنة‬
                                                                                                  ‫لم تكن كبيرة‪.‬‬

                                                                                ‫‪ )34-4‬مخاطر السعر األخر‬
  ‫الجمعية تتعرض لخطر السعر اآلخر فيما يتعلق بإستثماراتها في األسهم المدرجة بالسوق‪ .‬خطر أسعار األوراق‬
  ‫المالية هو الخطر القيمة العادلة لتلك األوراق المالية نتيجة التغير في عدد وقيمة األسهم‪ .‬التآثير على األموال‬
    ‫الفائضة في حال إحتمال التغير المعقول في مؤشرات األسواق المالية‪ ،‬مع بقاء المتغيرات اآلخـرى ثابتة كما يلي‪:‬‬




  ‫التقرير السنوي لعام ‪2014‬‬                                                                                 ‫‪86‬‬
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                                               ‫‪848‬‬
    ‫البيانات المالية مع تقرير مراقبي الحسابات المستقلين‬



        ‫التآثير على‬                               ‫التآثير على‬
                              ‫التغير في‬                                ‫التغير في‬
         ‫األموال‬                                   ‫األموال‬
                             ‫أسعاراألسهم‬                              ‫أسعاراألسهم‬
         ‫الفائضـة‬                                  ‫الفائضة‬

                      ‫‪3102‬‬                                      ‫‪2014‬‬

        ‫ريـال قطري‬                                ‫ريـال قطري‬

        ‫‪6.558.757‬‬              ‫‪٪ 10 - +‬‬           ‫‪7.029.887‬‬               ‫‪٪ 10 - +‬‬         ‫سوق الدوحة لألوراق المالية‬


                                                                     ‫‪ -35‬إعادة تصنيف وتعديل أرقام المقارنة‬
        ‫أعيد تصنيف وتعديل أرقام المقارنة لتتناسب مع طريقة العرض المتبعة في البيانات المالية للسنة الحالية‪.‬‬

                                                ‫ليس إلعادة التصنيف أي أثر على بيان الدخل الشامل لفترة المقارنة‪.‬‬

                                                                                        ‫‪ -36‬إعتماد البيانات المالية‬
                                ‫تم اعتماد البيانات المالية من قبل االدارة والرئيس التنفيذي بتاريخ‪........................‬‬




   ‫‪87‬‬                                                                                                  ‫التقرير السنوي لعام ‪2014‬‬
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